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                         Exhibit 8
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    1            IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
    2                   CAMDEN VICINAGE
    3
         *****************************
    4
         IN RE: VALSARTAN, LOSARTAN,             MDL No. 2875
    5    AND IRBESARTAN PRODUCTS
         LIABILITY LITIGATION                    Civil No.
    6                                            19-2875
         ****************************            (RBK/JS)
    7
         THIS DOCUMENT APPLIES TO ALL HON ROBERT B.
    8    CASES                         KUGLER
    9    *****************************
   10               - CONFIDENTIAL INFORMATION -
                    SUBJECT TO PROTECTIVE ORDER
   11
   12
   13               Remote Videotaped via Zoom
   14    Deposition of MIN LI, Ph.D., commencing at 7:03
   15    a.m. China Standard Time, on the 20th of
   16    April, 2021, before Maureen O'Connor Pollard,
   17    Registered Diplomate Reporter, Realtime
   18    Systems Administrator, Certified Shorthand
   19    Reporter.
   20
   21                               – – –
   22
                    GOLKOW LITIGATION SERVICES
   23            877.370.3377 ph | 917.591.5672 fax
                          deps@golkow.com
   24



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   5
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   6
                                                            4
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   7
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   8
     NO.      DESCRIPTION                    PAGE           5
                                                              None.
   9
     ZHP-208 Previously Marked.                             6
  10
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  12
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  14
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  15
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                                                              None.
  16
     ZHP-288 Previously Marked.                            14
          E-mail with attachments,
  17
          Bates ZHP00359796 through                        15
                                                              Questions Marked Highly Confidential
  18
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  19
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   1
                                                            1       PROCEEDINGS
   2
     ZHP-294 PowerPoint, Center for
          Excellence for Modern                          2
          Analytical     Technologies,                   3
   3      Bates ZHP00404315 through                                   THE VIDEOGRAPHER: We are now
   4
          327........................... 74              4       on the record.
   5
     ZHP-295 7/27/17 e-mail, Bates                       5            My name is Judy Diaz, I am a
          ZHP00190573           and   574........... 82  6
   6 ZHP-296   English translation of                            legal videographer for Golkow
   7
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   8
     ZHP-297 Invention Patient                           8            Today's date is April 20, 2021,
          Application, Bates                             9
          ZHP01812101 through 2109...... 107                     and the time is 7:03 a.m.
   9                                                    10
     ZHP-298 Chinese translation of                                   This remote video deposition is
  10      ZHP-297....................... 107            11
  11 ZHP-299
                                                                 being held in the matter of Valsartan,
               Valsartan Patent                         12
          Investigation Report, Bates                            Losartan, and Irbesartan Products
  12      ZHP02336567 and ZHP02336682... 116 13
  13 ZHP-300                                                     Liability Litigation MDL.
               Document titled SciFinder,               14
  14
          Bates ZHP02336432 through                                   The deponent is Min Li, Ph.D.
          6434..........................
  15 ZHP-301
                                         121            15            All parties to this deposition
               12/22/18 e-mail, Bates
  16
          ZHP01391682................... 124            16       are appearing remotely and have agreed
                                                        17       to the witness being sworn in
  17
     ZHP-302 English translation of
          ZHP-301.......................
  18 ZHP-303
                                             125        18       remotely.
               Excel spreadsheet, Summary
  19
          of CEMAT reports.............. 128            19            All counsel will be noted on
  20
     ZHP-304 English version of ZHP-303.... 129 20               the stenographic record.
                                                        21            The court reporter is Maureen
  21
     ZHP-305 Study Report of Unknown
          Peak in Residual Solvent of                   22       Pollard, and will now swear in the
          Valsartan,    Bates                           23
  22      ZHP01870977 through 1119...... 223                     witness.
  23                                                       24
  24                                                                  ///


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   1            MIN LI, Ph.D.,                         1          So certainly that's not
   2 having been duly remotely sworn, was examined     2  something you would ever want to be doing, is
   3 and testified as follows:                          3 taking a cue from an attorney's objection or
   4            EXAMINATION                             4 anything they say.
   5 BY MR. SLATER:                                     5         Do you understand that?
   6     Q. Good evening.                               6     A. Okay.
   7     A. Good evening. Yeah, I'm here.               7     Q. What is your current title?
   8 Actually, it's morning here.                       8     A. I'm the vice-president for
   9     Q. Okay. We're here to take your               9 analytical operation for Huahai
  10 deposition. Do you understand that's the          10 Pharmaceutical Company, or also known as ZHP,
  11 purpose of this proceeding?                       11 particularly, you know, in this case.
  12     A. Sure. Yes.                                 12         MR. SLATER: Let's put up
  13     Q. Have you ever been deposed                 13     Exhibit 291, please, Cheryll.
  14 before?                                           14         (Whereupon, Exhibit Number
  15     A. No.                                        15     ZHP-291 was marked for
  16     Q. This is a sworn proceeding in              16     identification.)
  17 the United States District Court.                 17         MR. SLATER: Great. Thank you.
  18          Do you understand that you're            18 BY MR. SLATER:
  19 now under oath and must tell the truth?           19     Q. On the screen is the notice to
  20     A. Yes, I understand.                         20 take your deposition. Have you seen this
  21     Q. If for any reason you are asked            21 document before?
  22 a question and don't feel like you either         22     A. Yes. Actually, I also have a
  23 understand it or can answer it truthfully and     23 copy, yes.
  24 accurately for any reason based on how the        24     Q. Oh, you have a copy in front of
                                             Page 11                                             Page 13
   1 question was asked or what was asked, just        1
                                                          you?
   2 tell me.                                          2
                                                              A. Yes.
   3      A. Sure.                                      3
                                                              Q. Okay. Did you familiarize
   4      Q. It may be that I mispronounce a            4
                                                          yourself with the topics that you're going to
   5 word or use scientific jargon incorrectly.         5
                                                          be questioned about tonight --
   6 Whatever the case may be, you can just let me      6
                                                              A. Yes.
   7 know what's unclear, and I can try to              7
                                                              Q. -- and for the next several
   8 rephrase the question. Okay?                       8
                                                          days?
   9      A. Okay. Great.                               9
                                                              A. Yes, I think so. You know, I
  10      Q. During the course of the                  10
                                                          try my best to be familiarize myself, yes.
  11 deposition, there will be objections and          11
                                                              Q. Did you prepare for this
  12 discussion between the attorneys. That's          12
                                                          deposition?
  13 normal. That's people preserving the record       13
                                                              A. Oh, yes.
  14 for future use in the court.                      14
                                                              Q. What did you do to prepare for
  15           It's not something that should          15
                                                          the deposition?
  16 throw you off; I just want you to know that       16
                                                              A. Mostly receiving, you know,
  17 might happen, okay?                               17
                                                          trainings from my, you know, lawyers.
  18      A. Okay.                                     18
                                                                  And also I've talked to various
  19      Q. And certainly there's no reason           19
                                                          peoples, you know, because a lot of details I
  20 why any objection or statement by any             20
                                                          need to, you know, find out from -- basically
  21 attorney would be any sort of a prompt for        21
                                                          from my level, you know. Typically I have
  22 you to say anything or not say anything.          22
                                                          not been involved in too many details,
  23 It's just the attorneys discussing their          23
                                                          particularly nontechnical issues.
  24 legal positions on different things.              24
                                                              Q. You said that you spoke with


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   1 your attorneys; I think you called it            1
                                                             A. I really don't remember.
   2 training from your lawyers.                      2
                                                         Probably, I would assume most likely her, but
   3          Who was it that you spoke with?          3
                                                         I, you know, because it's such a long period,
   4     A. You know, here Patrick, and                4
                                                         and I really cannot tell, like, who is
   5 also Rick, Nason. Mostly, you know, those         5
                                                         exactly the first person, to be honest with
   6 three. Sometimes, you know, there's other,        6
                                                         you. I mean, I don't have photographic, you
   7 like Seth.                                        7
                                                         know, memory.
   8     Q. Did you speak to any attorneys             8
                                                             Q. When you say it's been "such a
   9 in China in preparing for the deposition?         9
                                                         long period," can you estimate how long ago
  10     A. No. Because I'm a US citizen,             10
                                                         it was when you first spoke with someone
  11 I don't think it's legally obligated for me      11
                                                         about this deposition?
  12 to talk to anybody, you know, or any lawyer,     12
                                                             A. Maybe six months. I don't
  13 you know, in China.                              13
                                                         know. I mean, it's just a very rough
  14     Q. Did anybody tell you that?                14
                                                         estimate.
  15     A. Yeah. I mean, you know, the               15
                                                             Q. Could it have been a year ago?
  16 lady, you know, in the general -- you know,      16
                                                             A. I mean, if you're talking
  17 in the president office, you know, she's         17
                                                         about, you know, you know, starting
  18 basically managing this. You know, that's        18
                                                         collecting, you know, the document, yeah, I
  19 what she told me, because she's being            19
                                                         would say, yeah, that's about, you know, at
  20 basically, you know, get in touch with, you      20
                                                         least about a year ago, yes.
  21 know, the Chinese lawyer for my Chinese          21
                                                             Q. When did you first find out
  22 colleagues, because we want to make sure, you    22
                                                         your deposition was going to be taken?
  23 know, right, we have to be basically abide       23
                                                             A. I think sometime last year,
  24 by, you know, you know, the Chinese law as       24
                                                         because I -- you know, you know, she told me
                                            Page 15                                            Page 17
   1 well, because otherwise, you know, if you        1  I will be one of the -- you know, the
   2 have any procedural violation, you know, you     2  witness, you know, will be, you know, giving
   3 may get into big trouble.                         3 the testimony. Sometime last year.
   4      Q. Who did you speak with in the             4      Q. So you think it was maybe a
   5 president's office? You said you spoke with       5 year ago?
   6 a woman about the deposition. Who was that?       6      A. I wasn't sure. As I said, I
   7      A. Maggie, yeah. Maggie Kong.                7 wasn't sure exactly, you know, but sometime
   8 Yeah, yeah.                                       8 last year, okay?
   9      Q. Can you spell her name, please?           9      Q. Well, right now it's April 19th
  10      A. Last name is K-O-N-G. She                10 here in the States, so are we talking last
  11 usually goes by her English name, you know,      11 April? Are we talking last summer? Are we
  12 Maggie, but also her Chinese name is             12 talking before April? Do you recall?
  13 Xiaofong, Xiaofong Kong.                         13      A. As I said, I don't have
  14      Q. And when did you speak with her          14 accurate recollection.
  15 about the deposition?                            15      Q. Do you have a calendar that you
  16      A. That was long time. You know,            16 keep that would show you when you were first
  17 I think in the very early phase. I don't         17 notified that you were going to be deposed?
  18 remember exactly, you know, how long. Maybe,     18      A. I don't keep that particular
  19 like, for several months.                        19 calendar, like particularly when was the
  20      Q. Was that the first time you              20 first day that I received the notice.
  21 spoke with anybody about this deposition?        21 Because I -- you know, from my perspective,
  22      A. I don't think so.                        22 you know, you know, that's not important. I
  23      Q. Who was the first person you             23 mean, the important thing is I know what's
  24 ever spoke to about the deposition?              24 the date and I need to prepare.




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   1      Q. I wasn't asking you what was             1            And also talk to, like, Peng
   2 important. I'm just asking you if you            2  Dong, you know, you know, Mr. Peng Dong,
   3 remember when it was.                             3 quite early on during, you know, you know, at
   4      A. I don't remember exactly date.            4 the early phase of the preparation because I
   5 I told you, you know, a few times already.        5 asked him something about, you know, the
   6      Q. Did you receive an e-mail about           6 early -- you know, during the early stage,
   7 this deposition back in the beginning?            7 you know, you know, how that original, you
   8      A. Yeah, I think so. Yeah, I                 8 know, you know, process, you know, was
   9 received an e-mail. You know, if I go back        9 developed, you know, you know, the so-called
  10 to my, you know, you know, e-mail, I mean, I     10 zinc chloride, you know, process.
  11 may be able to tell you tomorrow, you know.      11      Q. Well, we'll go back through the
  12 You know, after this session I can, you know,    12 names and what you spoke to them about, but
  13 if you really wanted to have that.               13 let's try to get the list of names of people
  14      Q. That would be great if we could          14 from your company you spoke to. So far we
  15 have an understanding of when you first          15 have Maggie Kong and we have Peng Dong.
  16 learned about --                                 16           Who else from your company did
  17      A. Okay.                                    17 you speak to with regard to anything
  18           MR. GALLAGHER: Object to the           18 connected to the deposition?
  19      extent that -- we'll take it under          19      A. I also talked to Qiangming Li,
  20      advisement. Object to the extent it         20 you know, as I said, mostly about logistics,
  21      calls for any privileged information.       21 getting into, you know, the hotel, you know,
  22 BY MR. SLATER:                                   22 everything. Yeah.
  23      Q. You said the first person you            23      Q. Who else?
  24 ever spoke to about being deposed was Maggie     24      A. Who else? And also talked to
                                            Page 19                                              Page 21
   1                                                  1
     Kong, is that correct?                              one of the staff under, you know, Qiangming
   2                                                  2
         A. I would say likely.                          Li and asking about some of the specifics.
   3                                                   3
         Q. Who else in your company have                    Q. Who was that person?
   4                                                   4
     you spoken to about the deposition?                     A. His name is Jun Wang.
   5                                                   5
         A. I mean, what do you mean by --                   Q. Who else from your company have
   6                                                   6
     you know, speaking about what?                      you spoken to with regard to the deposition?
   7                                                   7
         Q. Anything having to do with the                   A. I think that's about it.
   8                                                   8
     deposition, either the fact of the                      Q. You said earlier you'd spoken
   9                                                   9
     deposition, what you were going to testify          to people in order to get some background
  10                                                  10
     to, how to conduct yourself, obtaining              information in order to testify.
  11                                                  11
     information to testify. Anything connected                   Who were the people that you
  12                                                  12
     to the deposition.                                  spoke to to get that background information
  13                                                  13
         A. I talked to, you know, people,               to be able to testify on the topics you were
  14                                                  14
     right? Particularly people who travel, you          designated on?
  15                                                  15
     know, to, you know, you know, to Macao,                 A. The background -- well,
  16                                                  16
     right?                                              basically when I say "background" is, you
  17                                                  17
              I talked to them about                     know, actually I'm referring to, you know, to
  18                                                  18
     logistics, you know, about, you know, the           that particular topic regarding, you know,
  19                                                  19
     procedural, you know, all the details, you          that process change, right?
  20                                                  20
     know, the purposes just for me, you know, to                 So with that regard I was
  21                                                  21
     be able to getting to Macao and to be               talking to, you know, Mr. Peng Dong during
  22                                                  22
     participate in this, you know, testimony, you       the early phase, you know, of the
  23                                                  23
     know. I just want to make sure, you know,           preparation.
  24                                                  24
     things will be done as arranged, right?                 Q. What else did you talk to Peng


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   1 Dong about besides the process change?            1
                                                          deeper, you know, because I'm not a, you
   2 Anything?                                         2
                                                          know, a process chemist.
   3     A. No, that's it.                              3
                                                                  MR. GALLAGHER: I'm going to
   4     Q. What specifically did you                   4
                                                             object to the line as outside the
   5 discuss with Mr. Dong regarding --                 5
                                                             scope of the 30(b)(6) topics, but
   6     A. I just -- I was asking him, you             6
                                                             certainly --
   7 know, who basically was involved, you know,        7
                                                                  MR. SLATER: Patrick, you're
   8 in that process change.                            8
                                                             saying that my questioning about how
   9          He said he was not clear                  9
                                                             he prepared himself to testify for the
  10 because, you know, he probably was not            10
                                                             30(b)(6) topics is outside the scope
  11 involved, you know, during that process, I        11
                                                             of the 30(b)(6) topics?
  12 mean.                                             12
                                                                  MR. GALLAGHER: No, no.
  13     Q. So you spoke to Peng Dong about            13
                                                                  MR. SLATER: Because that's
  14 the process change, you asked him who was         14
                                                             what I'm doing.
  15 involved, and he said he didn't know because      15
                                                                  MR. GALLAGHER: Proceed.
  16 he wasn't involved, and that was the              16
                                                          BY MR. SLATER:
  17 conversation?                                     17
                                                             Q. How long did this discussion
  18     A. Yeah, pretty much, yeah.                   18
                                                          with Peng Dong take?
  19 Basically, you know, I was asking him, like,      19
                                                             A. Just very briefly over the
  20 who basically was the original sort of, like,     20
                                                          phone, yeah.
  21 you can call, like, inventor or whatever,         21
                                                             Q. Okay. How long did it take?
  22 like who developed that process.                  22
                                                             A. Maybe five, ten minutes.
  23     Q. And what did he tell you?                  23
                                                             Q. So let me -- rephrase.
  24     A. He said, you know, you know,               24
                                                                  Did you say you also spoke to
                                             Page 23                                         Page 25
   1 you know, he didn't know.                         1
                                                      Mr. Qiangming Li?
   2      Q. Can you tell me who was the            2
                                                           A. Yes. About the logistics,
   3 inventor of the process change, the zinc       3
                                                      traveling into Macao.
   4 chloride process change?                       4
                                                           Q. Did you talk to Qiangming Li
   5      A. Well, the -- you know, from the        5
                                                      about anything substantive about your
   6 document, right, from the document, you know, 6
                                                      testimony?
   7 at least some of the document, I know the      7
                                                           A. No.
   8 technology was originated from SynCore, okay, 8
                                                           Q. Did you ask him any questions
   9 which is a subsidiary of Huahai                9
                                                      about something you might testify about?
  10 Pharmaceutical.                               10
                                                           A. No.
  11           But I was just asking him who,      11
                                                           Q. The staff member Jun Wang, when
  12 you know, that individual, like specifically  12
                                                      did you speak to that person?
  13 who that individual was.                      13
                                                           A. Not Jun Wang. It's Jun, yeah.
  14      Q. And he didn't know?                   14
                                                      J -- Jun Wang or Jun Wang.
  15      A. He didn't -- yeah, he didn't          15
                                                           Q. I'll ask it again.
  16 know.                                         16
                                                               When did you speak to Jun Wang?
  17      Q. Did you ask anybody else?             17
                                                           A. Just a few days, like, let me
  18      A. No.                                   18
                                                      see, just two, three days before I came over
  19      Q. Did you speak to anybody from         19
                                                      to Macao, yeah, because I just wanted to try
  20 SynCores?                                     20
                                                      to clarify some of the, you know, you know,
  21      A. No.                                   21
                                                      chronology of the events, you know, for some
  22      Q. Why not?                              22
                                                      of the customers, you know, you know, or
  23      A. I mean, for me, you know, I           23
                                                      their discussion.
  24 mean, there's no need for me to go more       24
                                                               Because, you know, he was the


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   1 main person doing the analytical                  1       Q. When you say that it can
   2 investigation from the QC side, so I just,        2  co-elute with a background peak, are you
   3 you know, tried to ask him some of those, you      3 talking about the toluene peak?
   4 know, you know, you know, details like, you        4      A. No. Actually, there was one
   5 know, how many customers, you know, you know,      5 little peak after the toluene peak.
   6 like been having this.                             6      Q. And the little peak after the
   7          You know, some of those, you              7 toluene peak turned out to be the nitrosamine
   8 know, early on we characterized them as like       8 peak, correct?
   9 technical exchange, right, and then later on,      9      A. Oh, no, no. Actually, that
  10 you know, it's being formally characterized       10 peak -- well, that peak in the background,
  11 as a customer complaint.                          11 okay -- it's a little bit complicated. Okay.
  12          Well, basically, you know,               12 In the background -- so that peak is also
  13 talking about, you know, these unknown peaks,     13 eluted in the blank injection, okay?
  14 you know. Yeah. So I was just trying to,          14           And then in the sample
  15 you know, you know, find out who -- like          15 injection, this peak turns out -- if I
  16 when, you know, like the -- you know, what        16 remember correctly, this peak turns out to be
  17 the, you know, their question, you know, was.     17 n-butyl acetate, okay?
  18      Q. When you say "the unknown                 18           So that's the peak -- that's
  19 peaks," do you mean the unknown peaks that        19 the peak, you know, eluting after the toluene
  20 later were identified as nitrosamine peaks?       20 peak. Okay. So NDMA would elute on the
  21      A. No. Actually all of the peaks,            21 shoulder, or sometimes may even completely
  22 all of the peaks, right, after I review, you      22 co-elute with this peak.
  23 know, those documents, right, all of the          23      Q. When did you speak to Jun Wang?
  24 peaks people talking about between Huahai's       24 You said two to three days before you came to

                                             Page 27                                              Page 29
   1 customer and, yeah, all of those peaks, you       1
                                                      Macao. When was that?
   2 know, that discuss that specifically they're   2
                                                          A. I came here on the 18th. Yeah.
   3 not nitrosamine.                               3
                                                      So it would be like, you know, around the
   4          I mean, obviously, I mean, you        4
                                                      16th, yeah.
   5 know, you know, retrospectively maybe one of   5
                                                          Q. The 16th would have been
   6 the tiny -- you know, now we know, right,      6
                                                      Friday?
   7 nitrosamine, you know, you know, it could      7
                                                          A. Yes, is 16 Friday? Let's see.
   8 co-elute with one of the backgrounds. But      8
                                                               Yeah, it's Friday, yes.
   9 that's only, you know, you know, after, you    9
                                                          Q. How long did you talk to Jun
  10 know, the facts, you know, after.             10
                                                      Wang about this deposition?
  11          And then when you spike, you         11
                                                          A. It's probably 15, 20 minutes.
  12 know, the standard sample or reference sample 12
                                                          Q. Did you review any documents to
  13 of the NDMA, you know, with a very high,      13
                                                      prepare for the deposition?
  14 like, concentration, then you -- you know,    14
                                                          A. Did I review any documents?
  15 retrospectively you can say, hey, you know,   15
                                                      Yes.
  16 the NDMA could co-elute, you know, after, you 16
                                                          Q. What did you review to prepare
  17 know -- actually on the shoulder of the one   17
                                                      for the deposition?
  18 background peaks.                             18
                                                               MR. GALLAGHER: Let me just --
  19          But all of the -- you know, all      19
                                                          give me a minute, Min.
  20 of the peaks, you know, people were talking   20
                                                               To counsel not to disclose the
  21 about, you know, retrospectively we know, you 21
                                                          substance of conversations that you
  22 know, they are not NDMA or anything, you      22
                                                          had with attorneys.
  23 know -- you know, any other, you know,        23
                                                               MR. SLATER: I didn't ask
  24 nitrosamines.                                 24
                                                          anything about attorneys.


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    1          THE WITNESS: Okay.                      1
                                                              Q. You said "before I came." What
    2          MR. GALLAGHER: You asked about          2
                                                          were you referring to?
    3     documents he reviewed, which he may           3
                                                              A. Well, the 18th of April, I mean
    4     have done with attorneys, so I'm              4
                                                          this last Sunday, came to Macao.
    5     just -- he can answer the question.           5
                                                              Q. So before you came to Macao, I
    6     I'm just going to caution him not to          6
                                                          wasn't clear, how many times did you say you
    7     disclose the substance of                     7
                                                          spoke to counsel?
    8     conversations he had with attorneys.          8
                                                              A. Totally, as I said, like five
    9          Please answer the question.              9
                                                          or six times.
   10     A. I mean, there are quite a few             10
                                                              Q. When was the first time you
   11 documents here. Yeah, for example, some of       11
                                                          spoke to counsel in connection?
   12 the --                                           12
                                                              A. As I told you, by rough
   13 BY MR. SLATER:                                   13
                                                          estimation, it probably was like maybe a
   14     Q. Let me ask it very clearly.               14
                                                          month and a half ago. But as I said, it
   15     A. You know, regarding, you know,            15
                                                          could be two months, you know. But it just
   16 unknown peak investigations. And also like       16
                                                          seemed like a ball park.
   17 ICH documents, you know, and also some of        17
                                                              Q. How much time did you spend in
   18 our -- like SOPs, and also the deviation         18
                                                          those meetings with counsel?
   19 investigation reports. You know, I mean,         19
                                                              A. Usually I would say like about
   20 there's a lot of stuff.                          20
                                                          two hours roughly, average.
   21     Q. Were you reading these                    21
                                                              Q. Okay. Looking at the
   22 documents for the first time?                    22
                                                          deposition right now, the deposition
   23     A. No. Many of -- I mean, some of            23
                                                          notice -- rephrase.
   24 those, you know, obviously I read before, you    24
                                                                    Looking at the deposition
                                             Page 31                                           Page 33
    1 know, like SOPs, ICH documents, you know.        1
                                                       notice, let's go to the -- actually, you have
    2 But some obviously, you know, that I read,     2
                                                       it in front of you, right?
    3 you know, the very first time.                 3
                                                            A. Yeah.
    4      Q. You met with counsel how many          4
                                                            Q. On the second-to-last page of
    5 times to prepare for deposition?               5
                                                       the deposition notice, there was a request
    6      A. Oh, I think like five, six             6
                                                       for your most recent resume/curriculum vitae
    7 times.                                         7
                                                       and your LinkedIn profile.
    8      Q. When is the first time you             8
                                                            A. Uh-huh. I already provided it.
    9 spoke to counsel about the deposition?         9
                                                            Q. And those are the most recent
   10      A. I don't recall.                       10
                                                       versions of both?
   11      Q. Give me your best estimate.           11
                                                            A. Yes.
   12      A. Let's say -- I have to think          12
                                                            Q. This also asked for
   13 about it. It's -- you know, in the beginning  13
                                                       the complete production of any relevant
   14 it was like a weekly training, and then we -- 14
                                                       custodial documents for you, "including those
   15 you know, you know, before I came we skipped 15
                                                       maintained on personal computers or
   16 one, so I don't know how many.                16
                                                       electronic devices, to the extent not
   17          Let's say -- hypothetically          17
                                                       produced prior."
   18 let's say six times, right? So the fifth      18
                                                                 Are you producing any documents
   19 time will be like a half-month ago, right?    19
                                                       in connection with the deposition at this
   20          So then I have another -- yeah,      20
                                                       time?
   21 so roughly like one and a half months ago     21
                                                            A. No.
   22 starting. But don't hold me accountable, you  22
                                                            Q. You started working with ZHP in
   23 know, if it's a little bit off, you know.     23
                                                       2014, right?
   24 But as I said, it's in the ball park.         24
                                                            A. Yes. September of 2014, yes.


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    1     Q. Were you given any sort of a               1      in writing, and we'll take it under
    2 computer at that time to do your work for         2      advisement.
    3 ZHP?                                               3 BY MR. SLATER:
    4     A. Yes.                                        4     Q. When you said the computer
    5     Q. What type of computer were you              5 broke on a trip, what happened to the
    6 given when you started?                            6 computer?
    7     A. Originally it's a ThinkPad,                 7     A. It just could not start, so I
    8 Lenovo ThinkPad, but that computer broke           8 think eventually it turns out to be, you
    9 down. Now I have a Microsoft, like what,           9 know, a hard drive failure.
   10 ProBook.                                          10     Q. What happened to the data that
   11     Q. You said you were given a                  11 was on the computer?
   12 Lenovo ThinkPad when you started, and then it     12     A. I would say, according to the
   13 broke. When did it break?                         13 IT guys -- well, quite a few documents
   14     A. When did it break. That's a                14 actually became permanently damaged, but the
   15 very good question. It broke during --            15 majority of them was able to be restored,
   16 actually during a trip. I don't remember          16 yeah.
   17 exactly.                                          17     Q. You said documents were
   18          When did it break. Probably              18 permanently damaged?
   19 somewhere between 2017 to 2018, but, you          19     A. Some of the documents, yeah,
   20 know, I don't have an accurate, you know,         20 because of the hardware, you know, failure.
   21 recollection exactly, like, which year.           21     Q. What types of documents were
   22     Q. When your computer broke, did              22 permanently damaged?
   23 you notify your company that you needed a new     23     A. Well, it's -- you know, there's
   24 computer?                                         24 different kinds.

                                              Page 35                                             Page 37
    1     A. Oh, yeah, mm-hmm.                          1      Q. Well, tell me, please, which
    2     Q. Who did you notify?                        2  ones?
    3     A. IT.                                         3     A. Like some of those, like,
    4     Q. And they got you a new                      4 research papers, you know, some of those
    5 computer?                                          5 research, you know, you know, investigation
    6     A. Yes.                                        6 report. And even, you know, some personal,
    7     Q. There would be a record within              7 you know, like pictures.
    8 the company of you asking for a new computer       8     Q. Was your computer backed up
    9 and getting that computer. I assume                9 periodically?
   10 something like that gets documented, right?       10     A. What do you mean, "backed up"?
   11     A. Oh, sure, sure, uh-uh.                     11 Like backed up to, like, an external drive?
   12     Q. So if we need to know when your            12     Q. I mean backed up so that the
   13 computer broke and when you got your new          13 data was held in a separate location so that
   14 computer, the company should be able to           14 if your computer stopped working, the data
   15 provide that information, right?                  15 wouldn't be lost.
   16     A. Yeah. If I ask, they should be             16     A. I -- you know, I didn't do
   17 able to provide, yes.                             17 that.
   18          MR. SLATER: Counsel is going             18     Q. Is there any protocol in your
   19     to ask me to send an e-mail or                19 company to back up computers periodically?
   20     something after the deposition to             20     A. Well, for important documents,
   21     confirm the request, but that's going         21 you know, you know, the company have archive,
   22     to be another one of the things we're         22 so I don't need to, you know, you know, to
   23     going to request.                             23 archive like, you know, by myself.
   24          MR. GALLAGHER: Please put it             24     Q. How about your e-mails? Were


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    1 any of your e-mails lost when your computer       1
                                                           broke, if you can recall. Otherwise we're
    2 broke?                                            2
                                                           obviously going to make our request, but it
    3      A. No. E-mail, you know, it's                 3
                                                           might help.
    4 always there, e-mail, you know, because it's       4
                                                                    Did it occur in -- you said --
    5 always in the server.                              5
                                                           well, rephrase.
    6          That's, you know, that's what             6
                                                                    With regard to when your
    7 the IT -- you know, at least, you know, it         7
                                                           computer broke, was that in 2017, or was that
    8 will be preserved according to the company         8
                                                           in 2018?
    9 policy, you know, for as long as the company       9
                                                               A. As I said, just around that
   10 policy, you know, you know, would allow.          10
                                                           period. I need to -- I need to -- you know,
   11      Q. What does the company policy              11
                                                           as I said, I'll talk to my IT guys, you know,
   12 require?                                          12
                                                           you know. They will have the record, right,
   13      A. I don't have the specifics.               13
                                                           when the replacement happened.
   14      Q. You've been there since 2014.             14
                                                               Q. When you -- rephrase.
   15 Is it your understanding that all the e-mails     15
                                                                    When your Lenovo ThinkPad
   16 you've sent or received have been backed up       16
                                                           broke, did you say that you got a Microsoft
   17 or held on a server?                              17
                                                           ProBook --
   18      A. As I said, yeah, I mean, as               18
                                                               A. Yes.
   19 long as, you know, you know, the company, you     19
                                                               Q. -- as your new computer?
   20 know, policy says, you know, how long it will     20
                                                               A. Yes.
   21 keep, you know, in company server, it will be     21
                                                               Q. And that's another laptop?
   22 there. You know, so that regardless, you          22
                                                               A. Yes.
   23 know, my personal computer's failure, it will     23
                                                               Q. Is that the same computer, the
   24 be there.                                         24
                                                           one you use today?
                                              Page 39                                             Page 41
    1     Q. Has there ever been a time                 1
                                                           A. Yes.
    2 since your computer broke where you realized   2
                                                           Q. So --
    3 that a document or any data was lost and you   3
                                                           A. Well, no. I'm sorry, no. Hold
    4 couldn't retrieve it, couldn't find it?        4
                                                       on, hold on. This is -- no. This is the
    5     A. No. I always be able to                 5
                                                       company's -- you know, you know, the solely
    6 retrieve, you know, from either my e-mail or   6
                                                       dedicated computer, you know, right? What
    7 from, you know, you know, company's archive,   7
                                                       we're talking about right now, okay?
    8 or from my colleagues, you know.               8
                                                                What I'm saying is, you know,
    9     Q. The ThinkPad, is that a desktop         9
                                                       you know, the PC or the laptop I'm using for
   10 or is that a laptop or something else?        10
                                                       my business, right, or company business,
   11     A. Laptop. Nobody use desktop             11
                                                       yeah, is a Microsoft, you know, ProBook,
   12 anymore, as far as I know, I mean, you know,  12
                                                       okay?
   13 for personal use.                             13
                                                           Q. During the time you've worked
   14     Q. Well, in your work at ZHP, have        14
                                                       at ZHP, have you also owned other computers
   15 you had a desktop computer in addition to the 15
                                                       for personal use, other than the Lenovo
   16 laptop?                                       16
                                                       ThinkPad and the Microsoft ProBook?
   17     A. No.                                    17
                                                           A. No.
   18     Q. Never had a desktop computer?          18
                                                           Q. Did you use the ThinkPad and
   19     A. I think it's totally obsolete          19
                                                       the ProBook -- rephrase.
   20 for the purpose, you know, you know, people   20
                                                                Did you use the Lenovo ThinkPad
   21 doing office work. I mean, at least for me,   21
                                                       not only for company business, but also for
   22 I mean.                                       22
                                                       personal e-mail?
   23     Q. I'd like to be a little more           23
                                                           A. No, I don't think so. I mean,
   24 precise on the timing of when your computer   24
                                                       only maybe for -- let me see. Did I -- for


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    1 personal -- I cannot guarantee, like, I           1  try to send an e-mail to you to your work
    2 haven't, like, receive a single, like, a          2  e-mail, and because "Min Li" is in your
    3 personal e-mail. But I can say usually I           3 e-mail address, it would come to your
    4 don't use that for, you know, you know, for        4 personal e-mail?
    5 personal e-mails, okay.                            5      A. No, no, no, no. What I'm just
    6      Q. What computer -- during the                6 trying to say is sometimes if I, you know,
    7 time -- rephrase.                                  7 you know, try to, like -- you know, sometimes
    8           During the time you had the              8 when I send an e-mail I, you know, also maybe
    9 Lenovo ThinkPad, what computer did you use         9 want to cc myself.
   10 for your personal e-mails?                        10          And so when I type, you know,
   11      A. Well, the personal e-mail --              11 my company's, you know, you know, e-mail
   12 let's see. The personal e-mail -- well, I         12 address, you know, my personal e-mail
   13 used the personal e-mail, you know, through       13 address, you know, sometimes may accidentally
   14 the web, right, to access my personal e-mail.     14 be typed in, you know.
   15           I mean is that, is -- to me,            15      Q. On the Microsoft ProBook, have
   16 you know, you know, I wasn't sure that            16 you used your personal e-mail?
   17 constitutes as the personal use of the            17      A. I also, as I said, access my
   18 Microsoft, you know, you know, you know, like     18 personal e-mail accounts from time to time.
   19 the ProBook.                                      19 You know, that's pretty much, you know, you
   20      Q. Let's try to take this one step           20 can say that I use, you know, that computer
   21 at a time.                                        21 for personal use.
   22           When you had the Lenovo                 22      Q. Did you use your personal
   23 ThinkPad, you had a ZHP e-mail address,           23 e-mail on the Microsoft ProBook for business
   24 right?                                            24 e-mails?

                                              Page 43                                            Page 45
    1     A. Yes, uh-huh.                               1
                                                                A. No.
    2     Q. Did you also have a personal               2
                                                                Q. Do you know if either of your
    3 e-mail address not related to your work?           3
                                                           computers was taken into the control of
    4     A. Yes, I have a personal e-mail               4
                                                           either IT or your lawyers to be searched in
    5 address.                                           5
                                                           order to pull off documents in connection
    6     Q. Did you use that personal                   6
                                                           with this litigation?
    7 e-mail through the Lenovo ThinkPad?                7
                                                                A. My Microsoft ProBook, yes, was
    8     A. Yes. Sometimes, yes.                        8
                                                           taken into, yeah, that purpose, yes.
    9     Q. Did you ever use the personal               9
                                                                Q. When?
   10 e-mail for business?                              10
                                                                A. They have gone through, yeah,
   11     A. I don't think so. There may be             11
                                                           my personal ProBook, yes.
   12 very -- maybe, you know, very few occasions,      12
                                                                Q. When?
   13 right, one or twice, somehow, you know, some      13
                                                                A. I think sometime last year.
   14 of the e-mail, you know, may just get crossed     14
                                                           Again, you know, I have so many things
   15 over.                                             15
                                                           ongoing, you know, I don't remember exactly.
   16          You know, because sometimes              16
                                                           Yeah. It should be sometime last year.
   17 when you type, you know, you know, the e-mail     17
                                                                Q. Sometime in 2020?
   18 address, you know, you know, some of these        18
                                                                A. It looks like. But again, you
   19 will automatically show up, because my            19
                                                           know, like I said, I need to, you know, find
   20 personal e-mail address has some parts of the     20
                                                           out. If you really wanted that exactly date,
   21 e-mail address similar to my company e-mail       21
                                                           I think -- you know, or exactly period, I can
   22 address; for example, like the words "Min         22
                                                           find out for you.
   23 Li."                                              23
                                                                Q. Well, I want your best
   24     Q. You're saying somebody could               24
                                                           recollection right now. We may request that


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    1                                                  1
                                                       terms of your personal e-mail, what do you
      also. But what's your best recollection,
    2                                                2 have, a Yahoo and a Hotmail address? You use
      that your computer was taken in order to take
    3                                                3 both of those?
      documents off it for this litigation in 2020?
    4                                                4     A. I just have a Yahoo as my, you
          A. Yeah, I think it should be
    5                                                5 know, active, you know, you know, e-mail.
      sometime last year.
    6                                                6          I mean, you know, you know,
          Q. Who was it that did that? Who
    7                                                7 from years ago may have some other, you know,
      approached you?
    8                                                8 but those, you know, essentially they are
          A. Who approached me.
    9                                                9 that e-mail, I mean, right? Like many years
              Again, this whole activity from
   10                                               10 ago I may have like an AT&T, you know,
      Huahai or ZHP's perspective, it was
   11                                               11 e-mail, but only -- I would say only, you
      coordinated, again, by Maggie Kong.
   12                                               12 know, live personal e-mail is my Yahoo
          Q. So if Maggie Kong keeps good
   13
      records, she probably knows when everybody 13 e-mail.
   14                                               14     Q. And that would be
      was first told about their depositions and
   15                                               15 minli88@yahoo.com?
      when people were told to bring their
   16                                               16     A. Yes.
      computers in to be swept?
   17                                               17     Q. From 2014 to now, is that the
              MR. GALLAGHER: Sorry. I'm
   18                                               18 only e-mail address that you've used for your
          going to object to the extent you're
   19                                               19 personal e-mail?
          asking for information that would
   20                                               20     A. Yes.
          constitute attorney/client privileged
   21                                               21     Q. Do you also have a smartphone
          information.
   22
              MR. SLATER: How would that be 22 of some type that you use for work?
   23                                               23     A. I have my personal phone.
          privileged? I'm asking this witness
   24                                               24     Q. What type of phone is that?
          about another person he works with,
                                             Page 47                                           Page 49
    1     who is not a lawyer.                         1
                                                              A. It's a Huawei smartphone.
    2          MR. GALLAGHER: To the extent            2
                                                              Q. Can you spell that for me,
    3     there was attorney/client privileged          3
                                                          please?
    4     information in those discussions, I           4
                                                              A. Huawei, H-U-A-W-E-I. Huawei is
    5     caution him not to disclose that.             5
                                                          the leading smartphone company in China.
    6 BY MR. SLATER:                                    6
                                                              Q. How long have you had the
    7     Q. Did you ever use your personal             7
                                                          Huawei phone?
    8 e-mail to talk to anybody -- well, rephrase.      8
                                                              A. I have my current phone since
    9          Do you know if your personal             9
                                                          last year.
   10 e-mail was collected -- well, rephrase.          10
                                                              Q. What did you have before last
   11          Do you know if your personal            11
                                                          year?
   12 e-mail was reviewed to see if work e-mails       12
                                                              A. What I had before last year, I
   13 were on your personal e-mail?                    13
                                                          had another Huawei, but that one had some
   14     A. I'm sorry, it's -- could you              14
                                                          issue, so I switched to the current one.
   15 rephrase?                                        15
                                                              Q. What was the issue with that
   16     Q. Sure.                                     16
                                                          phone?
   17          Do you know whether any e-mails         17
                                                              A. The -- it's quite a funny --
   18 on your personal e-mail that related to your     18
                                                          the -- you know, you know, the screen pops
   19 work at ZHP were pulled off the computer and     19
                                                          off. It's not completely pops off, but it
   20 provided to us?                                  20
                                                          just -- you know, I never see something like
   21     A. I don't know, because I                   21
                                                          this before. You know, you know, the screen,
   22 don't -- I don't know what being pulled off.     22
                                                          the center of the screen, it just swells.
   23 I have no idea.                                  23
                                                          And it's still usable, you know, but it's
   24     Q. And just so I understand, in              24
                                                          just -- it feels like it can broke down any


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    1                                                   1      A. How long I get that phone.
      time, so, yeah, so I just switched to another
    2                                                   2  That's a good question.
      one. Yeah.
    3                                                    3           That should be -- let's see. I
          Q. How long did you have that
    4                                                    4 would say probably end of 2013, something
      phone for, the swelling phone?
    5                                                    5 like that.
          A. The swelling phone, maybe two,
    6                                                    6     Q. So the Samsung phone that you
      three years.
    7                                                    7 have for your phone calls and phone messages
          Q. What did you have before that?
    8                                                    8 you had when you joined ZHP?
          A. Before that I had a Samsung
    9                                                    9     A. But at the same time I, you
      smartphone.
   10                                                   10 know, I bought, you know, the other -- well,
          Q. Was the Samsung phone the one
   11                                                   11 actually, let's see.
      you were using as of 2014 when you joined
   12                                                   12           I used another Samsung phone,
      ZHP?
   13                                                   13 you know, you know, turned that into, you
          A. That was, yes.
   14                                                   14 know, you know -- yeah, I don't remember, you
          Q. What happened to the Samsung
   15                                                   15 know, the other Samsung phone that I
      phone?
   16                                                   16 either -- that I bought in China or that I
          A. That phone was -- initially it
   17                                                   17 bought in the US.
      had some battery problem, you know,
   18                                                   18           But anyhow, you know, I was
      essentially it was very difficult or even
   19                                                   19 having two Samsung phones, okay. One is, as
      sometimes even impossible to charge.
   20                                                   20 I said, that I still use today, but mostly
               Sometimes, you know, when the
   21                                                   21 for phone calls or messages to/from United
      battery completely dead and you may be able
   22                                                   22 States, okay.
      to recharge a little bit, but then eventually
   23                                                   23           The other phone, as I said, I
      to the point it become completely, you know,
   24                                                   24 don't remember either that I bought it in the
      you know, you cannot charge, so it's just
                                              Page 51                                             Page 53
    1 dead.                                             1  US or bought it in China. But I used the
    2     Q. Did you ever have a different              2  other one -- you know, during, you know, the
    3 phone that you used in the United States           3 period that I joined ZHP, I used the other
    4 versus the phone you used in China?                4 one as my personal phone in China.
    5     A. I have a phone that I use,                  5     Q. The Samsung phone that you
    6 yeah, in the US.                                   6 currently have, am I correct that that was
    7     Q. Which phone is that?                        7 the phone that you were using back when you
    8     A. It's another Samsung.                       8 joined ZHP in 2014, the Samsung phone?
    9     Q. That's the phone you have                   9     A. That phone was also -- yeah,
   10 currently?                                        10 that phone was also there, yeah. I mean,
   11     A. Currently I have two phones.               11 that phone, fortunately, is still working.
   12 One, you know, you know, I mostly for, you        12 Maybe -- you know, maybe I -- you know, you
   13 know, for the phone calls, you know, or           13 know, maybe the reason it's still working is
   14 sometimes for the phone messages, you know,       14 that I didn't use that much, you know what
   15 receiving from the United States.                 15 I'm saying? It's only for, you know, you
   16          And, you know, you know, for             16 know, for checking, you know, sometimes for
   17 everything else, you know, that I use my          17 checking the phone messages, you know,
   18 China-based phone, because that's the best --     18 sending, you know, you know, phone messages.
   19 that's the best way, you know, you have to        19     Q. How about sending text messages
   20 deal with.                                        20 and receiving text messages?
   21     Q. So the Samsung phone you                   21     A. Oh, yeah, yeah. When I say in
   22 currently have that you use for phone calls       22 sending phone messages, what I mean is
   23 and phone messages, how long have you had         23 actually mostly for sending text messages.
   24 that phone?                                       24     Q. And those text messages would


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    1 relate to work and for personal?                  1
                                                                A. How long. For quite long.
    2     A. No, no. Mostly personally.                 2
                                                                Q. Do you use WeChat for work
    3     Q. Did you ever send text messages             3
                                                           purposes?
    4 on your Samsung phone that you still have          4
                                                                A. No.
    5 related to work?                                   5
                                                                Q. Never?
    6     A. No.                                         6
                                                                A. Never. I mean, if you --
    7     Q. Not once?                                   7
                                                           sometimes, you know, we use WeChat to do
    8     A. No.                                         8
                                                           the -- sort of like, you know, like phone
    9     Q. Did you ever send text messages             9
                                                           conversations. I don't know if you consider
   10 on any other phone related to work?               10
                                                           that's, you know, you know, for work
   11     A. No. I don't like, you know,                11
                                                           purposes. You know, that will be, you know,
   12 text messages.                                    12
                                                           the only, you know, only way.
   13     Q. Well, you had three different              13
                                                                     MR. SLATER: Cheryll, you can
   14 phones for work purposes. Did you ever send       14
                                                                take down the dep notice. That's
   15 text messages related to work on any of those     15
                                                                fine.
   16 three phones?                                     16
                                                                Q. I don't understand,
   17     A. No.                                        17
                                                           respectfully, what you just said, so I'll ask
   18     Q. Do you know if those phones, if            18
                                                           it again.
   19 any of your -- rephrase.                          19
                                                                     Have you ever used WeChat for
   20          Do you know if any of your               20
                                                           purposes of your work for ZHP?
   21 phones were taken by your company so that the     21
                                                                A. As I said, you know, sometimes
   22 information on the phones could be downloaded     22
                                                           we use WeChat sort of like as a -- you know,
   23 and then reviewed for production to us as         23
                                                           use that as a phone function.
   24 part of the litigation? Did they take your        24
                                                                Q. Okay.
                                              Page 55                                             Page 57
    1 phone or phones?                                  1       A. So if you consider that that's,
    2    A. Did they take my phones. I                  2  you know, you know, as work related, that
    3 don't think so. I don't remember. I don't          3 would be the only -- you know, only occasion.
    4 remember if they did that.                         4      Q. How often does that happen? Do
    5    Q. Did anybody ever tell you at                 5 you do that all the time or --
    6 any point that you needed to save your             6      A. It happens -- I wouldn't say
    7 documents and information and not delete           7 all the times, but it happens from time to
    8 anything because of this litigation?               8 time, yeah. Because, you know, you know,
    9    A. Oh, yes, mm-hmm.                             9 sometimes, you know, you know, the other, you
   10    Q. When was that?                              10 know, colleague, maybe they're not
   11    A. The very first time, it must be             11 accessible, only through the WIFI, you know.
   12 two, three years ago, I think.                    12 So during that circumstances, you know,
   13    Q. How did you --                              13 WeChat, you know, may be, you know, the most
   14    A. But again --                                14 effective way, you know, just to talk to
   15    Q. Was it someone who spoke to                 15 them.
   16 you, or did you get something in writing?         16      Q. Do you ever use the
   17    A. Somebody sending through the                17 videoconferencing WeChat as part of your
   18 e-mail. Yeah, I think it should be someone,       18 work?
   19 you know, of, you know, Maggie Kong's staff,      19      A. No.
   20 you know, one of her staff.                       20      Q. You never have?
   21    Q. Do you ever use WeChat?                     21      A. Never. I don't like the video
   22    A. Yes.                                        22 function.
   23    Q. How long have you been using                23      Q. Do you use videoconferencing in
   24 WeChat?                                           24 any other mode or from any other application




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    1 for your work?                                  1  Exhibit 292. Is that your current resume,
    2     A. For other. I don't -- usually            2  CV?
    3 we just have teleconference, yeah, because,      3     A. Yeah, mm-hmm.
    4 you know, using video function, it takes a       4     Q. Is it accurate?
    5 lot of memory, you know, slow down the           5     A. Yeah, it is accurate.
    6 effectiveness of the communications.             6     Q. I want to ask you a little bit
    7     Q. My question is this. Have you             7 about your work before you joined ZHP.
    8 used videoconferencing as part of your work?     8          According to the document, you
    9     A. As I said, I don't recall it.             9 were employed by Merck & Company before you
   10 You know, we -- as I said, we usually just,     10 joined ZHP, is that correct?
   11 you know, do the audio conference.              11     A. Mm-hmm, yes.
   12     Q. You said usually you do. Does            12     Q. What was the work did you at
   13 that mean sometimes you do videoconference?     13 Merck?
   14     A. Well, because I don't remember,          14     A. As I described, you know, I
   15 you know what I'm saying? There may be          15 think, quite clearly in my summary -- yeah,
   16 some -- maybe there's one time, you know,       16 can you go down a little bit? -- everything
   17 someone insisted for whatever the reason.       17 basically is pretty much in there.
   18 But I just don't recall, okay?                  18          MR. SLATER: Go all the way
   19     Q. Do you share documents over              19     down, please.
   20 WeChat?                                         20     A. I actually worked, you know,
   21     A. No.                                      21 you know, for Merck twice, right, first
   22     Q. Have you ever for work?                  22 starting from 1998 through 2005, and then
   23     A. No, not for work. At least for           23 2005 to -- you know, I switched to
   24 me.                                             24 Schering-Plough. And by the end of 2009,

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    1     Q. Do you know if your                      1  Schering-Plough was acquired by Merck, so
    2 conversations on WeChat have been recorded?     2  essentially, or effectively, I went back to
    3     A. I don't know. I mean, like, I             3 Merck.
    4 don't notice there's any recording function      4          Could you enlarge, you know,
    5 imbedded, like, in WeChat.                       5 the text a little bit? Yeah.
    6          As far as I know, you know, I           6          Yeah, basically, you know, you
    7 never recorded any conversations, you know,      7 know, I -- when I was at Merck or
    8 but from the other side, whether they record     8 Schering-Plough or after, you know, after the
    9 or not, I have no idea.                          9 merger, I have a group of scientists that,
   10     Q. So you wouldn't, for example,            10 you know -- you know, working in my teams.
   11 be posting documents on WeChat? Coming back     11          We, you know, pretty much as I
   12 to that again. I just want to be clear.         12 said, you know, do the atypical --
   13          Let me ask it more clearly.            13 manufacturing atypical and all of the
   14 Have you ever posted documents or shared        14 scientific investigations, analytical method
   15 documents on WeChat?                            15 development, validation, manufacturing
   16     A. No.                                      16 process, you know, improvement.
   17          MR. SLATER: Let's go to the            17          And, you know, the main focus
   18     Exhibit 292, I guess it will be, the        18 was to do the drug degradation mechanism
   19     resume, please.                             19 studies and also elucidation of the
   20          (Whereupon, Exhibit Number             20 structures of drug degradation products,
   21     ZHP-292 was marked for                      21 utilizing various LC-MS.
   22     identification.)                            22          As I listed here Thermo
   23 BY MR. SLATER:                                  23 LTQ/Orbitrap, you know, Waters MALDI-TOF, and
   24     Q. So on the screen is                      24 Waters Q-Tof, you know, these are all the




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    1                                                   1           So essentially, you know, a
      different, you know, types of, you know, LC,
    2                                                   2  drug molecule at the time, it will, you know,
      you know, liquid chromatography, mass
    3                                                    3 disintegrate, you know, become somebody else.
      spectrometry instrument utilized for, you
    4                                                    4 So we need to identify, you know, those
      know, impurity, structure elucidation
    5                                                    5 unknown impurities and, you know, to know,
      purposes.
    6                                                    6 you know, what they are, and in order to
          Q. Did you ever --
    7                                                    7 better control them or to understand how they
          A. I -- I'm sorry, go ahead.
    8                                                    8 would form, why, you know, they would form.
          Q. Did you ever -- rephrase.
    9                                                    9      Q. Would these studies be
               Did you ever have any
   10                                                   10 performed as part of a risk assessment before
      involvement with Merck's losartan
   11                                                   11 the manufacturing process or during the
      formulations?
   12                                                   12 manufacturing process?
          A. No.
   13                                                   13      A. No, no. Actually, when I was
          Q. You mentioned -- well,
   14                                                   14 at the Merck, also at Schering-Plough, my
      rephrase. I want to ask you about a few
   15                                                   15 team was supporting commercialized products,
      things in your resume, some of the
   16                                                   16 okay?
      terminology.
   17                                                   17          So all of the events, they
               One of things you say about
   18                                                   18 happened many years after these products were
      your time at Merck is that your laboratory
   19                                                   19 launched. Even for the commercial product
      was "very well equipped with state-of-the-art
   20                                                   20 they were on the market for 30, 40 years.
      analytical instruments including 9 mass
   21                                                   21          Over time was the improvement
      spectrometers of different capabilities."
   22                                                   22 of analytical methods and also the
          A. Right.
   23                                                   23 improvement of the -- you know, the
          Q. During what time period did you
   24                                                   24 sensitivity of the methods, new impurity, you
      have that state-of-the-art --
                                              Page 63                                             Page 65
    1      A. That was mostly study from                1  know, will emerge or will -- you know, they
    2 2005, and that was the time that I joined         2  actually sometimes, in some, you know, cases,
    3 Schering-Plough.                                   3 you know, those impurities, they've always
    4           So since my joining, I start             4 been there; it's just because, you know, the
    5 to, you know, establish and also was               5 old methodology was not sensitive or specific
    6 expanding my, you know, my team.                   6 enough. You know, they were just there, you
    7           So eventually, I think two to            7 know, undetected.
    8 three years into that time, like I would say       8          But then one day, you know,
    9 around, you know, maybe 2008, I have these         9 sometimes by a rather, you know,
   10 full set of, you know, equipments.                10 coincidental, you know, you know, factors,
   11           Yeah, I would say, yeah,                11 you know, they become known. So, yeah, so
   12 because 2009 we already -- end of 2009 we         12 then my team quite often will be called in to
   13 already acquired by Merck. Yeah, so it's          13 do the investigation.
   14 somewhere around 2008, the instrument             14     Q. Do you recall any specific
   15 capability of my team reached to -- you know,     15 examples of those decomposing chemicals that
   16 essentially to, you know, to a peak.              16 Merck had found, where it had been happening
   17      Q. You mentioned drug degradation            17 for a long time and your company didn't know
   18 studies. What is a drug degradation study?        18 it?
   19      A. Well, anything well decomposed            19     A. Oh, yeah. Oh, yeah. I can
   20 over time, you know, it's -- the difference       20 give you one example. For that example we
   21 is just, you know, to the extent. Some are        21 also published a paper, actually. Yeah.
   22 very stable, but still they may decompose,        22          So there was one product, it
   23 you know, a little bit. Some will decompose       23 containing a, you know, drug substance, or
   24 more obviously than the others, right?            24 also we can call it active pharmaceutical




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    1 ingredients.                                      1
                                                           20, 30 years already.
    2           You know, that API was                  2
                                                                    So based upon the structure
    3 betamethasone dipropionate, okay, which is a       3
                                                           that we determined, then we start to search
    4 steroids, you know, anti-inflammatory, you         4
                                                           the literature, right? And then based upon
    5 know, you know, steroids. It's a lotion            5
                                                           the literature, you know, you know, this
    6 product, okay, as far as I can remember.           6
                                                           particular degradant, you know -- basically
    7           And the reason that I can                7
                                                           historical, you know, literature provided
    8 remember is because that was the -- that was       8
                                                           some clue as to how, you know, this
    9 the first, you know, significant                   9
                                                           degradation could come, right, or, you know,
   10 investigation my team was working on, right?      10
                                                           could happen.
   11           So there was, you know, a known         11
                                                                    But based upon, you know, you
   12 degradation product, okay? So that                12
                                                           know, larger reasoning, we figured that
   13 degradation product was a hydrolytic, you         13
                                                           this -- you know, the literature results
   14 know, degradation product. It's called            14
                                                           cannot completely explain, you know, you
   15 21-monopropionate of betamethasone.               15
                                                           know, the phenomenon that we see.
   16           And at this degradation                 16
                                                                    So based upon that and also,
   17 product -- I'm sorry.                             17
                                                           you know, and also based upon the stability
   18           This degradation product has            18
                                                           results, we finally able to -- you know, to
   19 always been known. You know, they eluted at       19
                                                           find out a new or a novel degradation
   20 one particular place, right? And then all of      20
                                                           mechanism from betamethasone dipropionate.
   21 a sudden there was one day in the QC lab, it      21
                                                                    So we also, you know,
   22 just happened to be maybe that one particular     22
                                                           provide -- actually published another paper
   23 column has slightly better resolution than        23
                                                           specifically describing the -- you know, you
   24 the others, right, and that peak is splitted      24
                                                           know, this newly formed, you know,
                                              Page 67                                           Page 69
    1 into two peaks, okay? It just barely, you         1
                                                           degradation mechanism, you know, even for a
    2 know, you know, split it, right?                  2
                                                           product that has been on the market for
    3          And according to the SOP of the           3
                                                           nearly 30 years.
    4 QC lab, once you have the splitting on a --        4
                                                                    There will still be, as I said,
    5 you know, you know, on a particular peak,          5
                                                           even with the progress, you know, of the
    6 right, you have to do investigation, right?        6
                                                           technology, you know, better, you know,
    7 Because according to the SOP, you have to do       7
                                                           sensitivity, better, you know, specificity.
    8 what we call a drop line integration, right?       8
                                                           You know, we're able to, you know, to find
    9          So basically, then, the major             9
                                                           out, and also we're able to resolve those
   10 one is still this monoester, which is a known     10
                                                           issues.
   11 degradant, but the other one become an            11
                                                                    So after that --
   12 unknown peak, right?                              12
                                                               Q. I'm sorry to interrupt. All I
   13          So then my, you know, my group           13
                                                           asked is if you recall any instances. I
   14 did a comprehensive, you know, investigation      14
                                                           didn't ask you for the full story.
   15 using LC-MS and also utilizing NMR, and so        15
                                                               A. Okay. All right. Okay, sorry.
   16 finally we were able to find, you know,           16
                                                           Yeah, I thought you...
   17 another degradant that has been unknown for       17
                                                                    MR. GALLAGHER: Adam, we've
   18 this particular, you know, you know, drug         18
                                                               been going about an hour and ten
   19 substances.                                       19
                                                               minutes. You can ask a few more
   20          And betamethasone dipropionate           20
                                                               questions, but maybe at some point we
   21 at the time, I think around maybe 2007 we did     21
                                                               can take a break.
   22 the investigation at, you know,                   22
                                                                    MR. SLATER: Whatever you want
   23 Schering-Plough at the time, that product was     23
                                                               to do.
   24 already, I was told, on the market for like       24
                                                                    ///


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    1                                                  1
      BY MR. SLATER:                                      the most challenging, you know, issues, as I
    2                                                  2
          Q. I'm looking at your -- let's go              put there, yeah, the most challenging
    3                                                   3
      to the first page, now, of the resume.              technical issues.
    4                                                   4
          A. Sure.                                             Q. When I ask what CEMAT is, is it
    5                                                   5
               So maybe after the resume                  a laboratory or a separate office, or is
    6                                                   6
      question, we can take a break?                      it -- let me ask this question.
    7                                                   7
               MR. SLATER: Why don't you go                         In terms of what CEMAT is, is
    8                                                   8
          take the break now.                             it part of ZHP?
    9                                                   9
               THE WITNESS: Okay. So we have                   A. Yes.
   10                                                  10
          what, 10, 15 minutes or what?                        Q. Where is it located?
   11                                                  11
               MR. SLATER: Let's go off the                    A. It's located in headquarter of
   12                                                  12
          record, please.                                 ZHP, E Linghai, Zhejiang Province, China.
   13                                                  13
               THE VIDEOGRAPHER: The time                      Q. Which facility?
   14                                                  14
          right now is 8:12 a.m. We're now off                 A. Which facility. It's in
   15                                                  15
          the record.                                     Xunqiao facility, yeah, Xunqiao site.
   16                                                  16
               (Whereupon, a recess was                        Q. Why was it necessary for you to
   17                                                  17
          taken.)                                         establish CEMAT?
   18                                                  18
               THE VIDEOGRAPHER: The time                      A. Why it's necessary?
   19                                                  19
          right now is 8:27 a.m. We're back on                 Q. Let me ask the question very
   20                                                  20
          the record.                                     specifically.
   21                                                  21
               (Whereupon, Exhibit Number                           What was the specific need --
   22                                                  22
          ZHP-293 was marked for                          well, rephrase.
   23                                                  23
          identification.)                                          What was the specific reason
   24                                                  24
      BY MR. SLATER:                                      why CEMAT was established?
                                             Page 71                                             Page 73
    1     Q. On the screen is Exhibit 293.             1      A. Well, basically to improve, you
    2 Do you recognize that document?                  2  know, the company's, you know, capability,
    3     A. Oh, yeah.                                  3 you know, in this particular field.
    4     Q. What is it?                                4     Q. And that field would include
    5     A. Right now it's just, you know,             5 the identification of impurities in drug
    6 the starting of the summary of my LinkedIn        6 products?
    7 page.                                             7          MR. GALLAGHER: Objection.
    8           MR. SLATER: All right.                  8     Vague.
    9     Cheryll, can you scroll down to where         9          THE WITNESS: I'm sorry.
   10     it talks about -- right there.               10          MR. GALLAGHER: You can answer.
   11     Perfect. No. A little more up. Yes,          11          THE WITNESS: Okay.
   12     perfect.                                     12          Yes, drug products as well as
   13     Q. Your LinkedIn page says that              13     new drug substances.
   14 you established something called CEMAT,          14 BY MR. SLATER:
   15 C-E-M-A-T.                                       15     Q. Is API a drug substance?
   16     A. Yes, CEMAT.                               16     A. Yeah. API, yeah, is another
   17     Q. What is that?                             17 name usually for drug substance, yes.
   18     A. Basically, it's just like --              18     Q. When I said "drug products,"
   19 you know, in the sense that I rebuilt my, you    19 you were thinking finished dose?
   20 know, research team at Huahai.                   20     A. Yes. That's usually people,
   21           You know, the mission is pretty        21 you know, call it, yes.
   22 much the same, you know, you know, in terms      22     Q. The identification of
   23 of, you know, supporting those issues related    23 impurities in drug substances is an important
   24 to pharmaceutical impurities, and those are      24 part of cGMP, correct?




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    1                                                  1           Process impurities would
                MR. GALLAGHER: Objection.
    2                                                  2      include, for example, the NDMA created
          Vague.
    3                                                   3     by the zinc chloride process; that's a
                You can answer.
    4                                                   4     process impurity, correct?
                THE WITNESS: Okay.
    5                                                   5     A. Retrospectively, yes.
          A. Identification is -- yes, it's
    6                                                   6     Q. And the creation of NDMA and
      part of the cGMP requirements, yes.
    7                                                   7 NDEA in the TEA process with sodium nitrite
                MR. SLATER: Cheryll, let's put
    8                                                   8 quenching, those would be process impurities,
          up the next exhibit, this PowerPoint
    9                                                   9 correct?
          that we have regarding CEMAT, just to
   10                                                  10     A. Right.
          identify it for a moment. I believe
   11                                                  11     Q. And in both those -- rephrase.
          it's ZHP00404315 to 327.
   12                                                  12          After both those manufacturing
                (Whereupon, Exhibit Number
   13                                                  13 processes -- well, rephrase.
          ZHP-294 was marked for
   14                                                  14          For the zinc chloride process,
          identification.)
   15                                                  15 the root cause of the creation of NDMA was
          A. The exhibit is gone? Okay.
   16                                                  16 that the dimethylformamide was decomposing to
      BY MR. SLATER:
   17                                                  17 create dimethylamine, which then reacted
          Q. Do you see the PowerPoint we've
   18                                                  18 during the process with nitrous acid to
      put on the screen?
   19                                                  19 create NDMA, correct?
          A. Yeah, sure.
   20                                                  20          MR. GALLAGHER: Objection.
          Q. Did you create that PowerPoint?
   21                                                  21     Vague, and foundation.
          A. My associates probably prepared
   22                                                  22 BY MR. SLATER:
      a draft and then I finalized it, yes.
   23                                                  23     Q. That's the root cause, correct?
          Q. What was the purpose of
   24                                                  24     A. Yeah, that's the root cause
      creating this PowerPoint?
                                             Page 75                                             Page 77
    1     A. Well, there's multiple                    1
                                                       retrospectively after, you know, the events
    2 purposes. You know, one, just to present to,   2 occurred and we did quite a, you know,
    3 you know, our colleagues, you know, and        3 retrospective analysis, yes.
    4 sometimes, you know, present to, you know, to  4     Q. And that retrospective analysis
    5 my boss, you know, during the, like,           5 occurred when?
    6 quarterly meetings, you know, particularly in  6     A. After the June 6th -- you know,
    7 the early days.                                7 when the events was first came out.
    8          You know, you need to, you            8     Q. Going to the TEA process with
    9 know, you need to show, you know, right, what  9 sodium nitrite quenching, the root cause for
   10 you can achieve.                              10 the NDMA and NDEA was that triethylamine
   11          MR. SLATER: I'm sorry. Let's         11 hydrochlorothiazide was used as a catalyst.
   12     go to the page after the cover page,      12 That substance then would give off or produce
   13     please? Perfect.                          13 diethylamine or dimethylamine, and one or the
   14     Q. Looking at the Mission of              14 other or both would then react with nitrous
   15 CEMAT, it says, "To solve the most            15 acid to create NDEA and NDMA.
   16 challenging technical problems encountered    16          That's the root cause in that
   17 from research and development to scale up and 17 manufacturing process, correct?
   18 manufacture of drug substances and finished   18          MR. GALLAGHER: Objection.
   19 products, particularly those related to       19     Vague, foundation, and compound.
   20 process impurities, degradation products, and 20          You can answer.
   21 solid state and polymorphism."                21     A. Okay. The root cause, I think
   22          Do you see that?                     22 actually, based upon my understanding, they
   23     A. Mm-hmm, sure.                          23 are slightly different.
   24     Q. When this -- rephrase.                 24          The -- you know, the reason


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    1 that I'm saying that is, you know, based upon    1      A. It was during, you know, again,
    2 all of the new knowledge, right, that            2  part of the retrospective, you know,
    3 accumulated by the industry, as well as, you      3 investigations.
    4 know, from the regulators, okay?                  4          And also those knowledge, you
    5          For the formation for the TEA            5 know, was not gained instantaneously. And
    6 process, for the formation of the TEA,            6 obviously, you know -- I mean, it's like if
    7 basically you have two mechanisms. One is         7 you look at some of the FDA's -- their
    8 the DEA is a typical process impurity of TEA,     8 training material, FDA's announcement, you
    9 so DEA would also, yeah, would react with the     9 know, you know, this whole thing is very
   10 nitrous acid to perform NDEA.                    10 complicated, you know, so it takes time and
   11          But also, according to, as I            11 great efforts, right?
   12 said, again, updated, you know, you know,        12          So you will first, you know,
   13 information, the triethylamine could also        13 reveal the most obvious, and then eventually,
   14 react with nitrous acid, but the efficiency      14 you know, when time goes by, you know. And
   15 is not as high as the reaction with the TEA,     15 so some of the other minor contributing
   16 right?                                           16 factors was also being, you know, discovered.
   17          So -- yeah, so basically, you           17     Q. Before June of 2018, did ZHP
   18 know, that's the mechanism for that process,     18 ever have any information indicating that any
   19 okay, or the root cause.                         19 of the valsartan manufacturing processes
   20          And for NDMA, for its presence          20 could cause any nitrosamine to be created?
   21 in the TEA process, and I think the root         21     A. No. The whole industry, as
   22 cause is the -- in some of the TEA raw           22 well as the regulator, did not have that
   23 material it may contain a trace amount of,       23 knowledge, including ZHP.
   24 you know, of dimethylamine, okay, so that's      24     Q. And I've seen some vocabulary
                                             Page 79                                             Page 81
    1 one root cause.                                  1  in some things that I've read, so I just want
    2          I think that there's another            2  to make sure we're on the same page as to
    3 root cause for the presence of NDMA in the        3 what certain things mean as we go forward if
    4 TEA process, which is from, you know, for --      4 we could, please.
    5 as far as I remember, for very limited, you       5     A. No problem.
    6 know, batch numbers. Because for some of          6     Q. So I've seen the term
    7 the, you know, product, they were                 7 "nitrosamine" and I've seen the term "nitroso
    8 manufactured, you know, using the share line,     8 compound" or "N-nitroso compound."
    9 you know, with the zinc chloride valsartan.       9          Does that all basically mean
   10 And I think, you know, so for those limited      10 the same thing?
   11 number of batches, that's another root cause.    11     A. No. To be scientifically
   12          So I think that's pretty much,          12 precise, they are not the same.
   13 you know, yeah, the root cause, you know, you    13          Nitroso compound is a very --
   14 know, for the TEA process for NDMA and NDEA.     14 you know, I'm a scientist, okay, right? If
   15     Q. When you refer to the shared              15 somebody just tell me nitroso compound, you
   16 production line, are you talking about           16 know, you know, any compound have a nitroso
   17 cross-contamination?                             17 group, they're called a nitroso compound. So
   18     A. Well, that's one way, you know,           18 nitrosamine is just a subtype of the nitroso
   19 from some of the inspections, you know, you      19 compound, all right?
   20 know, people use that phrase, but I would        20          And the same thing, you know,
   21 say, rather, it's carryover, you know, of        21 N-nitroso compound is also a subtype of
   22 some of the residual impurities.                 22 nitroso compound, but N-nitroso compound
   23     Q. And when was that learned?                23 including the nitrosamine.
   24 When was that root cause figured out?            24          MR. SLATER: Cheryll, let's


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    1                                                1      MR. SLATER: The link, the
          take this document down, and go to
    2                                           2      hopper.
          document -- now what are we up to,
    3                                           3           (Whereupon, Exhibit Number
          294? Is the next document 294?
    4                                           4      ZHP-296 was marked for
               Is the next exhibit 294?
    5                                           5      identification.)
               THE STENOGRAPHER: 295.
    6                                           6      A. That will be better for most of
               MR. SLATER: 295. I'm always
    7                                           7 you guys. Yeah, for me that's fine, but...
          off by one, Maureen.
    8                                           8           MR. SLATER: Okay if I proceed?
               (Whereupon, Exhibit Number
    9                                           9           MR. GALLAGHER: Yes, please. I
          ZHP-295 was marked for
   10                                          10      see it. It's up.
          identification.)
   11                                          11 BY MR. SLATER:
               MR. SLATER: Looking at Exhibit
   12                                          12      Q. So it says -- rephrase.
          295, let's put up ZHP00190573.
   13                                          13           This e-mail dated by one of
      BY MR. SLATER:
   14                                          14 your key technical people, Jinsheng Lin, it
          Q. This is an e-mail dated
   15                                          15 says it's to multiple people. And I just --
      July 27, 2017.
   16                                          16 tell me if I get these names right. Jucai
               Do you see that?
   17                                          17 Ge, Tianpei Huang, Wangwei Chen, Wenquan Zhu.
          A. Okay.
   18                                          18      A. Okay.
          Q. Do you see the date in the top
   19                                          19      Q. Wenbin Chen.
      right?
   20                                          20      A. Uh-huh.
          A. Let's see. Yeah, uh-huh.
   21                                          21      Q. Mr. Li.
          Q. And you can see the person who
   22                                          22      A. That's me. Yeah, that's me.
      wrote it up in the top left. You can see
   23                                          23      Q. Peng Dong?
      Jinsheng Lin.
   24                                          24      A. Wait a second. Oh, wait. I'm
               Do you see that?
                                           Page 83                                         Page 85
    1      A. Yes. He was, yeah, one of my           1
                                                       still seeing the Chinese version. Are you
    2 staff, yes.                                    2
                                                       reading the English version?
    3      Q. What was his role? What was            3
                                                            Q. I'm certainly not reading the
    4 his title?                                     4
                                                       Chinese; I'm reading the English. But I'm
    5      A. His title right now is                 5
                                                       just going through the names right now.
    6 technical associate director, I think.         6
                                                            A. Yeah, sure. Yeah, go ahead.
    7 Something like that, yeah.                     7
                                                            Q. So we just -- we established
    8      Q. Would it have been the same            8
                                                       you're one of the people who received this
    9 title back in July of 2017?                    9
                                                       e-mail, correct?
   10      A. No. He had one -- at least one        10
                                                            A. Oh, yes.
   11 promotion. He maybe at the time was like      11
                                                            Q. Also Peng Dong?
   12 assistant, you know, like technical director, 12
                                                            A. Mm-hmm.
   13 you know, but I don't, you know, keep those   13
                                                            Q. Lihong Lin?
   14 things, you know, you know, you know, up and 14
                                                            A. Mm-hmm.
   15 running all the time in my mind. Yeah. But    15
                                                            Q. Yanfeng Liu?
   16 he -- yeah, he is one of the key technical    16
                                                            A. Yes, that's pretty close.
   17 person in my team.                            17
                                                            Q. Peng Wang?
   18           MR. GALLAGHER: Adam, do you         18
                                                            A. Penh Wang, yes.
   19      have an English language version of      19
                                                            Q. And Wenling Zhang.
   20      this document?                           20
                                                            A. Yes.
   21           MR. SLATER: We do. I think          21
                                                            Q. Okay. And it looks like the
   22      Cheryll can put it into that.            22
                                                       subject is "Valsartan Impurity K."
   23           MR. GALLAGHER: Into the link?       23
                                                                 Does it say that, or is that an
   24      Great.                                   24
                                                       attachment?


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    1                                                  1
          A. Yeah, "Valsartan Impurity K,"                N-nitrosodimethylamine that occurs in
    2                                                  2
      yes.                                                valsartan when quenched with sodium nitrite,
    3                                                   3
          Q. Okay. So the subject is                      and its structure is very toxic. Its
    4                                                   4
      "Valsartan Impurity K," correct?                    possible formation route is shown as
    5                                                   5
          A. Yes, looks like, yes.                        follows," and then we have the diagrams.
    6                                                   6
          Q. And this is to -- it's                                Did I get that right?
    7                                                   7
      addressed to Ms. Ge. Is that pronounced                 A. Yeah, yeah, it looks like.
    8                                                   8
      right, G-E, Ge?                                         Q. And if we go further down below
    9                                                   9
          A. Yeah, yeah. Yes. That's                      the pictures, there is the second paragraph
   10                                                  10
      perfect almost, yes.                                after the pictures.
   11                                                  11
          Q. And they're talking about                             MR. SLATER: You can keep
   12                                                  12
      impurity they see in one of the production              scrolling down, please, Cheryll.
   13                                                  13
      processes, correct?                                     Q. Looking now at the second
   14                                                  14
          A. Yeah, mm-hmm.                                paragraph under the diagrams, the e-mail
   15                                                  15
               MR. SLATER: And let's turn to              says, "If it is confirmed as the above
   16                                                  16
          the second page now of the document,            speculated structure, then its toxicity will
   17                                                  17
          please, at the top.                             be very strong, and there will be an
   18                                                  18
          Q. Tell me if I have this pretty                extremely high GMP risk. This is a common
   19                                                  19
      much correct. At the top it says, "Through          problem in the production and synthesis of
   20                                                  20
      the secondary mass spectrometry analysis" --        sartan APIs. It is recommended to improve
   21                                                  21
      and I want to stop there.                           other quenching processes (such as NaClO)
   22                                                  22
               What is secondary mass                     along with the optimization of the valsartan
   23                                                  23
      spectrometry analysis?                              sodium azide quenching process."
   24                                                  24
          A. It's basically you have --                            Did I get that pretty much
                                             Page 87                                              Page 89
    1 well, actually, you know, you have three         1      right?
    2 stages. You're going to the -- first the         2      A. Yeah, it sounds like. Yeah.
    3 mass detector, right? It's looking for the        3     Q. And then going to the last
    4 parent molecule away, or the parent most          4 paragraph of this e-mail you received
    5 usually like protonated molecular eye.            5 July 27, 2017, it says, "I've also attached a
    6            And then you're going to a             6 patent of a 2013 sodium azide NaClO quenching
    7 collision cell, you know, you know, you know,     7 method by Zhejiang Second Pharma Co.,
    8 usually with gas, either nitrogen, helium,        8 Limited. They proposed that the use of NaNO2
    9 or, you know, some other gas, and to break        9 quenching will result in the formation of
   10 them apart.                                      10 N-NO impurities. At the same time, they used
   11            And then you have, you know, a        11 ZHP's crude Valsartan in their LC-MS test and
   12 number of, you know, you know, what do we        12 detected this impurity. This indicates that
   13 call it, fragments, right? And then you go       13 other companies have paid attention to the
   14 to another, you know, mass detector. Yeah.       14 quality problem very early on. So leaders
   15 So sometimes it's also called a triple quad      15 please pay attention to this issue."
   16 mass spectrometry, but sometimes just called     16          And then it's signed Jinsheng
   17 MS2 or /MS.                                      17 Lin, CEMAT, July 27, 2017, correct?
   18     Q. Again starting -- rephrase.               18     A. Yeah, looks like, uh-huh.
   19            Starting at the top, it says,         19     Q. And if we go back up to the top
   20 "Through the secondary mass spectrometry         20 now, just to reiterate a couple things, it
   21 analysis, it can be inferred that the extra      21 said in part that what was being seen here
   22 NO substituent is in the cyclic compound         22 was similar to the NDMA that occurs in
   23 fragment, and it is very likely that it is an    23 valsartan when quenched with sodium nitrite,
   24 N-NO compound; it is similar to the              24 correct? You saw that language up at the




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    1   top?                                           1
                                                                You can answer, Dr. Li.
    2       A.    Yes.                                 2
                                                           A. I'm sorry, what is the question
    3           MR. GALLAGHER: Objection.            3
                                                       again? Sorry.
    4     Vague, and mischaracterizes the            4
                                                       BY MR. SLATER:
    5     document.                                  5
                                                           Q. Sure.
    6 BY MR. SLATER:                                 6
                                                                When people outside ZHP learned
    7     Q. And, therefore, as of July 27,          7
                                                       that the valsartan manufacturing process was
    8 2017, you and others in your company knew      8
                                                       creating NDMA, that was a significant GMP
    9 that when valsartan was quenched with sodium   9
                                                       problem, correct?
   10 nitrite, it was forming in NDMA, correct?     10
                                                           A. Well, that's what he said, yes.
   11           MR. GALLAGHER: Objection.           11
                                                           Q. And he also said this is a
   12     Again, vague and mischaracterizes the     12
                                                       common problem in the production and
   13     document.                                 13
                                                       synthesis of sartan APIs. So at that point
   14     A. You know, you know, I have             14
                                                       people within ZHP knew that with the
   15 received a lot of e-mails, and it looks like  15
                                                       manufacture of their sartan APIs,
   16 my name was there. But somehow I don't know,  16
                                                       nitrosamines were being created.
   17 you know -- you know, he didn't specifically  17
                                                                That's what he's referring to
   18 follow up with me or brought that, you know,  18
                                                       in this e-mail, correct?
   19 specifically to my attention.                 19
                                                           A. That, it looks like, is the
   20 BY MR. SLATER:                                20
                                                       case.
   21     Q. Well, that's what the e-mail           21
                                                           Q. And then he says, "It is
   22 says, right?                                  22
                                                       recommended to improve other quenching
   23     A. Right, right, I know. Yeah, I          23
                                                       processes (such as NaClO)."
   24 know that my name was there, but I, you know, 24
                                                                And if you could translate that
                                             Page 91                                            Page 93
    1 receive huge amount of e-mail.                   1
                                                          for me, please.
    2          Usually, you know, for                  2
                                                              A. I'm sorry, which one here?
    3 something -- I told them if something, you        3
                                                              Q. The NaClO. Is that sodium
    4 know, you know, they feel important, they         4
                                                          nitrite?
    5 should remind me or, you know, you know,          5
                                                              A. No. That's the -- no, that's
    6 brought up, you know, to my attention.            6
                                                          another quenching reagent. No, it's not
    7     Q. And going down further to that             7
                                                          sodium nitrite.
    8 second-to-last paragraph we read, just to         8
                                                              Q. What is it?
    9 reiterate and walk through, Jinsheng Lin had      9
                                                              A. It's one of the
   10 written, "If it is confirmed as the above        10
                                                          chloro-containing, you know, acid. This one
   11 speculated structure, then its toxicity will     11
                                                          is actually the main ingredient in bleach.
   12 be very strong, and there will be an             12
                                                              Q. Hypochlorite.
   13 extremely high GMP risk."                        13
                                                              A. Yeah.
   14          That's what he wrote, correct?          14
                                                              Q. Is that hypochlorite?
   15     A. That's what he wrote, but, you            15
                                                              A. Yeah, I think it should be that
   16 know, he's not a toxicologist, so I think        16
                                                          one, yes.
   17 that's his speculation.                          17
                                                              Q. Let me ask it again then, now
   18     Q. Well, certainly with regard to            18
                                                          that I just figured it out with you.
   19 NDMA in valsartan, that would be, and turned     19
                                                                   With my -- all right. Let me
   20 out to be, a significant GMP problem when it     20
                                                          rephrase.
   21 was discovered outside of ZHP, correct?          21
                                                                   He wrote, "It is recommended to
   22     A. Let me see. Which --                      22
                                                          improve other quenching processes, such as
   23          MR. GALLAGHER: Objection.               23
                                                          hypochlorite" -- that's actually bleach,
   24     Calls for speculation.                       24
                                                          right?


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    1     A. Yes.                                      1
                                                              A. Yeah, mm-hmm.
    2     Q. -- "along with the optimization           2
                                                              Q. And again, as I'm going to show
    3 of the valsartan sodium azide quenching           3
                                                          you in a moment, he's talking about what he
    4 process."                                         4
                                                          read in this patent by this other company in
    5          So he's recommending that the            5
                                                          China.
    6 sodium azide quenching process that you had       6
                                                                   And he then says, "This
    7 been using be optimized, be improved,             7
                                                          indicates that other companies have paid
    8 correct?                                          8
                                                          attention to the quality problem very early
    9     A. Looks like, yes.                           9
                                                          on."
   10     Q. And going back to the next                10
                                                                   Do you see that?
   11 paragraph, he actually points out that he is     11
                                                              A. Mm-hmm.
   12 attaching a patent, which we'll pull out in      12
                                                              Q. And this quality problem he's
   13 just a moment, from a 2013 sodium azide          13
                                                          talking about is the sodium nitrite quenching
   14 hypochlorite quenching method by a different     14
                                                          leading to the creation of nitrosamines,
   15 company, Zhejiang Second Pharma Co., Limited.    15
                                                          correct?
   16          That's another company in               16
                                                              A. Looks like.
   17 China, correct?                                  17
                                                              Q. And he then says, "So leaders
   18     A. Yes.                                      18
                                                          please pay attention to this issue."
   19     Q. And, again, the NaClO, that's             19
                                                                   And when he's referring to
   20 hypochlorite, which is bleach, correct?          20
                                                          "leaders," would that be the people on this
   21     A. Yes.                                      21
                                                          e-mail, including yourself and Peng Dong and
   22     Q. And he says that that company             22
                                                          Lihong Lin, and the others on that e-mail?
   23 "proposed that the use of NaNO2 quenching        23
                                                                   MR. GALLAGHER: Objection.
   24 will result in the formation of N-NO             24
                                                              Vague, and calls for speculation.
                                             Page 95                                            Page 97
    1 impurities."                                     1        You can answer, Dr. Li.
    2           NaNO2 is sodium nitrite,             2     A. Yeah, it looks like at least
    3 correct?                                       3 the two, yes.
    4     A. NaNO2, yes.                             4 BY MR. SLATER:
    5     Q. And N-NO impurities would be            5     Q. Now let's go, if we could --
    6 nitrosamine impurities, correct?               6 well, actually, let me ask you this question.
    7     A. I'm sorry, which one?                   7          This e-mail -- we have
    8     Q. Where it says "N-NO," those             8 something called metadata, and metadata is
    9 would be nitrosamine impurities, correct?      9 information we get when we get produced
   10     A. I'm sorry. I don't know which          10 documents; where they came from, who authored
   11 you're referring to.                          11 them, etcetera. That's something we exchange
   12           MR. SLATER: Scroll down a           12 as part of this litigation.
   13     little, Cheryll. I think it's cut         13     A. Okay.
   14     off.                                      14     Q. The metadata on this said that
   15     Q. In the last paragraph?                 15 this came from a folder titled "Documents"
   16     A. Oh, yeah. Yeah, it's N-NO,             16 from your old computer, which apparently,
   17 yeah, impurity, yes. It's N-nitro impurity,   17 according to the metadata, was copied from
   18 yes.                                          18 your old desktop into your new computer in or
   19     Q. And he then says, "At the same         19 about June 2018.
   20 time, they used ZHP's crude Valsartan in      20          Do you remember doing that?
   21 their LC-MS test and detected this impurity." 21     A. I'm sorry?
   22           And "LC-MS," that would be          22          MR. GALLAGHER: Objection.
   23 liquid chromatography-mass spectrometry? Do 23       Objection. Vague and foundation.
   24 I have that right?                            24          ///


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    1 BY MR. SLATER:                                    1
                                                           compound with irbesartan, yeah. It's not
    2      Q. Do you remember doing that,               2
                                                           valsartan. But based upon that, yeah, it
    3 copying this document from one computer into       3
                                                           looks like he's making -- you know, making
    4 another computer in or about June of 2018?         4
                                                           his guess.
    5      A. I didn't do that.                          5
                                                                Q. Well, he's comparing it and
    6      Q. So if that happened, somebody              6
                                                           calling it similar to the NDMA that forms in
    7 else would have done it, and that would have       7
                                                           valsartan when quenched with sodium nitrite.
    8 been stored in --                                  8
                                                                    That's what he said, right?
    9      A. Probably IT, yeah. As I                    9
                                                                A. Yeah, that's -- again, you
   10 said -- yeah.                                     10
                                                           know, you know, that's his, you know, his
   11      Q. So this e-mail clearly is --              11
                                                           guess or his speculation.
   12 rephrase.                                         12
                                                                Q. Well, he doesn't say he's
   13          So based on this e-mail, your            13
                                                           guessing or speculating, does he?
   14 company was -- well, let me rephrase this.        14
                                                                A. He didn't say, but basically
   15          Did your company ever tell the           15
                                                           from the context, you know, yeah. I mean,
   16 FDA or any other regulators about its             16
                                                           it's obvious.
   17 knowledge about the creation of nitrosamines      17
                                                                Q. Well, it's also obvious he said
   18 including NDMA from the quenching with sodium     18
                                                           in the second-to-last paragraph, if we scroll
   19 nitrite?                                          19
                                                           down to it, that "If it is confirmed as the
   20          Do you recall your company               20
                                                           above speculated structure in this
   21 telling the FDA or any regulatory authorities     21
                                                           irbesartan, then its toxicity will be very
   22 about that?                                       22
                                                           strong, and there will be an extremely high
   23      A. Well --                                   23
                                                           GMP risk."
   24          MR. GALLAGHER: Objection.                24
                                                                    Meaning if it's a nitrosamine,
                                              Page 99                                             Page 101
    1      Vague.                                       1  it's going to be very toxic, and that's going
    2      A. In this particular case, you              2  to be a significant GMP problem, right?
    3 know, he's talking -- well, that particular        3          That's what he said in this
    4 case with, you know, irbesartan, right? And        4 e-mail, correct?
    5 so he's, you know, you know, you know, making      5      A. He said that; but, again, you
    6 a kind of a, you know, you know, guess.            6 know, he's not a toxicologist, right? And
    7           You know, I mean, all of the             7 now we know, you know, based upon, you know,
    8 language that you can see, you know, you           8 some of the FDA's training -- you know,
    9 know, yeah, because the reaction, you know,        9 training material, not all, you know,
   10 that he showed is irbesartans, yeah.              10 N-nitroso compound are, you know, as toxic,
   11 BY MR. SLATER:                                    11 okay.
   12      Q. Well, if we go to the top of              12          Quite a few of them, if you
   13 this page --                                      13 look at FDA's training, you know, PPTs there
   14           MR. SLATER: Could you scroll            14 are quite of few N-nitroso compound that they
   15      up, please, Cheryll, the top of the          15 are not, you know, not, you know, you know,
   16      second page? Thanks.                         16 you know, genotoxic, or they are not
   17      Q. -- just to be clear, he                   17 mutagenic.
   18 specifically said that "It is similar to the      18          So, again, you know, yeah, he's
   19 NDMA that occurs in valsartan when quenched       19 making, you know, you know, his own judgment,
   20 with sodium nitrite," and it's very toxic.        20 you know, outside of his, you know, you know,
   21      A. That's -- he's, you know, you             21 you know, expertise.
   22 know -- yeah, he's making a guess. Yeah,          22      Q. He turned out to be correct,
   23 because -- because, you know, what he found       23 right? Because NDMA and NDEA are considered
   24 is, you know, is this N-, you know, nitroso       24 to be mutagenic/genotoxic impurities,




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    1   correct?                                       1
                                                       know, as I indicated for the TEA process, you
    2           MR. GALLAGHER: Objection.              2
                                                       know, based upon my knowledge
    3       Calls for speculation.                   3
                                                       retrospectively, only very limited batch, you
    4           You can answer.                      4
                                                       know, had NDMA exceeding, you know, the
    5       A. Yeah. Right now, yeah. And            5
                                                       limit, as well as for -- I think for the --
    6 it's considered as probable, you know, you     6
                                                       for NDEA, there's also limited numbers.
    7 know, carcinogenic, you know, to human. But    7
                                                                So for the TEA process, as far
    8 it's, you know, it's probable.                 8
                                                       as I can remember, the vast majority of the
    9           And also, again, based upon,         9
                                                       batches, they still met the acceptable -- the
   10 you know, some recent FDA's training          10
                                                       current acceptable limit, although those
   11 material, you know, I just went through as    11
                                                       limits are retrospective.
   12 part of the preparation.                      12
                                                       BY MR. SLATER:
   13           And endogenously formed NDMA        13
                                                           Q. The zinc chloride process,
   14 could be, you know, somewhere between 1,000 14
                                                       every single batch that was manufactured and
   15 or even greater than 2,000 microgram per day. 15
                                                       then sold in the United States exceeded the
   16 You know, basically, you know, those NDMA, 16
                                                       limit set by the FDA, correct?
   17 they -- you know, you know, you know, it is   17
                                                                MR. GALLAGHER: Objection.
   18 formed, you know, inside the body, like       18
                                                           Outside the scope.
   19 inside a human body, after, you know,         19
                                                                You can answer.
   20 ingestion, you know, of regular foods.        20
                                                           A. Okay, retrospectively, yes.
   21       Q. NDMA was being formed by the         21
                                                       But, you know, to be clear, you know, there
   22 manufacturing process, as we agreed earlier.  22
                                                       was no specification before the events.
   23 It was a process impurity in the valsartan,   23
                                                       BY MR. SLATER:
   24 correct?                                      24
                                                           Q. When Jinsheng Lin said at the
                                            Page 103                                         Page 105
    1     A. Yes.                                      1
                                                       end of this e-mail, "This indicates that
    2     Q. And it would never be                   2
                                                       other companies have paid attention to the
    3 acceptable to have NDMA at the levels it was   3
                                                       quality problem very early on," when he was
    4 found in your company's valsartan. That        4
                                                       referring to the 2013 patent application, and
    5 would never be acceptable, that could never,   5
                                                       then said, "So leaders please pay attention
    6 ever be permissible, correct?                  6
                                                       to this issue," he was giving you a good
    7         MR. GALLAGHER: Objection.              7
                                                       warning that this needed to be taken care of
    8     Lacks foundation, and outside the          8
                                                       and fixed right away, because it was a
    9     scope.                                     9
                                                       serious quality problem with a very toxic
   10     A. Yeah, that's not accurate,             10
                                                       substance, correct?
   11 okay? That's not accurate. If you look at     11
                                                                 MR. GALLAGHER: Objection.
   12 FDA's -- you know, at least the most recent,  12
                                                           Vague, and mischaracterizes the
   13 you know, there is an acceptable limit for    13
                                                           document.
   14 NDMA or NDEA, okay?                           14
                                                           A. As I said, you know, you know,
   15 BY MR. SLATER:                                15
                                                       now looking back, you know, you know, he's
   16     Q. Are you aware that every single        16
                                                       making, you know, his judgment, okay.
   17 batch of valsartan manufactured with both the 17
                                                                 Also, he's -- you know,
   18 sodium nitrite quenching process with TEA and 18
                                                       particularly with regard to the potential
   19 the zinc chloride process, that every single  19
                                                       toxicity of NDMA, because he's not a
   20 batch exceeded the FDA's stated limits?       20
                                                       toxicologist.
   21         Are you aware of that?                21
                                                       BY MR. SLATER:
   22         MR. GALLAGHER: Objection.             22
                                                           Q. Well, he was right that this
   23     Outside the scope.                        23
                                                       was a quality problem and that it needed to
   24     A. That's not accurate, okay? You         24
                                                       be taken care of. That was a good decision


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    1                                                 1         So I can represent to you that
      by him to recommend to you and the other
    2                                               2 on the metadata, this is the attachment
      leaders to fix this problem, this quality
    3                                               3 referred to as the patent application. Do
      problem, in 2017, right?
    4                                               4 you see that? With an application
               MR. GALLAGHER: Objection.
    5                                               5 announcement date of March 5, 2014 in the top
          Vague, and calls for speculation.
    6                                               6 right.
          A. Again, as I said, you know,
    7                                               7     A. Yes.
      he's making, you know, you know, those
    8                                               8           MR. SLATER: And just for the
      guesses.
    9                                               9     record,   Cheryll, could you scroll to
      BY MR. SLATER:
   10                                              10     the bottom, and we'll just read off
          Q. Whatever you want to call it,
   11                                              11     the Bates number that is printed on
      he was correct, right?
   12                                              12     this?
          A. Again, you know, he's making
   13                                              13           It says ZHP01812101.
      those speculations outside of his, you know,
   14                                              14           Now, if you could scroll down a
      expertise.
   15                                              15     little more, Cheryll. Let's just get
          Q. Let's go to -- well, rephrase.
   16                                              16     the abstract fully shown here. No,
      Let me just tie this up.
   17                                              17     no, the other way. The other up.
               When people outside ZHP found
   18
      out what ZHP knew at least as of July 2017, 18      Perfect.
   19                                              19     Q. Looking at the Abstract of this
      and likely earlier, since he's talking about
   20
      what was already known, when the rest of the 20 patent application, I want to go down to the
   21                                              21 last long sentence at the bottom, and it says
      world found out about it, you couldn't sell
   22                                              22 starting six lines from the bottom, "In the
      your valsartan anymore because of the
   23                                              23 method of the present invention, the use of
      contamination with the NDMA, correct?
   24                                              24 hypochlorite can cut off the source of
               MR. GALLAGHER: Objection.
                                           Page 107                                         Page 109
    1                                                 1
           Vague, and outside the scope.             nitrous acid and eliminate the generation of
    2                                              2
           A. Again, you know, as I said,            valsartan impurity K, and, with the
    3                                              3
      he's making his speculations.                  adjustment of other conditions, it can
    4                                              4
      BY MR. SLATER:                                 prevent the generation of other impurities
    5                                              5
           Q. Well, whatever you want to call        that are difficult to handle, allowing the
    6                                              6
      it, he was correct that the sodium nitrite     preparation of high-purity valsartan
    7                                              7
      quenching was creating nitrosamines, which     products."
    8                                              8
      was a serious GMP problem, correct?                     Do you see that?
    9                                              9
                MR. GALLAGHER: Objection.                A. Mm-hmm.
   10                                             10
           Vague, and outside the scope.                 Q. And per the e-mail that we just
   11                                             11
                You can answer.                      went through from Mr. Lin, he talked about
   12                                             12
           A. In terms of a GMP, you know,           how the people who filed this patent at this
   13                                             13
      Ms. Ge would be in a better position, you      other company actually were looking at a way
   14                                             14
      know, to answer that.                          to prevent these nitrosamine impurities from
   15                                             15
                MR. SLATER: Let's go, Cheryll,       forming by substituting something else for
   16                                             16
           if we could, to the patent application    sodium nitrite.
   17                                             17
           referred to here. Let's go to the                  Do you recall we just went
   18                                             18
           English version.                          through that?
   19                                             19
                (Whereupon, Exhibit Numbers              A. Yes. But here, you know, you
   20                                             20
           ZHP-297 and ZHP-298 were marked for       know,  based upon what I see here, right, this
   21                                             21
           identification.)                          patent is specifically, you know, talking
   22                                             22
      BY MR. SLATER:                                 about, you know, the impurity K, okay?
   23                                             23
           Q. We're just getting the document                 So retrospectively we know
   24                                             24
      up. Great.                                     that, you know, the impurity K is an


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    1                                                  1
      N-nitroso impurity, right, but that impurity,       BY MR. SLATER:
    2                                                  2
      it looks like, you know, you know, Novartis,            Q. NDMA and NDEA are not treated
    3                                                   3
      they already knew, right, during their              as regular impurities; they're treated as
    4                                                   4
      initial filing. Okay. And also they did an          what they are, potent genotoxic impurities,
    5                                                   5
      Ames test of the so-called impurity K, and it       correct?
    6                                                   6
      turns out, you know, the Ames test results                   MR. GALLAGHER: Objection.
    7                                                   7
      was negative, right?                                    Vague, and calls for speculation.
    8                                                   8
                So according to a European, you               A. They are different. NDMA, you
    9                                                   9
      know, authority document, this impurity, you        know, you know, you know, every N-nitroso
   10                                                  10
      know, you know, has been controlled as a            compound, they are different. As I, you
   11                                                  11
      regular normal impurity, okay, at the level         know, early -- you know, you know, early on,
   12                                                  12
      of 1,000 ppm.                                       as I indicated, there are quite a few, you
   13                                                  13
           Q. I guess we could talk about                 know, N-nitroso, you know, compounds, they
   14                                                  14
      that for a moment.                                  are not mutagenic.
   15                                                  15
                You realize that whatever the                      MR. SLATER: Hang on. Let's
   16                                                  16
      results of the Ames test was, the regulatory            see where I want to go to now in this
   17                                                  17
      authorities said it should be treated as a              document.
   18                                                  18
      mutagenic genotoxic impurity, correct?                       Let's go to page 5,
   19                                                  19
                MR. GALLAGHER: Objection.                     paragraph 17, please. No, we're way
   20                                                  20
           Foundation, calls for speculation, and             past it. Paragraph 17. I see what
   21                                                  21
           outside the scope.                                 you're doing, actually. You're right.
   22                                                  22
                You can answer.                               There you go. Perfect.
   23                                                  23
           A. According to M7, if the results                 Q. Paragraph -- or Section --
   24                                                  24
      of Ames test, if it's negative, you could           rephrase.
                                            Page 111                                            Page 113
    1                                                  1
      control that or treat that as a regular                      Section 17 is talking about --
    2                                                  2
      impurity.                                           well, actually, let's go -- yeah, all right.
    3                                                   3
               So in this particular case,                Rephrase.
    4                                                   4
      impurity K has been treated by Novartis,                     In 17 it talks about, "In the
    5                                                   5
      which is the original innovator of valsartan        present invention, the improvement of Step 3
    6                                                   6
      as a regular impurity. So its level is at           reaction can effectively prevent valsartan
    7                                                   7
      1,000 ppm.                                          impurity K from forming; since valsartan
    8                                                   8
      BY MR. SLATER:                                      impurity K is a nitroso compound that is
    9                                                   9
          Q. Let's look at -- well,                       highly toxic, the control of impurity K in
   10                                                  10
      rephrase.                                           valsartan so that it is not detected is the
   11                                                  11
               You're aware that the                      objective of the valsartan preparation method
   12                                                  12
      regulatory authorities actually determined          of the present invention."
   13                                                  13
      not to treat it as a regular impurity and                    Do you see what I just read?
   14                                                  14
      said it had to be treated as a genotoxic                A. Yes.
   15                                                  15
      impurity, correct?                                           MR. SLATER: Now let's go, if
   16                                                  16
               MR. GALLAGHER: Objection.                      we could, to paragraph number 33.
   17                                                  17
          A. Not for -- sorry.                                Q. It says in paragraph 33,
   18                                                  18
               MR. GALLAGHER: Go ahead.                   starting in the second sentence, "Through the
   19                                                  19
          Outside the scope.                              control of the reaction conditions, the
   20                                                  20
               You can answer.                            valsartan product is synthesized while the
   21                                                  21
          A. Yeah, not for impurity K. As I               formation of other impurities is minimized,
   22                                                  22
      said, impurity K has been controlled as a           allowing effective control of the content of
   23                                                  23
      regular impurity, although it is N-nitroso          impurities, thereby preparing high-purity
   24                                                  24
      impurities.                                         valsartan products, and enhancing their


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    1 quality, which is of great significance for      1
                                                       yeah. Well, he sent it to other people.
    2 ensuring the safety of valsartan APIs."        2 Yeah.
    3          Do you see that?                      3     Q. And this would have been
    4      A. Mm-hmm.                                4 available to and would have been reviewed by
    5      Q. And you would certainly agree          5 your company most likely in 2014 when it was
    6 with me that if you could prevent the          6 available to be seen, correct?
    7 creation of nitrosamines by substituting       7     A. I don't know.
    8 something for sodium nitrite, that's good for  8          MR. GALLAGHER: Objection.
    9 safety, correct?                               9     Calls for speculation.
   10      A. This is something unknown, and        10          MR. SLATER: All right. Let's
   11 it's speculative. Because if you use other    11     go to the next document. We can take
   12 quenching, you know, reagent, you might       12     this down. Cheryll, let's go to
   13 create something new, some -- you know, some 13      ZHP02336567.
   14 new problems, okay.                           14          (Whereupon, Exhibit Number
   15      Q. That's why you test it and            15     ZHP-299 were marked for
   16 study it before you sell it on the market for 16     identification.)
   17 patients to take it, right?                   17 BY MR. SLATER:
   18          MR. GALLAGHER: Objection.            18     Q. Do you see that on the screen?
   19      Vague.                                   19     A. Mm-hmm.
   20      A. Yes. You will do the -- yeah,         20     Q. Okay. You see the title is
   21 you will do the risk analysis. But based      21 "Valsartan Patent Investigation Report"? Is
   22 upon the claim, you know, you know, in this   22 that a fair reading of that?
   23 patent, you know, particularly with regard to 23     A. Yeah, it's accurate.
   24 impurity K, you know, they claim is highly    24     Q. And if you turn now to the next
                                            Page 115                                             Page 117
    1 toxic, but actually it is not based upon, you    1  page -- and we didn't bring up the whole
    2 know, the knowledge that we know today.          2  document for time's sake, but let's go to the
    3 BY MR. SLATER:                                    3 second page of this document, which is page
    4      Q. Well, you're not saying NDMA              4 ZHP02336682.
    5 and NDEA aren't toxic, because they're            5          You can see in the middle of
    6 accepted to be highly toxic and unacceptable      6 the page the patent number of CN 103613558,
    7 to be included in the API.                        7 which is the patent number that was on the
    8      A. Well, I am -- the focus of this           8 patent we just looked at.
    9 patent is, you know, is impurity K, okay. So      9          Do you see that?
   10 anything, you know, you know, beyond that,       10     A. Mm-hmm.
   11 you know, is their speculation, right?           11          MR. GALLAGHER: I'm going to
   12          And also, you know, they claim          12     object to the extent this document --
   13 vitamin -- I'm sorry -- the impurity K, you      13     it appears you're representing that
   14 know, is highly toxic, you know, based upon,     14     this document is incomplete, so I'm
   15 you know, whatever, you know, available from     15     just going to object to that extent.
   16 either European regulatory, you know, you        16          But you can proceed with your
   17 know, agency, I think this statement is not      17     questions.
   18 correct.                                         18          MR. SLATER: What I'm
   19      Q. We've confirmed as through the           19     representing is that we have the front
   20 e-mail we went through from Mr. Lin earlier      20     for you, and we have this page,
   21 that your company had this patent in its         21     because that's what we wanted to talk
   22 files, correct?                                  22     about. But we certainly can provide
   23      A. You know, right. It looks like           23     you the entire document if you want at
   24 at least Mr. Lin has it. I don't know --         24     the break, if you want to go through


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    1                                                   1
           it. We were just wanting to focus on       looks like, you know, based upon the material
    2                                               2
           this for time purposes.                    that you just showed, you know, it just
    3
                MR. GALLAGHER: I'm just making 3 didn't specifically mention, you know,
    4                                               4
           clear for the record, you know, if         anything else. You know, it just vaguely
    5                                               5
           your questions -- you're happy with an     say, you know, for all other or other
    6                                               6
           incomplete document.                       impurities, but it just -- there is no
    7                                               7
                MR. SLATER: Are you objecting         specification, you know, specifics.
    8                                               8
           to my use of the document in this          BY MR. SLATER:
    9                                               9
           form?                                          Q. I'm just honestly trying to
   10
                MR. GALLAGHER: I'm just noting 10 just establish the time period when it was
   11                                              11
           an objection that the document is          reviewed.
   12                                              12
           incomplete. I don't know what is in            A. Yeah, that's fine. Yeah, yeah,
   13                                              13
           the rest of the document. If for your      that's fine, yeah.
   14                                              14
           questions you feel like the cover page         Q. Okay. So you could agree based
   15                                              15
           and this page is insufficient --           on what I've told you this was reviewed
   16                                              16
      BY MR. SLATER:                                  likely in 2014 by someone in your company,
   17                                              17
           Q. Okay. So looking now at the             correct?
   18                                              18
      section we're talking about now, it says the              MR. GALLAGHER: Objection.
   19                                              19
      title of the invention was "A Method for            Foundation, and calls for speculation.
   20                                              20
      Preparing Valsartan," correct?                      A. It looks like it.
   21                                              21
           A. Yes.                                              MR. SLATER: I think we have --
   22                                              22
           Q. The applicant was Zhejiang                  Cheryll, do you have the second
   23
      Second Pharma Company, Limited, correct? 23         document also where this is referred
   24                                              24
           A. Yes.                                        to, the second ZHP document?
                                             Page 119                                          Page 121
    1      Q. And if you go down to the                 1
                                                                    We don't have to go to that,
    2 bottom so that we can cut to the chase, it        2
                                                               actually. We're going to go to the
    3 says, "Patent infringement analysis. The           3
                                                               next document. Oh, you have it. Oh,
    4 Huahai process does not add sodium                 4
                                                               you know what? You put it up. You're
    5 hypochlorite, so it does not constitute an         5
                                                               so quick, I can't waste that effort.
    6 infringement."                                     6
                                                                    (Whereupon, Exhibit Number
    7          Do you see that?                          7
                                                               ZHP-300 was marked for
    8      A. Mm-hmm.                                    8
                                                               identification.)
    9      Q. And I can tell you from the                9
                                                           BY MR. SLATER:
   10 metadata this document was last modified          10
                                                               Q. On the screen is ZHP02336432,
   11 November 4, 2014, according to the document.      11
                                                           which is a summary of patents for a patent
   12          If that's what the metadata              12
                                                           search. And I can tell you based on the
   13 shows, you would expect that your company had     13
                                                           metadata this was modified May 23, 2014.
   14 access to and reviewed that patent in 2014,       14
                                                                    That's what the metadata shows,
   15 correct?                                          15
                                                           okay?
   16          MR. GALLAGHER: Objection.                16
                                                               A. Okay.
   17      Foundation, and compound.                    17
                                                               Q. And if we go to the second page
   18      A. It looks like this -- you know,           18
                                                           of this document, the bottom of the page,
   19 you know, we have a patent group, okay, and       19
                                                           number 4, you can see that this is a
   20 it looks like this is a report generated, you     20
                                                           discussion of the same patent you see that
   21 know, by that patent, you know, group, okay.      21
                                                           we've been talking about.
   22          And again, you know, this                22
                                                                    Do you see that? Same number,
   23 particular patent, the focus is related to        23
                                                           CN 103613558. Do you see that?
   24 impurity K. Okay. It didn't even -- yeah,         24
                                                               A. Where? I'm sorry. Where


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    1                                                 1
      exactly the number?                                      MR. SLATER: We can take a
    2                                                2
          Q. Right in the middle of the                   break now, yes.
    3                                                3
      page. I mean right in the middle of the                  Go off the record then.
    4                                                4
      "From" section.                                          THE VIDEOGRAPHER: The time
    5                                                5
          A. Oh, yeah, yeah, yeah. Okay,                  right now is 9:24 a.m., and we're off
    6                                                6
      yeah. I saw that, mm-hmm.                           the record.
    7                                                7
          Q. And this document, which was                      (Whereupon, a recess was
    8                                                8
      compiled in 2014 within ZHP, at the very end        taken.)
    9                                                9
      of that description says, "The method                    (Whereupon, Exhibit Number
   10
      inhibits the generation of valsartan impurity 10    ZHP-301 was marked for
   11                                               11
      K and other impurities hard to treat, so as         identification.)
   12                                               12
      to yield high-purity valsartan."                         THE VIDEOGRAPHER: The time
   13                                               13
               Do you see that?                           right now is 9:43 a.m. We're back on
   14                                               14
               MR. GALLAGHER: Objection.                  the record.
   15                                               15
          Foundation, and calls for speculation.       BY MR. SLATER:
   16                                               16
          A. I'm sorry, where the language?               Q. On the screen we have
   17                                               17
      BY MR. SLATER:                                   Exhibit 301, an e-mail from December 22,
   18                                               18
          Q. The last sentence.                        2018.
   19                                               19
          A. Last sentence, "and other                         Do you see that?
   20                                               20
      impurities hard to treat so as to" -- okay,         A. Yes, mm-hmm.
   21                                               21
      yeah.                                                    MR. GALLAGHER: Adam, is there
   22                                               22
          Q. So at the very least, ZHP was                an English language version of this
   23                                               23
      aware, at least as of 2014, that there were         document?
   24                                               24
      other companies out there trying to eliminate            MR. SLATER: That's a good
                                           Page 123                                        Page 125
    1                                                 1
      the quality problem created by having             question. I don't know.
    2                                              2
      nitrosamines yielded through sodium nitrite            Let's go off for a second. If
    3                                              3
      quenching.                                        there isn't, we'll create one right
    4                                              4
               Your company would have been             now.
    5                                              5
      aware that others were doing that, correct?            THE VIDEOGRAPHER: Off the
    6                                              6
               MR. GALLAGHER: Objection.                record?
    7                                              7
          Foundation, and mischaracterizes the               MR. SLATER: Yes.
    8                                              8
          document and the testimony.                        THE VIDEOGRAPHER: The time
    9                                              9
          A. It looks like somebody in the              right now is 9:44 a.m. We're off the
   10                                             10
      company, yeah, aware of this patent. But          record.
   11                                             11
      again, you know, this patent, as I said, is            (Off the record discussion.)
   12                                             12
      focused on impurity K.                                 (Whereupon, Exhibit Number
   13                                             13
               MR. SLATER: All right. The               ZHP-302 was marked for
   14
          next document I have is probably going 14     identification.)
   15                                             15
          to take a little while, and I think                THE VIDEOGRAPHER: The time
   16                                             16
          I've been going about an hour. I'm            right now is 9:44 a.m. We're back on
   17                                             17
          happy to keep going. I'm going to             the record.
   18                                             18
          need 15, 20 minutes at least for the       BY MR. SLATER:
   19                                             19
          next document. So you tell me,                Q. Looking now at this e-mail --
   20                                             20
          Patrick.                                   rephrase.
   21                                             21
               MR. GALLAGHER: Dr. Li, it's                   Looking at Exhibit 301, it's an
   22                                             22
          really up to you. Do you want to take      e-mail that was sent to you and a few other
   23                                             23
          a break now, or do you want to go for      people on December 22, 2018, is that correct?
   24                                             24
          another 15 minutes?                           A. Yes.


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    1                                                   1
          Q. Who was the e-mail written by?                structural confirmations, and seven
    2                                                   2
          A. Also from Mr. Lin.                            genotoxicity assessments. I hope to
    3                                                    3
          Q. The same person who wrote that                communicate with you and find a way to
    4                                                    4
      e-mail of July 27, 2017 that we went through         shorten the report review cycle, thank you."
    5                                                    5
      earlier?                                                      Did I read that in a fairly
    6                                                    6
          A. Mm-hmm.                                       accurate way?
    7                                                    7
          Q. And he writes to yourself, and                    A. Yes.
    8                                                    8
      who else is copied? Who else was this                    Q. And it was signed by Jinsheng
    9                                                    9
      written to?                                          Lin at CEMAT, December 22, 2018, correct?
   10                                                   10
          A. Mr., you know, Zhu and Chen,                      A. Yes.
   11                                                   11
      Chen Wenbin, yeah.                                            MR. SLATER: Let's now go to
   12                                                   12
          Q. Who are those people? Let's                       the attachment, which is the summary
   13                                                   13
      take them one at a time, if you could,                   of the CEMAT projects with a long
   14                                                   14
      please.                                                  report review cycle.
   15                                                   15
          A. These two, Mr. Zhu and also                            THE WITNESS: Okay.
   16                                                   16
      Mr. Chen, Mr. Zhu is actually my direct                       MR. SLATER: And that will be
   17                                                   17
      report.                                                  Exhibit 302.
   18                                                   18
          Q. He reports to you?                                     THE STENOGRAPHER: I think it's
   19                                                   19
          A. Yes.                                              303. 302 was the English version.
   20                                                   20
          Q. What's his title?                                 303.
   21                                                   21
          A. He is -- the title is the                              MR. SLATER: Thank you.
   22                                                   22
      director for CEMAT, yeah. Analytical --                       (Whereupon, Exhibit Number
   23                                                   23
      yeah.                                                    ZHP-303 was marked for
   24                                                   24
          Q. I'm sorry. You said                               identification.)
                                             Page 127                                           Page 129
    1 "analytical" --                                   1
                                                               A. Could you enlarge? It's really
    2     A. It should be director of                   2
                                                           difficult to see from my end.
    3 analytical chemistry or something like that,       3
                                                           BY MR. SLATER:
    4 or just, you know, director of analysis,           4
                                                               Q. We're going to when we scroll
    5 yeah. In Chinese we call (speaking Chinese).       5
                                                           up to it.
    6     Q. And the other person, Mr. Chen,             6
                                                                     MR. SLATER: But I also --
    7 who is that?                                       7
                                                               Patrick, if you'd like, I think we
    8     A. He is under Mr. Zhu. He is the              8
                                                               have an English version of this
    9 associate -- yeah, should be the associate         9
                                                               machine translated, is that correct?
   10 director, yeah.                                   10
                                                                     MR. GALLAGHER: That would be
   11     Q. And tell me if I understand                11
                                                               awesome if you do.
   12 what this e-mail is saying. It has -- first       12
                                                                     MR. SLATER: So we'll load that
   13 of all, it has an attachment, which we're         13
                                                               up before I ask any questions.
   14 going to get to in a moment.                      14
                                                                     Let me know, Cheryll, when it's
   15           It is a summary of CEMAT                15
                                                               been loaded.
   16 projects with a long report review cycle.         16
                                                                     MR. GALLAGHER: There it is.
   17           Do I understand that?                   17
                                                               You're good to go.
   18     A. Right. Right.                              18
                                                                     (Whereupon, Exhibit Number
   19     Q. The e-mail reads -- rephrase.              19
                                                               ZHP-304 was marked for
   20           The e-mail reads, "Mr. Li:              20
                                                               identification.)
   21 Attached please find the summary of 27 recent     21
                                                                     MR. SLATER: So looking now at
   22 projects with a report review cycle of more       22
                                                               this spreadsheet, let's go, if we
   23 than two months, including 16 impurity            23
                                                               could, to Tab 1.3, Row 53. Perfect.
   24 studies, one solid-state analysis, three          24
                                                               Scroll down a millimeter. Do we have


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    1                                                 1            Do you see that?
          the top of 53?
    2                                                 2       A. I'm sorry, where?
               Sorry, I shouldn't have made
    3                                                  3      Q. Where we just read. It says,
          you do it.
    4                                                  4 "The project was authorized by the technology
          A. Go the other way. Could you
    5                                                  5 department of Chuannan in Plant 1."
      make it bigger?
    6                                                  6      A. Which line?
      BY MR. SLATER:
    7                                                  7      Q. Right after I just read about
          Q. We'll make it bigger and work
    8                                                  8 "no longer updated in May" in red.
      our way down?
    9                                                  9      A. Wait a second. Oh, the red,
          A. Could you make it even bigger?
   10                                                 10 okay. Yeah. Yeah, they actually, yeah, ask
               MS. CALDERON: Give me one
   11                                                 11 CEMAT to do the investigation, yes.
          second. I'm working on it.
   12                                                 12      Q. So how does that work? You
               THE WITNESS: Okay.
   13                                                 13 have Chuannan and Xunqiao, if I'm pronouncing
               MR. SLATER: Just make it
   14                                                 14 those right, if they have something like an
          bigger and then we'll scroll through
   15                                                 15 impurity investigation they need to do, they
          it as we go, so you don't have to try
   16                                                 16 ask CEMAT to do that work for them?
          to fit the whole thing on one page.
   17                                                 17      A. Well, sometimes they will do by
          Make it nice and big. There we go.
   18                                                 18 themself along with, you know, Chuannan QC.
               MS. CALDERON: Sorry.
   19                                                 19 But if they cannot resolve, yeah, they
               MR. SLATER: Don't worry about
   20                                                 20 usually send it to us.
          it. No one else can do it.
   21                                                 21      Q. And then I'm going to read a
               MS. CALDERON: Obviously I
   22                                                 22 little further. It says, "Due to the
          can't either.
   23                                                 23 incomplete quenching of sodium azide caused
               MR. SLATER: Keep going. You
   24                                                 24 by the separate treatment of irbesartan
          got it. You're going slowly down.
                                           Page 131                                             Page 133
    1                                                 1
           Now you're at 172 again.                    sodium azide wastewater, there is a frequent
    2                                                2
               MS. CALDERON: That's it.                occurrence of muffled explosion in the
    3                                                3
               MR. SLATER: Thank you.                  production process, so the technology
    4                                                4
      BY MR. SLATER:                                   department carried out the technical
    5                                                5
           Q. Okay. Looking now in Box 53,             improvement by which the sodium azide
    6                                                6
      at the top it talks about Investigation on       quenching takes place in the unstratified
    7
      the RT 26-minute impurity in irbesartan crude 7 step in the crude irbesartan process."
    8                                                8
      product.                                                 Do I have that correct?
    9                                                9
               Do you see that?                                MR. GALLAGHER: I'm going to
   10                                               10
           A. Mm-hmm.                                      object to this as outside the scope.
   11                                               11
           Q. It says the responsible person                   But please answer to the extent
   12
      was Tianpei Huang, new project in July 2017, 12      you know and can.
   13
      completed in April and no longer updated in 13       A. Yeah.
   14                                               14
      May.                                             BY MR. SLATER:
   15                                               15
               Do you see that?                            Q. It then continues -- and, by
   16                                               16
           A. Mm-hmm.                                  the way, when it talks about the
   17                                               17
           Q. And again, who is Mr. Huang?             "unstratified step in the crude irbesartan
   18                                               18
           A. She is one of the analysts at            process," what does that refer to,
   19                                               19
      the time.                                        "unstratified," in that context?
   20                                               20
           Q. She was an analyst at CEMAT?                 A. Unstratified. I'm sorry, I
   21                                               21
           A. Yes. She was, actually.                  don't understand exactly what you mean by
   22                                               22
           Q. It says, "The project was                "unstratified."
   23
      authorized by the Technology Department of 23        Q. Well, I'll ask the question
   24                                               24
      Chuannan in Plant 1."                            differently then. Let me just continue.


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    1         It continues, "However, after           1
                                                         BY MR. SLATER:
    2 the improvement there is an unknown impurity    2
                                                             Q. And you said "correct," right,
    3 of about 0.5 percent at 26 minutes in the        3
                                                         Dr. Li?
    4 crude irbesartan, and the structure of this      4
                                                             A. I'm sorry, say that again?
    5 impurity needs to be investigated."              5
                                                             Q. What they're discussing in this
    6         Do you see that?                         6
                                                         Box 53 is a study, a research project that
    7         MR. GALLAGHER: Again, I'm                7
                                                         was being performed that followed from that
    8     going to object as outside the scope.        8
                                                         e-mail that Jinsheng Lin wrote that we talked
    9         But please answer to the extent          9
                                                         about a few minutes earlier, correct?
   10     you know and can.                           10
                                                             A. It looks like.
   11     A. So could you point out exactly,          11
                                                             Q. Then there's process updates
   12 like, which line? I'm sorry. Because, you       12
                                                         going forward. And it shows, for example, in
   13 know, the English and the Chinese, you know,    13
                                                         July, in part it says that "Based on the
   14 version --                                      14
                                                         process of generation, the impurity should be
   15 BY MR. SLATER:                                  15
                                                         a nitroso compound in irbesartan. The
   16     Q. Can I point out exactly what             16
                                                         degradation experiment is currently being
   17 line? I'm not going to be able to point out     17
                                                         carried out, and subsequently the sample will
   18 exactly what line. How about this is all        18
                                                         be prepared."
   19 above the "July Process Update."                19
                                                                  That's correct in part, right?
   20         Do you see that?                        20
                                                             A. Mm-hmm.
   21     A. Let me -- how about let me --            21
                                                             Q. And when they refer to "a
   22 you know, let me take a little bit of time      22
                                                         nitroso compound," we're talking about a
   23 and read this through, okay?                    23
                                                         nitrosamine, correct?
   24     Q. Sure. Let's go off the timer,            24
                                                             A. This nitrosamine is the nitroso
                                           Page 135                                            Page 137
    1                                                 1
      and you can take a look, and then we'll walk    compound on the irbesartan, okay. It's very
    2                                               2
      through it a little more generally. That's a    specific.
    3                                               3
      good idea?                                          Q. Then there's an August process
    4                                               4
          A. Okay.                                    update in August 2017 that said, "The forced
    5                                               5
               MR. SLATER: Stay on the                degradation experiment proved that the
    6                                               6
          record, off the clock. No problem.          impurity was a result of the reaction of
    7                                               7
               (Witness reviewing document.)          irbesartan with sodium nitrite and
    8                                               8
               THE WITNESS: Okay. I                   hydrochloric acid. At present, the impurity
    9                                               9
          basically read through. We can go           has been prepared by thin layer
   10                                              10
          ahead.                                      chromatography."
   11                                              11
      BY MR. SLATER:                                            Do I have that correct?
   12                                              12
          Q. I'll start over.                             A. Yes.
   13                                              13
               In this Box 53, you can see                Q. Then in September there's a
   14
      there's a discussion of the investigation of 14 process update that says, "The impurity
   15
      the impurity in the irbesartan crude product 15 standard production has been separated and
   16                                              16
      that we were talking about per that prior       was sent to Dan Li for nuclear magnetic
   17                                              17
      e-mail that Jinsheng Lin wrote, correct?        resonance."
   18
               MR. GALLAGHER: I'm going to 18                   My first question is, who is
   19                                              19
          object to the questioning about this        Dan Li?
   20                                              20
          box as outside the scope so I don't             A. She is a person specializing in
   21                                              21
          have to keep repeating it.                  NMR structure characterization, or nuclear
   22                                              22
               MR. SLATER: That's fine.               magnetic resonance.
   23                                              23
          You've got that objection.                      Q. And what's the purpose of that
   24                                              24
               ///                                    test in this context? What would that be


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    1 trying to show?                                  1
                                                                   Do you have any idea where we
    2     A. Trying to elucidate, you know,            2
                                                          would look to find that report?
    3 the structure.                                    3
                                                              A. I don't -- I don't recall. You
    4     Q. The structure of the                       4
                                                          know, I don't even recall this particular
    5 nitrosamine?                                      5
                                                          discussion. I mean, you know, this so long,
    6     A. No, that particular, you know,             6
                                                          you know, you can see there's so many
    7 nitroso compound with irbesartan.                 7
                                                          projects, you know, ongoing. So I really
    8     Q. And then it points out that                8
                                                          don't, you know, remember the specifics.
    9 there was a malfunction of the equipment so       9
                                                              Q. And, again, this says that the
   10 the test couldn't start at that time.            10
                                                          reason why the research report was not to be
   11          Do I have that right?                   11
                                                          issued and not to be updated any further was
   12     A. Yes.                                      12
                                                          after discussing with you, you had pointed
   13     Q. And then if we go forward,                13
                                                          out that the project involves an impurity
   14 there are updates in October and November,       14
                                                          that is sensitive.
   15 and then in December it says the research        15
                                                                   That's what the document shows,
   16 report is being completed, correct?              16
                                                          correct?
   17     A. Yes.                                      17
                                                              A. It looks like so.
   18     Q. And then in January, now                  18
                                                              Q. And reading that doesn't
   19 January 2018, it says that the research          19
                                                          refresh your recollection of telling your
   20 report was completed pending review, correct?    20
                                                          team to -- not to do anything further with
   21     A. Correct.                                  21
                                                          the report and not to issue it? You don't
   22     Q. Then we go forward into March.            22
                                                          recall that?
   23 There's no update in March, right? Just          23
                                                              A. As I said, I don't remember,
   24 says, "No update"?                               24
                                                          you know, the specifics. Maybe the reason
                                            Page 139                                            Page 141
    1                                                  1
                                                       is, you know, you know, I can -- maybe the
           A. Right.
    2                                                2 reason is basically this is not, you know,
           Q. And then in April it says,
    3
      "After discussing with Mr. Li, as the project 3 relevant to a real process, right? Because
    4
      involves an impurity that is sensitive so no 4 this is a trial and, you know, they -- you
    5
      research report will be issued and no further 5 know, during the trial they change the way of
    6                                                6 the -- you know, of the quenching, right?
      updates will be made." Correct?
    7                                                7          So, yeah, so basically, you
           A. It looks like so.
    8                                                8 know, you know, this compound would not be
           Q. So you instructed that this
    9
      research project not go forward any further 9 present in a normal registered, you know, the
   10
      and no report to be issued, as documented 10 process.
   11                                               11          So maybe I want to just, you
      here, correct?
   12                                               12 know, ask them to -- because issuing this
               MR. GALLAGHER: Objection.
   13                                               13 could be -- could have caused some confusion.
           Foundation, and assumes facts.
   14                                               14 You know, people may confuse the presence of
      BY MR. SLATER:
   15                                               15 this particular impurity with the registered,
           Q. That is what it says, correct?
   16                                               16 you know, process.
           A. Based upon what it says, yeah,
   17                                               17      Q. You testified a few moments ago
      it looks like so.
   18                                               18 you don't recall this at all. So everything
           Q. Do you know where that report
   19                                               19 you're telling me about what might have
      is?
   20                                               20 happened --
           A. I don't recall.
   21                                               21      A. This is what I'm trying to --
           Q. Where would we look to find
   22                                               22 you know, it's a -- you know, what I'm trying
      that report? Because I can represent we've
   23
      been looking for it and have been unable to 23 to, you know, you know, reconfigure, you
   24                                               24 know, a possible scenario. You know, this is
      find it.


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    1 not, you know, you know, what really may         1
                                                          to now, you know, for those, you know, like
    2 happen. You know what I'm saying? It's           2
                                                          large molecule and nitroso compound,
    3 just, you know, give some, you know,              3
                                                          particularly with substituents surrounding
    4 speculation, you know what I'm saying?            4
                                                          the, you know, nitroso compound, if they are
    5          But, yeah, definitely I don't            5
                                                          big, typically you tend to have this kind of
    6 remember exactly, you know, what I had said       6
                                                          a, you know, nitroso compound to be Ames
    7 during that particular time. Okay?                7
                                                          negative.
    8      Q. Well, this document certainly             8
                                                              Q. At this time, as documented --
    9 sets forth that you were concerned at the         9
                                                          well, rephrase. I want to just go over a
   10 time that the impurity was a sensitive           10
                                                          couple of basic facts that we have here,
   11 impurity, and that would be talking about a      11
                                                          okay?
   12 nitrosamine impurity; that you were concerned    12
                                                              A. Mm-hmm.
   13 about that, right?                               13
                                                              Q. One of the things we know is
   14      A. Well, as I said, you know, you           14
                                                          that this demonstrates, as did the e-mail we
   15 know, the possible reason, right? As I said,     15
                                                          went through before, that ZHP was aware that
   16 it's a possible reason.                          16
                                                          the sodium nitrite quenching was creating
   17          You know, maybe I wanted to             17
                                                          nitrosamine impurities. That you knew.
   18 avoid, you know, the confusion of an             18
                                                              A. We knew based upon this
   19 impurity, you know, from this trial, you         19
                                                          document --
   20 know, process, with an impurity from the real    20
                                                                   MR. GALLAGHER: Objection.
   21 ones. Okay.                                      21
                                                              Misstates the testimony.
   22          But again, look at this                 22
                                                                   Go ahead. Go ahead.
   23 particular, you know, impurity, you know,        23
                                                              A. I'm sorry.
   24 this particular impurity itself, you know, if    24
                                                                   Based upon document, yeah, we
                                            Page 143                                            Page 145
    1 you look at a structure, it's not a typical      1  knew specifically the nitroso compound of
    2 N-nitroso compound, okay?                        2  irbesartan, okay. And also, irbesartan is
    3          And based upon everything that           3 the main ingredient of that particular
    4 we have know, you know, for now, you know,        4 reaction.
    5 you know, if we were to do an Ames test on        5     Q. And you also knew per the
    6 this particular, you know, nitroso compound       6 e-mail we went through that NDMA occurs in
    7 of irbesartan, I would say, you know, you         7 valsartan when it was quenched with sodium
    8 know, you know, a reasonable projection           8 nitrite. That was known as of July 2017.
    9 was -- you know, would be the Ames would very     9 That's why that was stated by Jen Sheng Lin,
   10 be likely be negative, okay, you know, based     10 correct?
   11 upon everything, you know, that we know by       11          MR. GALLAGHER: Objection.
   12 now, you know, based upon what they call a       12     Mischaracterizes.
   13 QSAR, quantitative structure-activity            13     A. As I told you, you know, you
   14 analysis.                                        14 know, for that e-mail, you know, I do not
   15          You know, I mean, it's the same         15 recall. Now looking back, you know, you
   16 thing like impurity K, right? Because, you       16 know, basically, as I said, anything about,
   17 know, see, the reason is why those compounds     17 you know, you know, valsartan is huge
   18 may be Ames negative is because you have         18 speculation because, you know, you know, the
   19 to -- you know, when you look at the activity    19 data that's shown here is specifically
   20 of a compound, you know, one of the things       20 regarding to irbesartan.
   21 you also have to look at is the serial           21 BY MR. SLATER:
   22 chemistry, right?                                22     Q. Well, why don't we do this.
   23          So based upon the knowledge             23 Let's just -- in fairness, let's go back to
   24 that we have, you know, gained, you know, up     24 the e-mail to get ourselves oriented here.




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    1                                                 1
          A. Okay.                                              MR. GALLAGHER: I guess I want
    2                                                2
          Q. And that was Exhibit -- gosh, I              to clarify. Are you looking at the
    3                                                3
      lost track of which exhibit it was. Cheryll         English language translation, or are
    4                                                4
      knows. She's going to find it.                      you looking at the actual Chinese
    5
                MS. CALDERON: Do you want me 5            language document?
    6                                                6
          to put it up?                                         MR. SLATER: Well, I don't know
    7                                                7
                MR. SLATER: I would, please.              why that matters, honestly. You have
    8                                                8
                And if we can clarify for the             them.
    9                                                9
          record what exhibit number that was,                  MR. GALLAGHER: I don't see any
   10                                               10
          I'll write it on here so I won't                semicolons in the Chinese language
   11                                               11
          forget again.                                   document.
   12                                               12
                MS. CALDERON: Hang on one                       THE WITNESS: Yeah, in the
   13                                               13
          second. It's 295.                               Chinese language, it's just a regular
   14
                MR. SLATER: Great. Thank you. 14          comma. Yeah, it's a comma.
   15                                               15
          And let's go to the top of the second                 MR. SLATER: Okay. There's a
   16                                               16
          page again. Just -- okay.                       semicolon objection. I'm going to fix
   17                                               17
          Q. Looking now at the top of the                it. I'll start a new question.
   18                                               18
      second page of Exhibit 295, which was an         BY MR. SLATER:
   19
      e-mail dated July 27, 2017, from Jinsheng Lin 19    Q. After pointing out what we just
   20
      in your CEMAT facility, he pointed out that 20 established had to do with irbesartan,
   21                                               21
      what was being seen with the irbesartan is       Mr. Lin then says, "It is similar to the NDMA
   22
      similar to the NDMA that occurs in valsartan 22 that occurs in valsartan when quenched with
   23                                               23
      when quenched with sodium nitrite.               sodium nitrite."
   24                                               24
                That's part of what Jinsheng                    That's what he says in this
                                           Page 147                                          Page 149
    1 Lin said in that e-mail, correct?               1document July 27, 2017, correct?
    2      A. Well, in his -- see, in the            2     A. Yes.
    3 beginning of the sentence, he said, you know,  3     Q. Do you know how long your
    4 it's likely, you know, or most likely, right?  4 company knew that NDMA occurs in valsartan
    5 So -- yeah, so that's a speculation.           5 when quenched with sodium nitrite, how long
    6 BY MR. SLATER:                                 6 before July of 2017 people in your company
    7      Q. Well, actually, let's walk             7 knew that?
    8 through it then.                               8     A. I don't know. Looks like only
    9           What he said was, "Through the       9 he knows at the time.
   10 secondary mass spectrometry analysis, it can  10     Q. He was the one who did the
   11 be inferred that the extra NO substituent is  11 patent review, right, that we went through
   12 in the cyclic compound fragment, and it is    12 before, going back to 2014 on this, right?
   13 very likely that it is an N-NO compound."     13     A. Mm-hmm.
   14           That's talking about what's         14     Q. So at least this person who you
   15 being seen in the irbesartan, correct?        15 told us was a, and remains an important
   16      A. Yes.                                  16 person in your organization was looking at
   17      Q. Then after the semicolon he           17 this issue going back to 2014. We've
   18 states, "It is similar to the NDMA that       18 established that with the document, correct?
   19 occurs in valsartan when quenched with sodium 19          MR. GALLAGHER: Objection.
   20 nitrite," correct?                            20     Mischaracterizes the testimony.
   21           MR. GALLAGHER: Objection.           21          But please answer.
   22      Mischaracterizes.                        22     A. Yes.
   23 BY MR. SLATER:                                23 BY MR. SLATER:
   24      Q. That's what it says, right?           24     Q. And we also know that he was


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    1 concerned -- rephrase.                          1know, I don't recall, you know, specifically
    2           And we also know that he was         2 looking through this e-mail.
    3 concerned --                                   3     Q. And, in fact, the right thing
    4           MR. SLATER: If we scroll down        4 to do at this point when you're -- rephrase.
    5     to the second-to-last paragraph on         5          The right thing to do -- as
    6     this page.                                 6 soon as your company knew that nitrosamines
    7     Q. -- that with regard to the              7 were being yielded by the sodium nitrite
    8 irbesartan, if it was in a nitrosamine         8 quenching, the right thing to do would have
    9 compound, "then its toxicity will be very      9 been to stop production and optimize the
   10 strong, and there will be an extremely high   10 process at that time and reveal to world
   11 GMP risk."                                    11 regulatory authorities this problem, right?
   12           That's what he says, right?         12          That would have been the right
   13           MR. GALLAGHER: Objection.           13 thing to do when your company discovered this
   14     Outside the scope.                        14 internally, right?
   15     A. Again, as I said, you know,            15          MR. GALLAGHER: Objection.
   16 he's making speculation outside of his        16     Vague, outside the scope, and calls
   17 expertise.                                    17     for speculation.
   18 BY MR. SLATER:                                18     A. You know, I don't know, or I
   19     Q. Well, what he's doing is               19 didn't know at the time how far, you know,
   20 analyzing what we know from earlier testimony 20 you know, this went through, right.
   21 you gave was the root cause for the NDMA      21          He sent to those people. I
   22 formation which was caused by the sodium      22 didn't know, and I do not know, you know, how
   23 nitrite, correct?                             23 those people -- their response. They may
   24     A. Part of the -- yes.                    24 ignore or they may think this -- you know,

                                           Page 151                                          Page 153
    1                                                 1
          Q. So he was correct that the                maybe he's -- Mr. Lin's speculation.
    2                                                2
      sodium nitrite quenching creating                         So, basically, it looks like it
    3                                                3
      nitrosamines was a serious GMP problem.          didn't, you know, go far.
    4                                                4
               He was correct about that,              BY MR. SLATER:
    5                                                5
      right?                                               Q. In retrospect, it's too bad it
    6                                                6
               MR. GALLAGHER: Objection.               didn't go far because the right thing to do
    7                                                7
          A. That's speculation.                       would have been to disclose this to the
    8                                                8
      BY MR. SLATER:                                   regulatory authorities and stop production,
    9                                                9
          Q. Well, if you want to call it              right?
   10                                               10
      speculation, that's fine. But it was                      MR. GALLAGHER: Objection.
   11                                               11
      confirmed, and that's the root cause analysis        Vague, outside the scope, calls for
   12                                               12
      that you've already testified to that your           speculation, and asked and answered.
   13                                               13
      company came to, right?                                   THE WITNESS: I mean, do I need
   14                                               14
          A. After, you know -- yeah, after                to answer?
   15                                               15
      the events, yes.                                          MR. GALLAGHER: Answer to the
   16                                               16
          Q. Well, that's what was disclosed               extent -- you know, to the extent you
   17
      after the events, but this e-mail shows that 17      can.
   18                                               18
      people in your company knew about this,                   THE WITNESS: Sure.
   19                                               19
      including yourself when you got this e-mail,              I mean basically, you know, for
   20                                               20
      in July of 2017, right?                              me  it's the same thing. I mean,
   21                                               21
          A. As I said, you know, you know,                retrospectively, you know, you know,
   22                                               22
      I am -- you know, I was under this, but I --         it might be, but at the time people
   23                                               23
      you know, as I said, I didn't have time to,          may thought, you know, he just, you
   24                                               24
      you know, go through everything and, you             know, making his speculations and --


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    1 BY MR. SLATER:                                   1           MR. GALLAGHER: Objection.
    2     Q. Well, looking at the last                 2       Outside the scope.
    3 sentence, he said -- rephrase.                    3          To the extent you know
    4          Looking at the last paragraph,           4      personally, you can answer.
    5 he said in part, after looking at the patent      5      A. I do not know what FDA's, you
    6 going back to 2013 and 2014 from one of your      6 know, you know, specific requirement at this
    7 competitors, that that indicated that other       7 time, okay? But in one of the communications
    8 companies had paid attention to the quality       8 I think came, you know, from FDA last year,
    9 problem very early on, and that quality           9 they asked us to do some further in vivo
   10 problem is sodium nitrite quenching creating     10 animal study on the impurity K, okay, which
   11 nitrosamines in your company's sartans,          11 we did.
   12 including valsartan, correct?                    12          We did a particular in vivo,
   13          That's what we've established,          13 you know, enrolled in animal studies
   14 correct?                                         14 according to the principle of, you know, ICH
   15     A. Well, again --                            15 M7, and we submitted this, you know, you
   16          MR. GALLAGHER: Objection.               16 know, proposal back to FDA.
   17     Mischaracterizes the testimony and the       17          I think our proposal was to --
   18     documents.                                   18 you know, essentially there is no need to
   19     A. Right. I mean, you know, once             19 control at such low level. It would be
   20 again, that N-nitroso compound, right,           20 controlled, you know, based upon our current,
   21 specified in the patent, you know, was, you      21 you know, process.
   22 know, impurity K, okay.                          22          I don't remember exactly, you
   23          So this impurity K, as I said,          23 know, what specific, you know, specification
   24 has been controlled as a regular impurity,       24 that we'd propose. It could be like several

                                            Page 155                                            Page 157
    1 okay? Its level is 1,000 ppm.                    1
                                                      hundredths of ppm.
    2 BY MR. SLATER:                                2 BY MR. SLATER:
    3     Q. Is that what you believe the           3     Q. Let's be clear. You're talking
    4 FDA permitted your company -- rephrase.       4 about impurity K, right?
    5         Is that your understanding of         5     A. Right.
    6 the FDA's position on that impurity?          6     Q. You're not talking about NDMA
    7         MR. GALLAGHER: Objection.             7 or NDEA, right?
    8     Outside the scope.                        8     A. No.
    9         THE WITNESS: I'm sorry. Go            9     Q. Because those would never be
   10     ahead.                                   10 acceptable at regular levels, right?
   11         MR. GALLAGHER: Objection.            11     A. Retrospectively we know, yes.
   12     Outside the scope.                       12     Q. And you knew that the FDA
   13         To the extent you know, please       13 guidances and the European guidances all said
   14     answer.                                  14 that nitrosamine compounds needed to be
   15     A. Okay. I mean, FDA is well             15 excepted from the threshold approach because
   16 aware of the impurity K is Ames negative,    16 they're considered so dangerous, they
   17 okay.                                        17 couldn't even be allowed to be included based
   18 BY MR. SLATER:                               18 on the standard threshold approach.
   19     Q. I'm just asking, do you know          19          Were you aware of that?
   20 what the FDA's position was on the impurity  20          MR. GALLAGHER: Objection.
   21 K? Do you know whether they thought it could 21     Outside the scope, and lack of
   22 be handled as a regular impurity or whether  22     foundation.
   23 they said it had to be limited to 0.3 ppm?   23     A. Retrospectively, based upon M7,
   24         Do you know?                         24 yeah. That's in general. But as I said, you




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    1 know, the European, you know, authority, they    1
                                                          from my sight.
    2 specifically had a discussion on impurity K,     2
                                                          BY MR. SLATER:
    3 you know, in which obviously that's after,        3
                                                              Q. And slipped through Linda Lin's
    4 you know, these events came out.                  4
                                                          sight and Peng Dong? All of those, none of
    5          And they specifically, you               5
                                                          them did anything?
    6 know, you know, at the time at least they         6
                                                              A. That, I don't know. I -- you
    7 allow the original -- it looks like the           7
                                                          know, I have no knowledge, you know.
    8 original Novartis specification at 1,000 ppm.     8
                                                              Q. Do you know why it is that this
    9 BY MR. SLATER:                                    9
                                                          e-mail, which was sent to Ms. Ge and to Peng
   10     Q. Let's come back now to this               10
                                                          Dong and Linda Lin, that it didn't show up in
   11 e-mail where I was reading with you, where       11
                                                          any of their custodial files, and none of
   12 Jinsheng Lin said, "This indicates that other    12
                                                          them are listed as duplicate custodians on
   13 companies have paid attention to the quality     13
                                                          this document?
   14 problem very early on."                          14
                                                                   Do you know why that happened?
   15          Just to be clear, the quality           15
                                                                   MR. GALLAGHER: Objection.
   16 problem was sodium nitrite quenching creating    16
                                                              A. I don't know.
   17 nitrosamines, correct?                           17
                                                                   MR. GALLAGHER: Outside the
   18     A. Again, as I said, he's making             18
                                                              scope.
   19 speculations, and that pattern is                19
                                                          BY MR. SLATER:
   20 specifically talking about impurity K.           20
                                                              Q. You don't know?
   21     Q. Well, he also talked above                21
                                                                   Do you know why the report
   22 about NDMA forming in valsartan when it's        22
                                                          that's referenced in the spreadsheet that we
   23 quenched with sodium nitrite. He also            23
                                                          went through that documents in April of 2018
   24 pointed out that your company knew that as       24
                                                          you said, "The report will not be issued and
                                            Page 159                                            Page 161
    1                                                  1
                                                       it shouldn't be updated any further due to
        well.
    2                                                  2
                                                       the sensitivity of this impurity," do you
               He talked about that, right?
    3                                                3 know why that report has never been produced
          A. He talked about only he knew.
    4
      I don't know anybody else at that time, you 4 to us?
    5                                                5           MR. GALLAGHER: Objection.
      know, before his e-mail.
    6                                                6      Outside the scope.
          Q. When -- well, rephrase.
    7                                                7      A. I have no idea.
               When you and Peng Dong and
    8                                                8 BY MR. SLATER:
      Linda Lin and the others in that e-mail got
    9                                                9      Q. One way to try to get that
      this e-mail, if that was the first time that
   10                                               10 would be to search the custodial files of
      you saw that, shouldn't that have been an
   11
      alarm bell going off in your head and say, 11 Dan Li and Tianpei Huang. They might have it
   12                                               12 in their custodial files, correct?
      "My gosh, there's NDMA forming in our
   13                                               13           MR. GALLAGHER: I'm going to
      valsartan; this is a major problem"?
   14                                               14      object to these questions as
               That would have been the
   15                                               15      argumentative, they're so far outside
      appropriate response, right?
   16                                               16      the scope.
               MR. GALLAGHER: Objection.
   17                                               17           Why you would ask Mr. Li about
          Vague.
   18                                               18      searching documents of other people
          A. I mean, retrospectively, you
   19                                               19      makes absolutely no sense.
      know, you know, if I went through or if
   20                                               20           So, you know, Dr. Li, you can
      Mr. Lin specifically came to me, you know,
   21                                               21      answer to the extent you have any
      that might be, you know, the starting of the,
   22                                               22      knowledge of this.
      you know, of the action time.
   23                                               23           But, Adam, I think you need to
               But as again, you know, it
   24                                               24      move  on.
      looks like this e-mail just slipped through


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    1          MR. SLATER: Well, these people           1      documents.
    2     work for him, and he knows where they         2  BY MR. SLATER:
    3     keep their documents and how they keep         3     Q. I'll ask it -- there's an
    4     their files.                                   4 objection. Let me ask a different question,
    5          MR. GALLAGHER: Those aren't               5 because there's an objection. So I'm going
    6     the questions you're asking.                   6 to strive for a better question.
    7     A. They are the first-line                     7          The -- rephrase.
    8 analysts, okay, and they usually -- you know,      8          Knowing that sodium nitrite
    9 they don't talk to me, you know, very often,       9 quenching in the manufacture of valsartan was
   10 you know, at my level.                            10 an important part of causing nitrosamines to
   11 BY MR. SLATER:                                    11 be formed, that was important information,
   12     Q. If that report was destroyed,              12 right?
   13 would that be acceptable in terms of how your     13          MR. GALLAGHER: Objection.
   14 department operates?                              14     Vague.
   15     A. I don't know whether it's been             15          You can answer.
   16 destroyed or not.                                 16     A. You know, again, that patent
   17     Q. If it was destroyed, would that            17 specifically talking about impurity K, okay.
   18 be acceptable?                                    18 Anything else, there is no specifics.
   19     A. That's a hypothetical question.            19 BY MR. SLATER:
   20 It may be destroyed or, you know, per             20     Q. Well, what it talks --
   21 company's -- you know, because everyone, you      21 rephrase.
   22 know, company has certain -- as I mentioned,      22          The patent talks about how to
   23 you know, you know, on the company server, if     23 avoid creating nitroso compounds. And that's
   24 you deleted something, you know, because from     24 the way you avoid it, is by not quenching

                                             Page 163                                             Page 165
    1 time to time your mailbox fill up, and some       1
                                                      with sodium nitrite, correct?
    2 people, you know, you know, they have -- may  2
                                                          A. Again, as I mentioned, every
    3 have to have it to, you know, very often to   3
                                                      nitroso compound, you know, is different,
    4 delete it, right?                             4
                                                      okay, specifically for the impurity K. Now
    5          So after, you know, certain          5
                                                      we know, you know, it's, again, Ames
    6 period of the deletion it will be             6
                                                      negative.
    7 automatically, you know, like, taken from,    7
                                                               So, you know, so do not confuse
    8 you know, the company server.                 8
                                                      or replace that, you know, nitroso compound
    9     Q. Let's also talk about -- well,         9
                                                      with NDMA.
   10 rephrase.                                    10
                                                               I mean, you know, in that
   11          We talked about the patent, and     11
                                                      patent, as far as, you know, based upon the
   12 you spoke about impurity K a bunch of times. 12
                                                      information that you presented, you know, I
   13     A. Mm-hmm.                               13
                                                      don't see so far, you know, in that patent,
   14     Q. A very important message in           14
                                                      there's any specific mention of NDMA in that
   15 these e-mail and in that patent is that it   15
                                                      patent.
   16 was figured out, your company knew it and    16
                                                          Q. No. What there's mention of is
   17 others started to figure it out on the       17
                                                      that your competitor wanted to eliminate
   18 outside, that the way to avoid creating      18
                                                      sodium nitrite as the quenching agent and
   19 nitrosamine compounds was to not quench with 19
                                                      instead used bleach so that it wouldn't form
   20 sodium nitrite.                              20
                                                      nitrosamines as part of the process, correct?
   21          That's an important lesson          21
                                                          A. I mean, again, you know --
   22 that's being discussed here, right?          22
                                                               MR. GALLAGHER: Objection.
   23          MR. GALLAGHER: Objection.           23
                                                          A. -- that nitrosamine is not
   24     Mischaracterizes the testimony and the   24
                                                      NDMA, okay, is impurity K. So, you know,


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    1 okay, they are different.                         1
                                                               Vague, calls for speculation, and
    2 BY MR. SLATER:                                    2
                                                               outside the scope.
    3     Q. At the very bottom of this                  3
                                                               A. I mean, at a time of point, if
    4 page, which is, I think, where we went off on      4
                                                           someone went through, you know, and if they
    5 this tangent, but let me bring it back and         5
                                                           are like process, you know, people, they
    6 then we'll move on.                                6
                                                           probably, you know, as I said, you know, just
    7          At the bottom of this page                7
                                                           saw him, you know, just making unrealistic
    8 Jinsheng Lin said, "This indicates that other      8
                                                           projections. That's my guess. That's my
    9 companies have paid attention to the quality       9
                                                           guess.
   10 problem very early on. So leaders please pay      10
                                                           BY MR. SLATER:
   11 attention to this issue."                         11
                                                               Q. Well, you're calling it an
   12          That was a warning that you              12
                                                           unrealistic projection. In fact, he was
   13 said either slipped through the cracks or was     13
                                                           100 percent right.
   14 ignored, but it's a warning that should have      14
                                                               A. No, he is not 100 percent
   15 been listened to, right?                          15
                                                           right. As I said, you know, he's making, you
   16          MR. GALLAGHER: Objection.                16
                                                           know, those things -- as I said, you know,
   17     Mischaracterizes the testimony, and           17
                                                           not everything -- by now we know not every
   18     mischaracterizes the documents.               18
                                                           nitrosamine is highly toxic, okay?
   19     A. I think I already, you know,               19
                                                                    Like impurity K, based upon,
   20 you know, answered your question before.          20
                                                           you know, everything that we now know, you
   21 BY MR. SLATER:                                    21
                                                           know, it has been controlled but treated as a
   22     Q. Well, in retrospect, you would             22
                                                           regular impurity at 1,000 ppm, you know, that
   23 agree with me that whenever the company knew      23
                                                           was by Novartis, the original inventor of
   24 at some point before July of 2017 that NDMA       24
                                                           valsartan.
                                             Page 167                                           Page 169
    1 was occurring in valsartan when quenched with     1
                                                           Q. You're certainly not telling me
    2 sodium nitrite, you would agree that as soon   2
                                                       that valsartan with NDMA is acceptable to be
    3 as that was known, action should have been     3
                                                       sold with 1,000 ppm.
    4 taken to stop manufacturing by that process    4
                                                                You're not saying that, are
    5 until it could be optimized to prevent NDMA    5
                                                       you?
    6 from being created, correct?                   6
                                                           A. I'm saying --
    7           MR. GALLAGHER: Objection.            7
                                                                MR. GALLAGHER: Objection.
    8     Vague, calls for speculation, and          8
                                                           Mischaracterizes.
    9     outside the scope.                         9
                                                                THE WITNESS: I'm sorry again.
   10     A. Again, I think I already, you          10
                                                                I'm saying since the beginning
   11 know, answered your question before. I mean, 11
                                                           impurity K, which is also a
   12 if you wanted me to repeat, you know, I       12
                                                           nitrosamine compound, okay, right, the
   13 mean...                                       13
                                                           impurity K has been allowed by
   14 BY MR. SLATER:                                14
                                                           Novartis as well as by regulatory
   15     Q. Well, I'm just asking you              15
                                                           agencies, okay, at 1,000 ppm since the
   16 simply, would you acknowledge sitting here    16
                                                           very beginning.
   17 now -- I'll ask it differently.               17
                                                       BY MR. SLATER:
   18           Do you wish when Jinsheng Lin       18
                                                           Q. Didn't we establish a little
   19 sent this e-mail in July of 2017 that it      19
                                                       earlier that you don't know what the FDA
   20 hadn't been ignored and it didn't fall        20
                                                       decision was with regard to impurity K?
   21 through the cracks, and that your company had 21
                                                           A. I told you that --
   22 taken immediate action to stop manufacturing  22
                                                                MR. GALLAGHER: Objection.
   23 valsartan with sodium nitrite quenching?      23
                                                           Outside the scope, asked and answered.
   24           MR. GALLAGHER: Objection.           24
                                                           A. I told you I don't know what's


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    1 the current FDA position. But I told you,        1
                                                       some of the most recent training, FDA's, you
    2 you know, based upon a European regulatory     2 know, like training, you know, you know, you
    3 agency's, you know, a document, right, after,  3 know, training slides, it -- you know, you
    4 you know, these events, they specifically      4 know, it mentioned that, you know, as I said
    5 discussed, you know, impurity K.               5 earlier, you know, endogenously formed NDMA
    6          So based upon the knowledge           6 could be, you know, anywhere from 1,000 to
    7 from there, you know, that's how we came to    7 more than 2,000 microgram per day. So this
    8 know the impurity K has been, you know, at     8 is, you know, extremely high. I mean...
    9 least, you know, towards that point, being     9            So basically, you know, without
   10 controlled by Novartis at 1,000 ppm.          10 taking any medication, anyone will have that
   11 BY MR. SLATER:                                11 much of NDMA in you and me and everybody
   12     Q. Okay. I'm asking about NDMA            12 else's body, okay, 1,000 to more than 2,000
   13 now. You understand that, right?              13 microgram per day. This is from the official
   14     A. If you want to talk, yeah, we          14 FDA's, you know, you know, training
   15 can talk now.                                 15 documents.
   16     Q. It would never be acceptable to        16            So basically our understanding
   17 sell valsartan contaminated with NDMA, right? 17 with regard to, you know, you know, the
   18 That would never be acceptable, right?        18 potential toxicity of NDMA, it looks like
   19          MR. GALLAGHER: Objection.            19 it's still progressing.
   20     Vague, outside the scope, and calls       20 BY MR. SLATER:
   21     for speculation.                          21      Q. The FDA is not permitting ZHP
   22     A. You know, I'm not a                    22 to sell valsartan with NDMA impurity in the
   23 toxicologist, okay? So if you really want me  23 United States even up until the present day,
   24 to answer this question, I may give you my    24 correct?

                                            Page 171                                         Page 173
    1 personal, you know, limited understanding by     1        MR. GALLAGHER: Objection.
    2 going through, you know, you know, the        2      Outside of the scope.
    3 documents released by FDA particularly, some  3 BY MR. SLATER:
    4 very recent, you know, training documents by  4      Q. Correct statement, right?
    5 FDA, right?                                   5      A. At this point, you know, the
    6           So, I mean, for a reliable          6 import ban is still there, but there's a lot
    7 intake on the specification for NDMA, even    7 of reasons. I think partly because of the
    8 from the perspective of FDA, they have        8 pandemic.
    9 changed quite a bit, okay?                    9           We had a meeting with FDA, I
   10           At the very beginning after,       10 think at the end of 2019. During that
   11 you know, you know, these events, FDA's      11 meeting, you know, FDA has pretty much, you
   12 position for NDMA was it should be absent.   12 know, accepted our explanation, our
   13 Okay. So basically, you know, you know, the  13 responses, and the consensus was they would
   14 specification would be defined by the limit  14 come over early 2020 to come over on site to
   15 of detection of a particular, you know,      15 do like, you know, a follow-up inspection.
   16 analytical method.                           16      Q. The fact stands that from the
   17           But then, you know, after I        17 time the FDA learned about NDMA in valsartan,
   18 don't know how long, maybe about a year or   18 they told ZHP to stop selling it and recall
   19 so, FDA, you know, then said that, you know, 19 it, right?
   20 after all of the understanding, you know, of 20      A. The only --
   21 the new knowledge, you know, now they allow, 21           MR. GALLAGHER: Objection.
   22 you know, it to be present like 96 nanogram  22      Outside the scope, and
   23 per day, right, for, you know, valsartan.    23      mischaracterizes, lack of foundation.
   24           And also if you look through       24           Go ahead.


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    1                                                 1           To the extent you know, Dr. Li,
              THE WITNESS: Yeah, sorry.
    2                                                 2      you can answer.
         Yeah.
    3                                                  3     A. Yeah, to the extent -- probably
              I mean, only after certain
    4                                                  4 not, to the extent that I know.
         period, you know, of the
    5                                                  5 BY MR. SLATER:
         investigation, you know, and then, you
    6                                                  6     Q. Well, speaking for ZHP
         know, FDA had the warning letter and
    7                                                  7 regarding the root cause investigation, as
         also the import ban.
    8                                                  8 part of that interaction with the FDA on your
              And, you know, once we
    9                                                  9 root cause investigation, did you tell the
         confirmed, you know, the presence of
   10                                                 10 FDA that you had knowledge going back to 2017
         NDMA, you know, in valsartan, we
   11                                                 11 and likely earlier that quenching the
         reported it to the FDA, and we give
   12                                                 12 valsartan with sodium nitrite was creating
         FDA our methods, and also we give FDA
   13                                                 13 NDMA?
         our testing results, right, only like
   14                                                 14          Did you tell the FDA that?
         maybe like two, three weeks, you know,
   15                                                 15     A. As I said --
         after June 6th.
   16                                                 16          MR. GALLAGHER: Hang on,
              And we had been talking to FDA,
   17                                                 17     Dr. Li. Sorry. Just pause for a
         asking for their guidance as to what
   18                                                 18     minute after the question to give me a
         we should do, right? Whether we
   19                                                 19     chance to object.
         should -- to do the recall, you know,
   20                                                 20          So objection, outside the
         immediately or whatever.
   21                                                 21     scope.
              But, you know, I think, you
   22                                                 22          The topic number 2 is the root
         know, during some of the early
   23                                                 23     cause investigation for nitrosamine
         response from FDA, you know, FDA still
   24                                                 24     impurities, including NDMA and NDEA in
         at the time wasn't sure how to -- you
                                           Page 175                                            Page 177
    1     know, how to move forward. They             1
                                                           the ZHP API, as we've discussed that,
    2     specifically asked us to hold on, you      2
                                                           and you have other topics about
    3     know, you know, to any recall, you         3
                                                           regulatory issues and discussions with
    4     know, that we would like to do.            4
                                                           FDA that's not within the topics for
    5 BY MR. SLATER:                                 5
                                                           today. So outside the scope.
    6     Q. You spoke to the FDA, right?            6
                                                                Dr. Li, to the extent you know
    7     A. Yeah, yeah. I was in the                7
                                                           personally, you can answer.
    8 meeting with FDA, yeah, at the end of, you     8
                                                                MR. SLATER: I'll ask the
    9 know, 2019, yes.                               9
                                                           question again.
   10     Q. Did you tell the FDA that your         10
                                                       BY MR. SLATER:
   11 company knew going back to at least July of   11
                                                           Q. As part of ZHP's root cause
   12 2017 and likely earlier, that you knew that   12
                                                       investigation, did ZHP share with the FDA
   13 NDMA was occurring in valsartan due to the    13
                                                       that ZHP knew going back to at least
   14 quenching with sodium nitrite?                14
                                                       July 2017 and likely earlier that the
   15          Did you tell that to the FDA?        15
                                                       quenching of the valsartan with sodium
   16     A. I didn't have that knowledge,          16
                                                       nitrite was the cause of the creation of
   17 as I said. Although, you know, it looks like  17
                                                       NDMA?
   18 I was on the e-mail. But, as I said, I, you   18
                                                                MR. GALLAGHER: Objection.
   19 know --                                       19
                                                           Outside the scope.
   20     Q. Did anybody tell that to the           20
                                                                To the extent you know
   21 FDA from your company in 2018 or 2019 or 2020 21
                                                           personally, you can answer, Dr. Li.
   22 or 2021?                                      22
                                                           A. I think I already, you know,
   23          MR. GALLAGHER: Objection.            23
                                                       answered that question.
   24     Outside the scope.                        24
                                                                ///


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    1                                                   1
                                                       speculation.
      BY MR. SLATER:
    2                                            2 BY MR. SLATER:
          Q. The answer is no, nobody told
    3                                            3     Q. You've interacted with the FDA,
      the FDA, right?
    4                                            4 you know the interest they have in this
          A. As far as I aware.
    5                                            5 nitrosamine impurity issue. Do you think
              MR. SLATER: Cheryll, let's
    6                                            6 they'd like to see the e-mail now?
          take this down and go, if we could --
    7                                            7          MR. GALLAGHER: Objection.
          see how quick you are -- to
    8                                            8     Still calls for speculation.
          Exhibit 208, which is the FDA Draft
    9                                            9     A. I don't know.
          Guidance from December 2008.
   10                                           10 BY MR. SLATER:
              MS. CALDERON: It will take me
   11                                           11     Q. We've put up on the screen
          a minute.
   12
              MR. SLATER: I thought you were 12 Exhibit 208, the FDA "Guidance for Industry"
   13                                           13 regarding "Genotoxic and Carcinogenic
          going to pull it up and say you read
   14                                           14 Impurities in Drug Substances and Products,"
          my mind.
   15                                           15 with the "Recommended Approaches."
          Q. Let me ask you this while
   16                                           16          And this is FDA guidance.
      Cheryll is looking for the document.
   17                                           17 You're familiar with this document, aren't
              MR. SLATER: You can leave this
   18                                           18 you?
          e-mail up for a moment, Cheryll.
   19                                           19     A. I read through it before.
          Q. Did ZHP ever share this
   20                                           20          MR. SLATER: And let's go to
      July 27, 2017 e-mail with the FDA?
   21                                           21     page 8, please, Cheryll, the top
              MR. GALLAGHER: Objection.
   22                                           22     carryover paragraph, please. You got
          Outside the scope.
   23                                           23     it. I just want the top -- the top of
              Dr. Li, to the extent you know
   24                                           24     the page. Scroll up. Yes. Perfect.
          personally, you can answer.
                                             Page 179                                          Page 181
    1     A. I don't know personally.                   1
                                                              Q.     Looking at the --
    2 BY MR. SLATER:                                    2
                                                                    MR. SLATER: Can you scroll up
    3     Q. Did you tell the FDA, as part               3
                                                               more? Because it's confusing,
    4 of your interactions with them when they were      4
                                                               actually. No, the other way. Yes.
    5 trying to learn the root cause of what had         5
                                                               All right. Perfect.
    6 happened, that you had directed people in          6
                                                               Q. Looking at the carryover
    7 your department to cease work on a report          7
                                                           paragraph on page 8, they're talking about
    8 that was being prepared regarding the              8
                                                           the threshold approach. And you've been
    9 creation of nitroso compounds due to sodium        9
                                                           talking about threshold during this
   10 nitrite quenching because of the sensitivity      10
                                                           deposition, correct?
   11 of the impurity?                                  11
                                                               A. We had some discussion, yeah,
   12          Did you tell that to the FDA?            12
                                                           about the specification, yeah.
   13          MR. GALLAGHER: Objection.                13
                                                               Q. And as of 2008, looking at the
   14     Outside the scope, mischaracterizes           14
                                                           last sentence in that carryover paragraph on
   15     testimony and documents.                      15
                                                           page 8, it says, "However, there are some
   16     A. I didn't ask them to seize --              16
                                                           compounds containing certain structural
   17 you know, to seize the work. The work has         17
                                                           groups, (aflatoxin-like-, N-nitroso- and
   18 already been done, right.                         18
                                                           azoxy-structures) that have extremely high
   19 BY MR. SLATER:                                    19
                                                           carcinogenic potency and are excluded from
   20     Q. Well, do you think the FDA                 20
                                                           the threshold approach."
   21 would like to see that e-mail now? Do you         21
                                                                    Do you see what I just read?
   22 think they'd be interested in it?                 22
                                                               A. Mm-hmm.
   23          MR. GALLAGHER: Objection.                23
                                                               Q. In terms of the knowledge of
   24     Outside the scope, calls for                  24
                                                           the health risks and what's acceptable, your


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    1 company, ZHP, absolutely knew this after it      1
                                                          allow that to be in these drug substances,
    2 came out in 2008, right?                         2
                                                          correct?
    3          MR. GALLAGHER: Objection.                3
                                                                   That's the decision that's been
    4     Outside the scope, and lacks                  4
                                                          made around the world, correct?
    5     foundation.                                   5
                                                                   MR. GALLAGHER: Objection.
    6     A. That was before my joining the             6
                                                              Outside the scope, calls for
    7 company. I had no specific knowledge, but my      7
                                                              speculation, and calls for expert
    8 guess, it should be -- somebody should have       8
                                                              testimony.
    9 read through this document.                       9
                                                              A. As I said, you know, based upon
   10 BY MR. SLATER:                                   10
                                                          some recently released material, training
   11     Q. Certainly.                                11
                                                          material by FDA, I think, you know, the
   12          And in the context of Topic 36,         12
                                                          potential risk -- our knowledge of the
   13 which was ZHP's evaluation and knowledge of      13
                                                          potential risk is still evolving, okay.
   14 the health risks of nitrosamines, this is        14
                                                                   And also, as I said, some of
   15 important information saying that N-nitroso      15
                                                          the N-nitroso compounds, they are not
   16 structures "have extremely high carcinogenic     16
                                                          genotoxic, okay, like impurity K.
   17 potency and are excluded from the threshold      17
                                                                   But anything else, you know, I
   18 approach."                                       18
                                                          think it will up to, you know, a professional
   19          That's an important piece of            19
                                                          toxicologist, you know, to do further
   20 information, correct?                            20
                                                          evaluation.
   21          MR. GALLAGHER: Objection.               21
                                                          BY MR. SLATER:
   22     Vague.                                       22
                                                              Q. In terms of ZHP's evaluation
   23     A. That's what it state in this              23
                                                          and knowledge of the health risks of
   24 document. Okay.                                  24
                                                          nitrosamines, you would certainly agree with
                                            Page 183                                            Page 185
    1          But also, you know, I think in          1  me that with regard to NDMA and NDEA, the
    2 this document, or maybe in a more updated,       2  nitrosamines at issue in this litigation,
    3 you know, M7, it also said, you know, you         3 they're considered to be high potency
    4 know, these approach usually are very             4 mutagenic carcinogens, correct?
    5 conservative.                                     5     A. They're considered to be --
    6 BY MR. SLATER:                                    6 well, those are the data based upon animal
    7     Q. Well, M7 says that "Some                   7 studies, okay. They are considered as
    8 structural groups were identified to be of        8 potential or probable carcinogenic to humans,
    9 such high potency that intakes even below the     9 so this has not been fully confirmed.
   10 threshold of toxicological concern would         10     Q. Based on the studies that have
   11 theoretically be associated with a potential     11 been performed, they're considered to be
   12 for a significant carcinogenic risk. This        12 probable high potency mutagenic carcinogens.
   13 group of high potency mutagenic carcinogens,"    13 That's the considered wisdom at present,
   14 referred to as the "cohort of concern,"          14 correct?
   15 "comprises aflatoxin-like-, N-nitroso-, and      15          MR. GALLAGHER: Objection.
   16 azoxy compounds."                                16     Vague.
   17          You know that's what M7 says,           17     A. As I said, you know, the common
   18 right?                                           18 consensus based upon FDA's release document
   19     A. Yes. But also it said                     19 or European, you know, regulators, yeah, NDMA
   20 potential, yeah.                                 20 or NDEA, they are potential or probable, you
   21     Q. The point is this. The                    21 know, carcinogen to human.
   22 regulators around the world have determined      22 BY MR. SLATER:
   23 that with the N-nitroso compounds, the risk      23     Q. The word is "probable."
   24 of causing cancer to humans is too high to       24 They're considered probable, correct?




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    1        A. Probable, you know, which means           1  valsartan far exceeded that level, correct?
    2   it's not confirmed. It's not fully                2      A. Based upon the current
    3   confirmed.                                         3 knowledge, yes.
    4        Q. You're a scientist. "Probable"             4     Q. The levels of NDMA in ZHP's
    5   means more likely than not, right?                 5 valsartan are considered to be unacceptable
    6        A. Probably is probable, whatever             6 for human consumption, right?
    7   that -- you know, yeah, we can look at the         7         MR. GALLAGHER: Objection.
    8   dictionary, yeah, probable, yeah.                  8     Vague.
    9             But, again, probable, you know,          9     A. That's retrospective. That's
   10   you know, again, is not a sure thing. I           10 based upon today's knowledge, okay. This may
   11   mean, probable, you know, a lot of things         11 change over time, you know, either be
   12   could be probable but eventually didn't           12 tightened or even maybe be loosened, okay,
   13   happen.                                           13 because the reason, again, you know, based
   14        Q. You mentioned the word --                 14 upon FDA release the training document, you
   15   rephrase.                                         15 know, they endogenously formed NDMA, right?
   16             You used the word a moment ago          16         As I said, you know, anybody
   17   "consensus." The consensus among those            17 like you and me, you know, just by, you know,
   18   people who are responsible for this issue is      18 changing the normal food, the NDMA then will
   19   NDMA and NDEA are probable human carcinogens,     19 be formed because of just simply by taking
   20   and they shouldn't be in drug substances for      20 the food, it will be produced anywhere
   21   that reason, because it's considered to be        21 between 1,000 microgram to 2,000 -- you know,
   22   too high a risk for humans, correct?              22 more than 2,000 microgram per day.
   23             MR. GALLAGHER: Objection.               23     Q. What are you quoting for those
   24        Vague --                                     24 numbers?

                                               Page 187                                             Page 189
    1 BY MR. SLATER:                                      1
                                                                  A. Those are from the recent FDA
    2     Q. That's the consensus, right?                 2
                                                             trainings, you know, you know, document. I
    3          MR. GALLAGHER: Objection.                   3
                                                             think, you know, my counsel can send these
    4     Vague, calls for speculation, and                4
                                                             documents to you. I mean, these are, you
    5     expert testimony.                                5
                                                             know, publicly available information.
    6     A. Your question is not accurate.                6
                                                                  Q. Are you telling us that because
    7 You know, and I think I answered that                7
                                                             certain nitrosamines can form at very low
    8 question before, okay?                               8
                                                             levels in nature, that it's acceptable that
    9          You know, based upon, you know,             9
                                                             ZHP was selling valsartan --
   10 the current, you know, consensus, at least          10
                                                                       (Over-speaking.)
   11 from FDA, okay, you know, based upon your           11
                                                                  A. No, no, no. Don't twist.
   12 process, I mean, obviously the best way would       12
                                                                  Q. Are you saying that or not?
   13 be to avoid. But we know, you know, for             13
                                                                  A. No, I'm not saying that. I'm
   14 the -- you know, for the -- you know, for the       14
                                                             just saying the fact, okay? I'm not
   15 valsartan, you know, you know, process              15
                                                             saying -- okay. What I'm telling you is
   16 chemistry, it looks like, you know, you just        16
                                                             several facts, okay, right?
   17 cannot avoid, you know, the formation.              17
                                                                       First of all, you know,
   18          So it's a certain level of NDMA            18
                                                             FDA's -- after the events, right, FDA's --
   19 would be allowed, okay. So, as I said, right        19
                                                             first of all, you know, at the time, you
   20 now the consensus is 96 nanogram per day,           20
                                                             know, nobody knew, you know, you know,
   21 okay. That's considered to be lifetime, you         21
                                                             immediately what the -- you know, a limit or
   22 know, you know, allowable intake level.             22
                                                             an interim limit should be, right?
   23 BY MR. SLATER:                                      23
                                                                       And then so after some time,
   24     Q. The levels of NDMA in ZHP's                  24
                                                             you know, the interim limit was established,


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    1 okay? The interim limits was 96 nanogram per      1  know, that would be the case. But don't
    2 day, okay.                                        2  forget, you know, we have the -- you know, we
    3          And then, you know, after some            3 didn't have that specification. And all the,
    4 time FDA's position was that NDMA, also NDEA,      4 you know, all the specification that we
    5 should be absent, right?                           5 tested, you know, and released upon, they
    6          And then more recently, you               6 have been submitted and also approved by
    7 know, they loosened the standard, okay,            7 regulatory agencies, including FDA.
    8 they -- you know, the NDMA now, you know,          8 BY MR. SLATER:
    9 being allowed, you know, to a maximum level        9      Q. Well, you're certainly not
   10 96 nanogram per day, right?                       10 telling me that ZHP and yourself, who joined
   11          So -- but in the training,               11 the company in 2014, could have thought that
   12 FDA's training material, you know, you know,      12 the levels of NDMA in your valsartan would
   13 they had those things, you know, they had,        13 have been acceptable back in 2014 or 2015 or
   14 you know, those discussions.                      14 2016 or 2017 or 2018?
   15          So, yeah, so based upon that,            15           You're not telling me that ZHP
   16 you know, you know, you know, you know, the       16 would have thought these levels would have
   17 material -- okay, also based upon the             17 been acceptable, are you?
   18 principle of M7, right?                           18           MR. GALLAGHER: Objection.
   19          And that's a reasonable                  19      A. As I said --
   20 speculation that, you know, FDA or                20           MR. GALLAGHER: Wait, hang on.
   21 somebody -- you know, other regulator they        21           Objection. Vague, compound,
   22 may, you know, change the acceptable limits       22      calls for speculation, expert
   23 in the future, okay?                              23      testimony, and asked and answered.
   24          You know, because if you look            24           ///
                                             Page 191                                            Page 193
    1 at the -- you know, the M7, right, it says if     1  BY MR. SLATER:
    2 data, you know, potential genotox impurity,       2      Q. At that time, you didn't need
    3 if they -- you know, if they come, you know,       3 to say it's retrospective. In 2015, for
    4 if the source for another source, right,           4 example, I'm looking at the levels on the
    5 other than a medication is more than, you          5 documents submitted to the FDA. You had
    6 know, what you can take from a medical             6 levels of over 100 parts per million in some
    7 product, you know, then -- you know, then in       7 batches.
    8 general, you know, you know, their level, you      8          You could never have thought
    9 know, may be -- you know, may be loosened,         9 that was acceptable to sell under any
   10 okay, based upon, you know, that fact.            10 circumstances at that time, right?
   11      Q. The levels of NDMA in ZHP's               11          MR. GALLAGHER: Objection.
   12 valsartan would never have been acceptable in     12     Vague, calls for expert testimony,
   13 2014, 2015, 2016, 2017, or 2018?                  13     argumentative, and lacks foundation.
   14           MR. GALLAGHER: Objection.               14     A. Again, with a specific level,
   15      Vague, compound.                             15 you know, this is outside of my expertise.
   16 BY MR. SLATER:                                    16 As I said, this up to toxicologists, also
   17      Q. Do you agree with me those                17 regulators, you know, finally, you know, you
   18 levels were so high, they never would have        18 know, their job to determine.
   19 been acceptable in any of those years,            19 BY MR. SLATER:
   20 correct?                                          20     Q. Validation batch number 1,
   21           MR. GALLAGHER: Objection.               21 batch number C5355-12-003 manufactured on
   22      Vague, compound, calls for                   22 December 28, 2011 was tested by your company
   23      speculation, and expert testimony.           23 at NDMA level of 76 parts per million.
   24      A. You know, retrospectively, you            24          That level, your company never


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    1 would have thought was acceptable for sale at    1        MR. GALLAGHER: Okay.
    2 any point during the entire time valsartan     2 BY MR. SLATER:
    3 was sold, correct?                             3      Q. The FDA never indicated that
    4          MR. GALLAGHER: Objection.             4 the NDMA levels in the valsartan sold by your
    5     Outside the scope, vague, calls for        5 company were acceptable. All they said is
    6     speculation, and expert testimony.         6 they had to figure out how much supply was
    7          THE WITNESS: I don't know, do         7 out there due to the extent of the
    8     I need to answer the question?             8 contamination of your pills, and they had to
    9          MR. GALLAGHER: Yes. To the            9 just make sure that there was enough
   10     extent you know, you should answer.       10 medication out there for people's blood
   11     A. I mean, basically, as I said,          11 pressure to be controlled for a short period
   12 you know, retrospectively, you know, you      12 of time.
   13 know, those levels are above the current,     13          That's all the FDA let you do,
   14 okay, established limit.                      14 right?
   15 BY MR. SLATER:                                15          MR. GALLAGHER: Objection.
   16     Q. Those levels were so high that         16      Outside the scope, and lacks
   17 if your company had actually acknowledged to 17       foundation.
   18 the outside world that NDMA was forming due 18        A. I don't know, you know, because
   19 to the sodium nitrite quenching, you know,    19 I'm not the person, you know, to be directly
   20 and you can agree with me right now, your     20 involved with the -- you know, with the
   21 sale of valsartan would have been shut down   21 recall.
   22 immediately as soon as your company disclosed 22          So I don't -- you know, I don't
   23 that, correct?                                23 know exactly, you know, what you, you know,
   24          MR. GALLAGHER: Objection.            24 just said to me, okay, but, you know,

                                            Page 195                                            Page 197
    1      Argumentative, calls for speculation,       1  assuming that's true, so at least, you know,
    2      and expert testimony.                       2  what that indicate, you know, there is no,
    3      A. That's not the case, okay. As             3 you know, immediate, you know, you know -- I
    4 I told you, once we -- you know, after -- you     4 mean, it still be tolerable considered, you
    5 know, after that particular event, after we       5 know, that particular medical need.
    6 have got, you know, those data, right, from       6          And again, you know, you know,
    7 the initial, like, 50 batches or so, we           7 the level, like you said, 70-some ppm, is
    8 reported, you know, like up to two, three         8 not, you know -- you have saying, you know,
    9 weeks roughly, we reported it to the FDA.         9 you know, you know, consider, for example,
   10          We asked them their guidance,           10 like ranitidine, right?
   11 okay, and we mentioned, I think, you know, at    11          If you look at ranitidine,
   12 least in one of the communications whether we    12 okay, this is a compound or is a medication
   13 should do the recall. And they specifically      13 developed by, you know, GSK or its precursor,
   14 told us to be hold on.                           14 you know, company, like SmithKline, like
   15          So this is not what you're              15 about 40 years ago, okay?
   16 saying, you know, you know, all right?           16          And now we know that, you know,
   17          So, essentially, it need to be          17 you know, the level, you know, you know, of
   18 evaluated by, you know, experts.                 18 this, you know, probably -- I think the
   19          MR. GALLAGHER: Adam, we've              19 actual level was like 47 micrograms or
   20      been going almost an hour and               20 something.
   21      20 minutes.                                 21          So, yes, so that's, you know,
   22          MR. SLATER: I just have a               22 higher than I think our, you know, you know,
   23      couple quick follow-up questions, and       23 NDMA, you know, in those batches.
   24      then we can take a break.                   24          MR. SLATER: I think that we


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    1     can take a break off of the ranitidine       1         And this is June 5, 2008 --
    2     testimony and take a break, so we can      2 rephrase.
    3     go off the record.                         3           Looking now at Exhibit 288,
    4          THE VIDEOGRAPHER: The time            4 this is a June 5, 2018 e-mail, again from
    5     right now is 11:01 a.m. We're now off      5 Novartis to multiple people in your company,
    6     the record.                                6 including yourself, correct?
    7          (Whereupon, a recess was              7       A. Let me see whether -- am I on
    8     taken.)                                    8 it? Let me --
    9          THE VIDEOGRAPHER: The time            9       Q. Second-to-last line of the CC
   10     right now is 11:16 a.m. We're back on     10 list.
   11     the record.                               11       A. Oh, yes, mm-hmm. Yeah.
   12 BY MR. SLATER:                                12       Q. You're there, and just above
   13     Q. We're looking at Exhibit 284,          13 you is Peng Dong.
   14 and this is an e-mail sent by some people at  14           Do you see that?
   15 Novartis to ZHP on May 22, 2018.              15       A. Yes, mm-hmm. I saw him, yes.
   16          Do you see that?                     16       Q. Two of the people who received
   17     A. Yeah, it looks like, yeah.             17 that July 2017 e-mail we've gone through from
   18 Mm-hmm.                                       18 Jinsheng Lin, correct?
   19     Q. And the e-mail says, "Dear             19       A. Yes, mm-hmm.
   20 Huahai colleagues, During our analysis of     20       Q. And at this point now Novartis
   21 residual solvents by GC (using a combined     21 advises you that "We have done some tests in
   22 method) at Novartis we have found a number of 22 Solvias labs for Novartis of three batches of
   23 solvents that we cannot identify for the      23 Huahai material and have a tentative
   24 following batches. The peak areas vary        24 assessment."

                                            Page 199                                           Page 201
    1 depending on the batch. These are the            1
                                                                    And they then point out that
    2 batches analyzed."                               2
                                                          they're asking for your company to assess
    3           And they give the list of the           3
                                                          this and comment as soon as possible, right?
    4 batches, right?                                   4
                                                              A. Yeah, looks like, mm-hmm.
    5      A. It looks like, mm-hmm.                    5
                                                                    MR. SLATER: And as we flip
    6      Q. And ultimately they also attach           6
                                                              through, Cheryll, if could you go
    7 their gas chromatography method for ZHP to        7
                                                              forward to the page that says 798,
    8 review and ask, "I would appreciate your          8
                                                              with regard to the first batch that
    9 support on this and feel free to call me if       9
                                                              was tested.
   10 any further information is required."            10
                                                              Q. Do you see there that there's
   11           So they were asking ZHP, what          11
                                                          identification of NDMA, and it says
   12 are these unknown peaks in these various         12
                                                          "tentative," correct?
   13 batches of valsartan API, correct?               13
                                                              A. Yes.
   14      A. Yes, mm-hmm.                             14
                                                              Q. And you're familiar with this
   15      Q. And we know in retrospect, as            15
                                                          document, right? So you know that for the
   16 you've said earlier, that gas                    16
                                                          next two batches, the same finding was made,
   17 chromatography-mass spectrometry, if focused     17
                                                          right?
   18 at that time, would show NDMA, correct?          18
                                                              A. Mm-hmm.
   19           MR. GALLAGHER: Objection.              19
                                                              Q. And the NDMA in the valsartan
   20      Mischaracterizes testimony.                 20
                                                          is what was discussed by Jinsheng Ling in the
   21      A. No, I didn't.                            21
                                                          July 2017 e-mail, correct?
   22 BY MR. SLATER:                                   22
                                                              A. He was not specifically at the
   23      Q. Well, let's go further then.             23
                                                          time talking about this particular peak. He
   24 Let's go now to Exhibit 288.                     24
                                                          just -- at that time he was making, you know,


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    1 you know, a guess.                                1  shows that that was disclosed, right?
    2      Q. He was -- well, he -- rephrase.           2      A. Not as far as I know.
    3          He said that NDMA occurs in               3     Q. Let's now go to Exhibit 289,
    4 valsartan when quenched with sodium nitrite,       4 which is the report from Solvias that was
    5 and this here in June of 2018 is Novartis          5 provided with the June 5, 2018, e-mail.
    6 bringing to your attention that they               6          You've seen this report,
    7 tentatively think they've identified a peak        7 correct?
    8 that shows NDMA in valsartan, correct?             8     A. Yes.
    9      A. Yes.                                       9          MR. SLATER: And let's go now
   10      Q. At any point in the                       10     to the second page of this document
   11 communications with Novartis, did you or          11     where the objective is listed.
   12 anybody else from ZHP tell Novartis that your     12     Perfect.
   13 company knew at least as of July 2017 that        13     Q. And the objective of this study
   14 NDMA was forming in the valsartan that was        14 was as follows. "Unknown compounds were
   15 quenched with sodium nitrite?                     15 detected in the analysis of residue solvents
   16          Did you tell Novartis about              16 in Valsartan, a product of Novartis
   17 that?                                             17 International Pharmaceuticals." I'll stop
   18      A. I don't remember what we                  18 there.
   19 responded. I mean, can you go down to the --      19          And the reason it says that is
   20 or go through the whole e-mail?                   20 because, as you know, Novartis had purchased
   21      Q. Well, this is the e-mail.                 21 this API from ZHP and then provided it to
   22 There's no response to it. That's the             22 Solvias to test it, correct?
   23 e-mail. You're seeing at the top of the           23     A. Yes.
   24 first page --                                     24     Q. And then this says, "Solvias
                                             Page 203                                            Page 205
    1           MR. SLATER: Cheryll, you can            1  received the task from Novartis to analyse
    2     go back to the beginning.                     2  and identify the unknown compounds using
    3     Q. -- that is the e-mail.                      3 Headspace GC/MS analysis."
    4     A. That's the whole?                           4          And I want to stop there and
    5     Q. So my question is this.                     5 ask you, "GC/MS analysis" is gas
    6           Did ZHP tell Novartis that ZHP           6 chromatography-mass spectrometry, correct?
    7 knew at least as of July 2017 that there was       7     A. Yes.
    8 NDMA in its valsartan? I just want to know         8     Q. That's a technology that's been
    9 if your company told that to Novartis.             9 available -- as of 2018, for how long had
   10     A. I don't remember. I don't                  10 that been available?
   11 know. I mean, I -- you know, I was not            11     A. It was quite long.
   12 involved, you know, in most of those, you         12     Q. And then it says, "This report
   13 know, you know, e-mail communication. I           13 summarizes the results of this analysis."
   14 was -- some of those e-mail communication,        14 Correct?
   15 just telling them about some technical            15     A. Mm-hmm.
   16 issues, I think.                                  16     Q. And by the way, when you say
   17     Q. Well -- rephrase.                          17 that GC-MS was available for quite a long
   18           Have you seen anything                  18 time, it certainly was available as of 2011
   19 indicating that ZHP disclosed to Novartis         19 when these processes were being developed by
   20 when Novartis came with its concerns about        20 ZHP, correct?
   21 these unknown peaks that your company already     21     A. It was available as an
   22 knew that there was NDMA in the valsartan?        22 instrument, you know, to the market.
   23     A. I have no knowledge.                       23          I just -- you know, you know,
   24     Q. You haven't seen anything that             24 yesterday I just asked, you know, you know,




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    1 Mr., you know, Chen, you know, Wenbin Chen,      1  withdraw the outside the scope
    2 you know, also on one of the e-mails, I ask   2     objection.
    3 him when we receive the first one.            3           But it's vague, lacks
    4           I think it was somewhere like       4     foundation, and calls for speculation
    5 in 2013, Huahai, or at least, you know, you   5     and expert testimony.
    6 know, that organization prior to my joining,  6 BY MR. SLATER:
    7 you know, that technical, you know,           7     Q. You know that, right, that it's
    8 supporting group, you know, was getting the   8 been known for many years, going back at
    9 first one somewhere in 2013, yes.             9 least to the 1970s, that GC-MS is the best
   10      Q. When you're testifying right         10 method to identify nitrosamines, correct?
   11 now, are you testifying that you know that   11           MR. GALLAGHER: Same
   12 ZHP got its first GC-MS machine in 2013?     12     objections.
   13      A. Yes.                                 13     A. I only know retrospectively
   14      Q. Are you sure they didn't have        14 people have done, you know, previously, but
   15 one earlier?                                 15 not, you know, with valsartan or any other
   16      A. Well, at least not in my             16 sartans.
   17 organization, on my prior, you know,         17           And, you know, when you
   18 organization that I inherited.               18 mentioned 1970s, I don't remember, you know,
   19           Yeah, they may have -- I don't     19 you know, the specific time frame.
   20 know. I mean, like, you know, in the         20           But again, GC-MS has been
   21 headquarters, you know, organizations, you   21 mostly, you know, more like a research tool
   22 know, like in Xunqiao, right, yeah, that was 22 for QC residual solvent method. GC-FID
   23 the first GC-MS that was there.              23 method remains to be, even as of today, you
   24      Q. One of the things that a             24 know, the choice of, you know, of the method

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    1 company like ZHP should do is make sure that     1
                                                          for controlling residual solvents.
    2 it obtains the type of technology that's         2
                                                                   MR. SLATER: Well, let's now go
    3 available for it to manufacture quality           3
                                                              to page -- the Bates number is 13 in
    4 substances, correct?                              4
                                                              the bottom right. Keep going. Let's
    5          MR. GALLAGHER: Objection.                5
                                                              get the whole bottom half of the page
    6     Vague, and outside the scope.                 6
                                                              in. Perfect. Thank you, Cheryll.
    7     A. You know, the residual solvent             7
                                                          BY MR. SLATER:
    8 method typically uses GC-FID technology,          8
                                                              Q. Looking now at Figure 2 in the
    9 okay? So for those, you know -- so typically      9
                                                          Solvias report, it's a chromatogram of
   10 people will not do the GC-MS, you know, to       10
                                                          valsartan, and it has the batch number
   11 develop a residual solvent method.               11
                                                          18-038M01, provided by Novartis to Solvias.
   12 BY MR. SLATER:                                   12
                                                                   Do you see that?
   13     Q. It's been known since the 1970s           13
                                                              A. Mm-hmm.
   14 and going back that GC-MS is the best way to     14
                                                              Q. Can you tell what type of
   15 identify nitrosamines, correct?                  15
                                                          chromatogram that is?
   16          MR. GALLAGHER: Objection.               16
                                                              A. Yeah, it looks like a
   17     Vague, lacks foundation, calls for           17
                                                          chromatogram from GC-MS analysis.
   18     speculation and expert testimony, and        18
                                                              Q. And if you look at it, it says
   19     outside the scope.                           19
                                                          that Table 4 -- rephrase.
   20          MR. SLATER: It's outside the            20
                                                                   First of all, looking at the
   21     scope of the chromatogram and mass           21
                                                          chromatogram itself -- actually, we'll come
   22     spectrometry with --                         22
                                                          back to that. Looking at -- rephrase.
   23          (Over-speaking.)                        23
                                                                   Below the Figure 2, the
   24          MR. GALLAGHER: I would                  24
                                                          chromatogram, it says in part, "Table 4


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    1                                                  1            MR. SLATER: If you scroll down
      displays the corresponding retention times
    2                                                  2      a little further down, Cheryll.
      and calculated relative retention times."
    3                                                   3     Perfect. And scroll to the right so
               Do you see that?
    4                                                   4     we can see the peak to the right.
          A. Mm-hmm. Okay.
    5                                                   5     Q. That next peak to the right of
               MR. SLATER: And if we scroll
    6                                                   6 the toluene is 12.25.
          to the next page, and then we'll
    7                                                   7           Do you see that?
          scroll back in a moment, but if we
    8                                                   8     A. Yes, mm-hmm. Okay.
          scroll to the next page -- perfect.
    9                                                   9     Q. And to -- rephrase.
          Q. You see at number 18 toluene
   10                                                  10           And using your terminology, in
      with a retention time of 10.46.
   11                                                  11 retrospect and as proven -- well, rephrase.
               Do you see that?
   12                                                  12           As proven here and as you
          A. Mm-hmm.
   13                                                  13 subsequently confirmed, that's the NDMA peak,
          Q. And then right below it, number
   14                                                  14 correct?
      19, it says "not applicable, 12.25."
   15                                                  15     A. I don't know, you know -- wait
               Do you see that?
   16                                                  16 a second. I think on the table, you know,
          A. Mm-hmm.
   17                                                  17 you know, it was their method. This is not
          Q. And the "not applicable" there
   18                                                  18 NDMA. I think, you know, if I remember
      means it hasn't been identified, right?
   19                                                  19 correctly just moments ago, the other way
          A. Probably.
   20                                                  20 should be like, what, 15 something, or what?
          Q. And then if you scroll further
   21                                                  21 Can you go down the list?
      down into the next table, 5, it says
   22                                                  22     Q. Sure. And you can tell me
      "Tentative identification of unknown peaks
   23                                                  23 which one is the NDMA peak. Why don't we do
      detected in Valsartan."
   24                                                  24 that.
               MR. SLATER: Cheryll, if you
                                            Page 211                                             Page 213
    1                                                  1
          scroll further, please.                             A. Well, you know, I'm not very
    2                                                  2
          Q. 18 and 19 matching up again, at              familiar with Novartis', you know -- you
    3                                                   3
      18 we have toluene, correct?                        know, all of those details, okay. Yeah,
    4                                                   4
          A. Mm-hmm.                                      going down the other -- yeah.
    5                                                   5
          Q. And 19, NDMA, and they call it                        MR. SLATER: Go to the next
    6                                                   6
      "tentative," right?                                     table, Cheryll.
    7                                                   7
          A. Right.                                           A. Yeah, yeah, yeah, yeah, yeah.
    8                                                   8
          Q. So based on this, if we go back              Because I don't think -- yeah, it shows the
    9                                                   9
      now to the chromatogram at Figure 2, the            retention time like 15 something. 19.
   10                                                  10
      toluene is that peak on the right, the taller                Yeah, 15 -- yeah, see that,
   11                                                  11
      peak third from the right. And I know that          yeah, 15 point -- almost 16 minutes. So it
   12                                                  12
      the writing is incredibly small. We can             should not be that one immediately after, you
   13                                                  13
      probably blow it up quite a bit.                    know, the toluene with their method.
   14                                                  14
               MR. SLATER: So let's do that.                  Q. Well, in fact, if you look at
   15                                                  15
          A. Sure.                                        the retention times for the two different
   16                                                  16
          Q. I don't know if we can blow it               tables, they're actually different, and the
   17                                                  17
      up enough, but I can tell you --                    one that matches up to the chromatogram is
   18                                                  18
          A. Okay.                                        the 10.46 and the 12.25.
   19                                                  19
          Q. -- that says toluene, 10.46.                          Do you know why those numbers
   20                                                  20
          A. Okay. All right. Okay. This                  are different?
   21                                                  21
      one. Okay.                                              A. I don't know. I mean, it's
   22                                                  22
               MR. SLATER: Good job, Cheryll.             their method.
   23                                                  23
          Q. And then the NDMA peak that                           THE WITNESS: Can we go up,
   24                                                  24
      they identified at 12.25 --                             yeah, and take a look at toluene in


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    1     the first table? Yeah. I mean, this          1       Q. And let me -- explain -- tell
    2     one -- yeah.                                 2  me if I understand this correctly. If you do
    3     A. See where the toluene -- yeah,             3 an appropriate risk assessment and know that
    4 on the first table -- what's the retention        4 NDMA potentially formed, and you used GC-MS
    5 time?                                             5 and looked for NDMA, you can find it, right?
    6          Oh, hold on. I'm sorry. Okay.            6           MR. GALLAGHER: Objection.
    7 Okay. So -- okay. So, yeah, somehow, you          7      Vague and compound, and calls for
    8 know, the retention time, they're quite           8      speculation.
    9 different. On this table toluene is like          9      A. I mean, retrospectively, if you
   10 10.46, yeah.                                     10 want to specifically look for it using GC-MS
   11          MR. SLATER: Let me see if we            11 or, you know, GC-MS/MS, yeah, you might be
   12     can -- go to the chromatogram, please,       12 able to find it, yes.
   13     Cheryll. Just let's go to the                13 BY MR. SLATER:
   14     picture.                                     14      Q. And that's ultimately what
   15     Q. Maybe we can find a common                15 happened, right? When ZHP was looking for it
   16 ground. What we do know is this. The             16 after Novartis came to you, you identified
   17 toluene elutes, and then the NDMA elutes to      17 it, right?
   18 the right of it, correct?                        18      A. Yes.
   19     A. No. Actually, if you're                   19      Q. And in fact, as we've talked
   20 talking about, you know, ZHP's method, okay,     20 about earlier in the deposition, we've now
   21 what I can tell you the profile.                 21 seen an e-mail showing that it was discussed
   22          Okay. Yeah. So we have the              22 within your company almost a year earlier,
   23 toluene and then we have the next, like,         23 that your company already knew that NDMA was
   24 somewhat, you know, more obvious peak, like      24 in the valsartan, correct?

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    1 the one, you know, you just trying to point      1
                                                               A. It's not, you know, ZHP knew.
    2 out to me like 12 point something, right?        2
                                                          I mean, it was Mr. Lin, you know, he made
    3 But I'm not saying our method, you know, they     3
                                                          that speculation.
    4 have this retention time, okay. I'm just          4
                                                               Q. He shared that information with
    5 talking about, you know, you know, the            5
                                                          you, Peng Dong, Linda Lin, Jucai Ge, people
    6 elution profile, okay?                            6
                                                          who had important positions in ZHP, right?
    7           So after the first somewhat             7
                                                                   MR. GALLAGHER: Objection.
    8 more obvious peak, after the toluene, based       8
                                                               Vague.
    9 upon our, you know, analysis, it's not NDMA,      9
                                                               A. People who are employed by ZHP
   10 okay? That, you know, that peak was n-butyl      10
                                                          at the time, yes.
   11 acetate, okay? And so based upon our             11
                                                          BY MR. SLATER:
   12 analysis retrospectively, the NDMA eluting at    12
                                                               Q. In important positions, in
   13 the shoulder peak of the n-butyl acetate.        13
                                                          high-level positions, correct?
   14     Q. Okay. So -- rephrase.                     14
                                                                   MR. GALLAGHER: Objection.
   15           So the NDMA is to the right of         15
                                                               Vague.
   16 the toluene, correct?                            16
                                                               A. For some of them, I'm not sure.
   17     A. It's right to the toluene, and            17
                                                          You know, it could be defined as high-level.
   18 also it's right to the first -- you know,        18
                                                          For myself, yes, I'm at a high-level
   19 yeah, right to the n-butyl acetate.              19
                                                          position, but not necessarily for every
   20     Q. And on this test Solvias was              20
                                                          single one of them.
   21 able to tentatively identify the NDMA peak,      21
                                                          BY MR. SLATER:
   22 correct?                                         22
                                                               Q. Peng Dong had a -- what about
   23     A. Based upon, yeah, their report,           23
                                                          Peng Dong? What position was he in?
   24 yes.                                             24
                                                               A. He was -- probably at the time


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    1                                                 1   irbesartan, not -- you know, that
      was a technical manager, so I would say this
    2                                               2     particular irbesartan, you know,
      is a middle-level.
    3                                               3     N-nitroso compound of the irbesartan,
           Q. How about Jucai Ge?
    4                                               4     so it's not, you know, NDMA.
           A. She was the QA. You know,
    5                                               5 BY MR. SLATER:
      she's a QA person, yeah. She's responsible,
    6                                               6     Q. Well, you knew in April 2018
      you know, for the QA department.
    7                                               7 that you didn't want that report that your
           Q. The QA is the quality assurance
    8                                               8 department was working on to be completed or
      department, right?
    9                                               9 shown to anybody, and that's why you said --
           A. Right.
   10                                              10     A. No. No, it's --
           Q. What does the quality assurance
   11                                              11     Q. -- not to go further with that
      department do?
   12                                              12 report, right?
           A. They want to ensure, you know,
   13
      product being manufactured according to, you 13     A. Well, see, I mean, you know,
   14
      know, predefined or particularly, you know, 14 the -- you know, as I said, the work has
   15                                              15 already been -- you know, been done.
      file the registrations for the regulatory
   16                                              16          You know, the reason, as I have
      authorities.
   17                                              17 explained, you know, I don't want to create a
           Q. And Linda Lin was in the
   18                                              18 confusion, you know what I'm saying? And,
      regulatory affairs department, correct?
   19                                              19 you know, you know, was mixed up with, you
           A. Yes.
   20                                              20 know, those things.
           Q. She had a significant position,
   21                                              21          You know, because, you know,
      right?
   22                                              22 the topic of that document, you know, was
           A. She's the head of the
   23                                              23 about, you know, an impurity. That impurity
      regulatory affairs.
   24                                              24 was not even, you know, you know, you know,
           Q. And all of those people were
                                           Page 219                                            Page 221
    1 put on notice at least as of July 2017 that     1
                                                         in a real impurity present in a commercial
    2 there was NDMA in the valsartan, right?         2
                                                         product.
    3     A. I mean, based upon that e-mail,           3
                                                                   I mean, it was during, you
    4 I mean, you know, Mr. Lin made that e-mail.      4
                                                         know, the -- you know, the further -- or the
    5 But again, you know, it looks like -- you        5
                                                         trial, you know, in order to further, or
    6 know, it's just people maybe didn't go           6
                                                         trying to, you know, improve the quenching
    7 through or people maybe just saw that he's       7
                                                         process of irbesartan.
    8 making, you know, exaggerations or...            8
                                                              Q. And Mr. Lin, who was doing a
    9     Q. But in reality he was right,              9
                                                         very good job at the time, said, if this is a
   10 and that's been proven, correct?                10
                                                         nitroso compound, we have a real problem
   11          MR. GALLAGHER: Objection.              11
                                                         here, similar to the problem we have with
   12     Asked and answered, and                     12
                                                         valsartan.
   13     mischaracterizes the testimony.             13
                                                                   He was doing a good job, and
   14     A. As I --                                  14
                                                         turned out in the end to have been the
   15          I mean, do I need to answer?           15
                                                         correct person, right?
   16          MR. GALLAGHER: You can answer.         16
                                                                   MR. GALLAGHER: Objection.
   17          THE WITNESS: Okay.                     17
                                                              Compound, mischaracterizes testimony,
   18          I mean, as I, you know,                18
                                                              asked and answered.
   19     answered earlier, I mean, basically,        19
                                                              A. Again, you know, as I said, at
   20     you know -- you know, at that time,         20
                                                         least at that time or, you know, those guess
   21     you know, you know, as I said, he was       21
                                                         or projection, you know, as I indicated to
   22     making his guess.                           22
                                                         you, not all he said, you know, was correct,
   23          But also, you know, the topic          23
                                                         okay?
   24     of the e-mail was talking about             24
                                                                   Some he's making -- you know,


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    1                                                   1
      he's, you know, guess, and he's also, you            A. I went through this report,
    2                                                2
      know, particularly with regard to, you know,     yes.
    3                                                3
      the potential toxicity of the irbesartans,           Q. Okay. And if we turn to the
    4                                                4
      that particular N-nitroso derivative of          next page, it's dated May 31, 2018, correct?
    5                                                5
      irbesartan.                                               Do you see that?
    6                                                6
               You know, I don't think, you                A. Yes.
    7
      know, it was appropriate for him to make that 7      Q. If we turn to the next page, it
    8                                                8
      judgment. You know, he is not a                  was actually signed off by several people,
    9                                                9
      toxicologist.                                    including --
   10                                               10
               MR. SLATER: Cheryll, let's go                    MR. SLATER: If you could turn
   11                                               11
          to Exhibit 234, if we could, please,             to the next page, Cheryll. Thanks.
   12                                               12
          which is the other document that was             Q. You see it was signed off by
   13                                               13
          provided in that Exhibit 288 to              multiple people, including Peng Dong,
   14                                               14
          Novartis by ZHP.                             correct?
   15                                               15
               That is not the document I was              A. Mm-hmm.
   16                                               16
          expecting. I gave you the Bates                       MR. SLATER: And now if we go
   17                                               17
          number. It should be the "Study                  to the next page, please. Let's go
   18                                               18
          Report of Unknown Peak in Residual               past the "Contents." I'm sorry.
   19                                               19
          Solvent of Valsartan."                           Let's go to the "Background" section,
   20                                               20
               THE WITNESS: Okay.                          next page. So we're now on page 2 of
   21                                               21
               MR. SLATER: I'm talking to                  23.
   22                                               22
          Cheryll, though, but it's going to               Q. So there's a "Background"
   23                                               23
          come to you in a moment.                     section of this report that talks about the
   24                                               24
               THE WITNESS: Okay.                      fact that there were many unknown peaks
                                             Page 223                                             Page 225
    1           MR. SLATER: One second.                 1  identified with the residual solvent for
    2           Cheryll, what exhibit is this?          2  valsartan with the Huahai method, correct?
    3           MS. CALDERON: I have to check.           3      A. Yes, mm-hmm.
    4     Give me one second.                            4      Q. And just below that
    5           MR. SLATER: I had 234 on it.             5 "Background" section there's Figure 1, which
    6     I want to make sure we have it for the         6 is titled as a "Typical chromatogram of
    7     record.                                        7 Huahai method."
    8           MS. CALDERON: I'm not sure. I            8           Do you see that?
    9     have to look. It's not --                      9      A. Mm-hmm.
   10           MR. SLATER: I don't want to             10      Q. What does that mean, "typical
   11     waste any more time with this, so             11 chromatogram"?
   12     let's just mark it again. What number         12      A. "Typical" usually means
   13     are we up to?                                 13 representative, which means, you know, it can
   14           THE STENOGRAPHER: 305.                  14 be an example to illustrate.
   15           (Whereupon, Exhibit Number              15      Q. And it says "FID." So is this
   16     ZHP-305 was marked for                        16 a gas chromatography-FID test?
   17     identification.)                              17      A. Yes.
   18 BY MR. SLATER:                                    18      Q. And you can see a little better
   19     Q. Do you see what we've put up as            19 on this -- rephrase.
   20 Exhibit 305, "Study Report of Unknown Peak in     20           And you can see the peaks are
   21 Residual Solvent of Valsartan"?                   21 labeled, and the peak that's labeled farthest
   22     A. Mm-hmm.                                    22 to the right with a label is toluene.
   23     Q. You're familiar with this,                 23           Do you see that?
   24 correct?                                          24      A. Yeah, mm-hmm.


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    1                                                  1       MR. GALLAGHER: Go ahead.
          Q. And then there's a series of
    2                                               2     A. You know, you know, I cannot
      unidentified smaller peaks to the right of
    3                                               3 confirm, you know, the specific time range,
      that?
    4                                               4 okay. But I can tell you, you know, just
          A. Yes.
    5                                               5 look at this, you know, you know, Figure 1,
          Q. And without figuring out which
    6                                               6 right.
      one it is or exactly where it is, we know in
    7                                               7          You know, basically after the
      hindsight that the NDMA can be identified
    8                                               8 toluene peak, you have like three, right,
      there if one looks for it with gas
    9
      chromatography-mass spectrometry, correct? 9 roughly three peaks, right? You see that?
   10                                              10 Three little peaks?
          A. No, that's not correct.
   11                                              11     Q. Yes.
          Q. If you were to be asked to go
   12                                              12     A. Right? Okay. As I, you know,
      and use GC-MS to look for NDMA, you don't
   13                                              13 communicate, you know, to you earlier, the
      think you could identify it on this sample?
   14
          A. GC-MS and GC-FID, they are two 14 first little peak appears to be -- okay,
   15                                              15 there are two folds, okay.
      different, quite different methods.
   16                                              16          In the blank injection, there
          Q. No, let me ask the question
   17                                              17 was also a blank peak, okay, eluting at that
      differently, because that's not what I -- I
   18                                              18 region, okay.
      get why you're saying that, though.
   19                                              19          With the real sample, at least
               If one decided to test by GC-MS
   20                                              20 for some batches, okay, what we found is, you
      instead of GC-FID, this batch, and actually
   21                                              21 know, this peak was n-butyl acetate, okay,
      looked for NDMA, it would be able to be
   22                                              22 and then NDMA, you know, you know, it would
      identified with the GC-MS, correct?
   23                                              23 elute at the shoulder, you know, you know,
          A. If you -- what we found out,
   24
      okay, if you just use, you know -- you know, 24 you know, of this peak. If you, you know,
                                            Page 227                                          Page 229
    1 basically if you use the conditions, right,      1
                                                       making a reference then of NDMA with high
    2 including the sample concentrations as in      2 enough concentration, you know, it will, you
    3 this GC-FID method, if you then turn that      3 know, show a peak at that region.
    4 into a GC-MS method based upon our             4          But with the regular batch,
    5 retrospective, you know, analysis, you will    5 basically, you know, the NDMA is just -- you
    6 not be able to see NDMA, okay?                 6 know, sometimes, you know, it just co-elute,
    7          And then I think that during          7 complete co-elute, sometimes may be a very
    8 this investigation, the concentration of the   8 tiny, you know, shoulder peak there.
    9 sample, you know, was increased by 20 times.   9     Q. Solvias found it, right?
   10 And even that, with the GC-MS chromatogram, 10       A. They were using a quite
   11 you know, you can see, you know, I think in   11 different, okay, method, okay. If you
   12 some of the figures, you know, I think in     12 notice, you know, one of the, you know, major
   13 some of the figures, you know, in this report 13 differences, they were using NMP as the
   14 the NDMA peak was still not very obvious. It  14 sample. You know, this particular method,
   15 was buried among other, you know, unknown     15 ZHP's method utilizing DMSO, okay.
   16 peaks.                                        16          So when you use different
   17     Q. The other night Qiangming Li           17 sample diluents, you will have different
   18 testified that the NDMA peak eluted on the    18 background peaks, okay?
   19 GC-FID between 14.2 and 14.5.                 19          So at that particular region,
   20          Does that sound correct to you?      20 when they turned that -- their NMP method
   21     A. I don't know. I mean,                  21 into the corresponding GC-MS method, and also
   22 because -- from --                            22 because, you know, the -- because NMP, you
   23          MR. GALLAGHER: Objection.            23 know, is a higher-volume point as compared to
   24          THE WITNESS: Sorry.                  24 DMSO, right? So we did a comparison of the




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    1 two methods.                                     1  this particular case with Novartis, you know,
    2          Their, you know, like                   2  they -- you know, in the very beginning, you
    3 incubation temperature, I think it was like       3 know, they were raising some specific, you
    4 at least 15 degrees Celsius higher, you know,     4 know, unknown impurities with a defined
    5 you know, than the ZHP's method.                  5 retention time. Okay.
    6          So the bottom line is, you               6          So throughout this process we
    7 know, their GC-MS method appears to be more       7 have been working with Novartis, you know, to
    8 sensitive than ZHP's, you know, GC-MS method.     8 try to identify those little unknown peaks.
    9      Q. The point is, the technology              9      Q. When you were working with
   10 and the methodology was clearly available to     10 Novartis to identify the peaks, did anybody
   11 identify the NDMA, correct?                      11 from ZHP tell Novartis that you knew that
   12      A. Well, but first of all -- yes,           12 NDMA is in the valsartan so that they would
   13 the answer is yes, but, see, the first -- you    13 know to look for the NDMA?
   14 know, you need to know what to look for,         14      A. I don't think people involved,
   15 right? Yeah.                                     15 you know, in the communications, you know,
   16      Q. When you say "you need to know           16 directly with Novartis, you know, had that
   17 what to look for," you're talking about a        17 knowledge before the events.
   18 risk assessment, right?                          18      Q. Well, we know Peng Dong signed
   19      A. Right.                                   19 off on this unknown peak report, and he was
   20      Q. And that's a very important              20 on the e-mail in July of 2017, right?
   21 part of testing, is that the risk assessment     21      A. He was. But I don't know how
   22 done as the threshold needs to be thorough,      22 much, you know, you know, you know, he really
   23 right?                                           23 went through, or -- basically, you know, I
   24          MR. GALLAGHER: Objection.               24 didn't know what happened, you know, after

                                            Page 231                                            Page 233
    1      Vague.                                      1
                                                       Mr. Lin, you know, sent out his e-mail.
    2 BY MR. SLATER:                                 2          I mean, it looks like nobody
    3      Q. I'll ask it differently.               3 responded to anything, so I don't know.
    4          The risk assessment is the step       4 People may just, as I said, for whatever the
    5 that's taken before you do the testing so      5 reason, there's no, you know, resonance, I
    6 that you have thought through what you should  6 will say.
    7 be looking for, correct?                       7     Q. With regard to the risk
    8      A. The risk assessment is actually        8 assessment that needed to be done -- well,
    9 in the very beginning of the development of    9 rephrase.
   10 this particular valsartan process. So as a    10          With regard to the risk
   11 QC, you know, you know, as a daily QC         11 assessment, you pointed out it's done in the
   12 operation, you don't do the risk, you know,   12 very beginning when the process is developed.
   13 you know, you know, assessment, you know, at 13 But that's also an ongoing process, risk
   14 that period.                                  14 assessment, during the lifecycle of the drug
   15      Q. Well, if you get back --              15 substance, correct?
   16 rephrase.                                     16     A. There is an ongoing, but
   17          If you have a customer like          17 usually with a particular, you know, you
   18 Novartis that comes to you and says there's   18 know, reason, yeah.
   19 unknown peaks, part of the way you then try   19     Q. So, for example, where a
   20 to study and figure out what those peaks are  20 customer says, there's unknown peaks, we want
   21 is to do a risk assessment to figure out what 21 to know what these are, we want to know what
   22 might they be so you know what you should     22 these potential impurities are, that's a
   23 look for, correct?                            23 reason to perform a risk assessment in
   24      A. Well, you know, you know, in          24 conjunction with the testing, right? That's




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    1 good science, right?                             1  they -- you know, as I said, like you said,
    2      A. Well, based upon, you know, you          2  you know, like Mr. -- although Mr. Peng Dong,
    3 know, you know, retrospective, you know, you      3 you know, he was signing off and he was on
    4 know, communications, right. And the ZHP          4 the e-mail, but, you know, whatever, you
    5 teams, you know, looks like, you know, focus      5 know, for that reason, you know, basically,
    6 on what the customer, you know, communicated,     6 as I said, you know, Mr. Lin's e-mail just,
    7 you know, to the team.                            7 you know, for whatever reason didn't
    8      Q. Well, what I'm asking is this.            8 generate, you know, any resonance.
    9 It's good science under these circumstances,      9     Q. Well, it generated a report
   10 where a customer reports unknown peaks and is    10 that in April of 2018 you directed your team
   11 concerned about impurities, to do a risk         11 not to complete and not to issue because
   12 assessment, evaluate the chemical reactions      12 there was a sensitive impurity discussed.
   13 that can occur, and have some idea of what       13     A. This impurity --
   14 you're looking for, right?                       14          MR. GALLAGHER: Objection.
   15          That's good science, isn't it?          15 BY MR. SLATER:
   16      A. Well, usually what happen,               16     Q. Isn't that why it didn't
   17 okay, when people, you know, you know -- you     17 resonate?
   18 know, first of all, okay, for a -- like a        18          MR. GALLAGHER: Objection.
   19 residual solvent method, right, like a GC-FID    19     Outside the scope, mischaracterizes
   20 method, there is no -- like a threshold for      20     testimony, and mischaracterizes the
   21 any unknown peak, you know, to be identified,    21     document.
   22 even as of today. Okay.                          22     A. As I indicated, you know, that
   23          So when people talking about            23 impurity is completely different from NDMA.
   24 these small unknown peaks, you know, that's      24 I mean, that's the N-nitroso derivative of

                                            Page 235                                             Page 237
    1                                                  1  irbesartan, so it's completely different.
      how people, you know, treated it, you know,
    2                                                  2  BY MR. SLATER:
      initially as a technical issues, and so
    3                                                   3      Q. Before we go back into this
      people focus on trying to resolve, you know,
    4                                                   4 report, I just want to make sure we're on the
      those identities, you know, to the customer.
    5                                                   5 same page.
                Because the customer wanted to
    6                                                   6           The assessment of the potential
      have very specific answers, right, and so --
    7                                                   7 explanation for the impurities involves a
      you know, so from my, you know,
    8                                                   8 chemical analysis, right? You have to do
      understanding, you know, they -- at least at
    9                                                   9 that analysis as part of the testing process,
      the time they were not requesting, you know,
   10                                                  10 right?
      for anything other than they were, you know,
   11                                                  11      A. No. Well, typically you do a
      you know, requested.
   12                                                  12 mechanistic analysis, you know, based upon
                So, yeah, so that's how, you
   13                                                  13 that mechanistic analysis or based upon the
      know, the focus of the ZHP team basically,
   14                                                  14 knowledge when this particular process was
      you know, just tried to, you know, meet, you
   15                                                  15 developed, right.
      know, the needs of the customer to get the
   16                                                  16           And if the analysis, you know,
      answer to them as soon as -- you know, as
   17                                                  17 indicate there's some level of risk, then you
      they can.
   18                                                  18 will follow up to do a -- what is called a
           Q. The quickest way to get the
   19                                                  19 confirmatory testing.
      answer to Novartis would have been to tell
   20                                                  20           But if the risk assessment, you
      them that there was NDMA in the valsartan,
   21                                                  21 know, at that time, or if the knowledge, you
      right?
   22                                                  22 know, because of the knowledge gap, you know,
           A. As I said, the team, you know,
   23                                                  23 it didn't turn up as a risk, you -- you know,
      you know, the people involved, you know,
   24                                                  24 you would not necessarily, you know, to do,
      directly with the communication, you know,


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    1 you know, you know, an analysis.                  1
                                                       originated from DMSO or it's originated from
    2     Q. Was CEMAT doing this testing            2
                                                       some other reasons.
    3 that's represented in this unknown peak        3
                                                                 MR. SLATER: Cheryll, let's go
    4 study?                                         4
                                                           in this report to page 19 of 23,
    5     A. This particular work, you know,         5
                                                           please. Or not.
    6 in this report, okay, it was done, you know,   6
                                                                 MS. CALDERON: You know what?
    7 you know, you know, by the QC as well as, you 7
                                                                 MR. SLATER: Frozen?
    8 know, with, you know, CEMAT, yes. So it's a    8
                                                                 MS. CALDERON: I am frozen.
    9 combination, yes.                              9
                                                           Can you hear me?
   10     Q. Were you involved?                     10
                                                                 MR. SLATER: Yes.
   11     A. I was not directly involved.           11
                                                                 MS. CALDERON: Okay. Can you
   12     Q. Did you have visibility to it?         12
                                                           repeat what you said? Because I
   13 Were you aware of what was being done?        13
                                                           froze.
   14     A. Well, only at the time, you            14
                                                                 MR. SLATER: Sure. If you
   15 know, they couldn't figure out, you know,     15
                                                           could turn to page 19 of 23, please.
   16 some identities, you know, of a particular    16
                                                                 MS. CALDERON: Okay. Sorry.
   17 unknown peak, then they will come to me, you 17
                                                                 MR. SLATER: No problem. The
   18 know, asking for possible solutions.          18
                                                           thing doesn't want to move.
   19          Yeah, I did help him, you know,      19
                                                                 THE WITNESS: It's getting
   20 provided some strategies, you know, to help   20
                                                           late.
   21 him -- to help them, you know, getting, you   21
                                                                 MR. SLATER: It's worn out.
   22 know, the elucidation of some, you know,      22
                                                                 MS. CALDERON: Let me restart.
   23 unknown peaks.                                23
                                                                 MR. SLATER: I think you were
   24     Q. And what strategies did you            24
                                                           there. Oh, okay.
                                             Page 239                                           Page 241
    1 help with?                                        1
                                                                     MS. CALDERON: How's that?
    2      A. One of the strategy that I told           2
                                                                     MR. SLATER: I'll let you know
    3 him to use is to use butyrated DMSO.               3
                                                                when it comes up.
    4           The reason for that is, you              4
                                                                     Perfect. Scroll up a little
    5 know, quite a few of those interfering or          5
                                                                tiny bit more, get the whole risk
    6 background peaks, they were minor degradation      6
                                                                assessment in there. Perfect.
    7 products of DMSO, okay, with this particular       7
                                                           BY MR. SLATER:
    8 method because DMSO, you know, you know,           8
                                                                Q. This study report of unknown
    9 retrospectively that we found that, you know,      9
                                                           peaks from May of 2018 contains a Risk
   10 it -- or during the process of this               10
                                                           Assessment here on page 19.
   11 investigation we found out it will decompose      11
                                                                     Do you see that?
   12 to give, you know, a number of, you know,         12
                                                                A. Mm-hmm.
   13 minor degradants.                                 13
                                                                Q. And the Risk Assessment says,
   14           I think some of those are, you          14
                                                           "It is shown from above, each unknown peak
   15 know, you know, mentioned in the reports,         15
                                                           has either been identified or the source of
   16 like dimethyl, you know, you know, sulfide or     16
                                                           which identified, and the results are far
   17 dimethyl disulfide.                               17
                                                           lower than the specification by quantitative
   18           So the reason that I suggest            18
                                                           analysis." I want to stop there.
   19 them to use butyrated one is that, you know,      19
                                                                     The reference to
   20 you know, based upon the GC-MS analysis, you      20
                                                           "specification" has to do with already
   21 can -- if you see any peak, right, with what      21
                                                           identified solvents or other substances that
   22 we call the mass shift, okay, and then we can     22
                                                           you already know may be there, correct?
   23 basically, you know, understand, you know,        23
                                                                A. In this particular case, yes.
   24 the origin of that unknown peak, whether it's     24
                                                           It looks like utilizing 10 percent of the


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    1 toluene ICH, you know, standard.                  1      the conclusion on page 23 of 23. Can
    2     Q. And it says, "Control of these             2      you scroll up just a little bit just
    3 unknown peaks by comparing to the peak area        3     so we capture the bottom of the
    4 of 10 percent toluene (ICH limit 89 parts per      4     conclusion, please? Perfect.
    5 million) presents no risk." And then it            5     Q. The conclusion of the report
    6 says, "Please refer to the following table         6 repeats the risk assessment, saying that "The
    7 for details."                                      7 unknown peaks can be controlled by comparing
    8           I want to stop there. When it            8 to the peak area of 10 percent toluene, ICH
    9 refers to 89 parts per million presenting no       9 limit (89 parts per million). The product
   10 risk, is that a judgment that was made that       10 quality is less likely to be impacted."
   11 as long as something that's not identified is     11          Same conclusion as the risk
   12 less than 89 parts per million, you don't         12 assessment, right?
   13 have to worry about it?                           13     A. Mm-hmm, yes.
   14     A. Well, this 89 percent numbers              14     Q. Now, in retrospect, there was
   15 or criteria, based upon, you know, what I was     15 NDMA there, and that was affecting the
   16 told, you know, it came from one of Novartis'     16 quality of the product, right?
   17 document.                                         17     A. Yes. But here, you know, the
   18           So basically during -- in our           18 subject of this investigation, you know,
   19 conversation, you know, at least at one time,     19 would focus on that nine, you know, unknown
   20 the Novartis practice was that, you know, at      20 peaks. So that conclusion was made based
   21 that time, you know, you do not necessarily       21 upon assessment of those nine unknown peaks.
   22 need to investigate any unknown peaks, okay,      22 So NDMA was not among one of them.
   23 with peak area lower than toluene, you know,      23     Q. Okay. Well, when you say NDMA
   24 standard of -- you know, or toluene, you          24 was not among them, NDMA was not being looked

                                             Page 243                                            Page 245
    1 know, reference solution has 89, you know,        1  for because nobody actually said we need to
    2 ppm concentrations.                               2  look for NDMA, right?
    3     Q. Coming back to my question, it              3     A. Well, whoever -- you know, you
    4 appears to me the risk assessment was as long      4 know, people doing this particular, you know,
    5 as an unknown peak is less than 89 parts per       5 or people -- I mean, particularly the main --
    6 million, there's no risk; you don't have to        6 you know, the main author, right, you know,
    7 be concerned about it even if you can't            7 of this investigation, he had no knowledge.
    8 identify what it is.                               8     Q. And he didn't -- he didn't do
    9          Do I understand that correctly?           9 or didn't have available to him a risk
   10     A. No. That's not what it says.               10 assessment advising of the potential
   11 I mean, basically, you know, it looks like        11 development of NDMA, right? That was not
   12 whoever made that risk assessment, you know,      12 provided, correct?
   13 people utilized, you know, what Novartis at       13     A. I don't know whether, you know,
   14 least, you know, you know, had done, you          14 somebody provide it or not. But based upon,
   15 know, at one point.                               15 you know, what's presented here, you know, it
   16          Because even as of today, you            16 looks like the risk assessment was solely
   17 know, as to what a threshold, you know, you       17 based upon, you know, that nine unknown
   18 need to identify for unknown peaks with           18 peaks.
   19 GC-FID method. Is still -- there's no fixed       19     Q. And the person who authored
   20 answer to that.                                   20 this report certainly didn't document knowing
   21     Q. Well, the answer is that the               21 what was known by others in the company, that
   22 NDMA -- well, rephrase. We'll come back to        22 there was NDMA in the drug substance,
   23 it.                                               23 correct?
   24          MR. SLATER: Let's go now to              24     A. As I said, you know, the main


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    1                                                   1 Q. The FDA advised your company,
      author, he had no knowledge.
    2                                               2 "Our investigators also noted other examples
                MR. SLATER: Why don't we go
    3                                               3 of your firm's inadequate investigation of
           off the record for a second.
    4                                               4 unknown peaks observed in chromatograms."
                THE VIDEOGRAPHER: The time
    5                                               5          I want to stop there. That's
           right now is 12:13 p.m. We're now off
    6                                               6 what we were just talking about, is ZHP's
           the record.
    7                                               7 study report on unknown peaks in May of 2018,
                (Whereupon, a recess was
    8                                               8 correct?
           taken.)
    9                                               9     A. I'm sorry, say that again?
                THE VIDEOGRAPHER: The time
   10                                              10     Q. We were just discussing the
           right now is 12:26 p.m. We're back on
   11                                              11 study report of unknown peaks in residual
           the record.
   12                                              12 solvent of valsartan a few moments ago,
      BY MR. SLATER:
   13                                              13 correct?
           Q. So we have on screen
   14
      Exhibit 213, which is an FDA Warning Letter 14      A. Right, mm-hmm.
   15                                              15     Q. And here the FDA's pointing out
      dated November 29, 2018.
   16                                              16 that they thought that the investigation of
                Do you see that?
   17                                              17 unknown peaks observed in chromatograms was
           A. Mm-hmm.
   18                                              18 inadequate.
           Q. And you understand this warning
   19
      letter followed from the FDA inspection from 19          That's what the FDA found,
   20                                              20 correct?
      July 23 to August 3 at ZHP's facilities,
   21                                              21     A. That's what they statement. I
      correct?
   22                                              22 think we had a -- you know, an explanation
                MR. GALLAGHER: Objection.
   23                                              23 and a response.
           Outside the scope.
   24                                              24     Q. This points out, "For example,
                You can answer to the extent
                                             Page 247                                             Page 249
    1      you know personally.                         1  valsartan intermediates," and it gives some
    2      A. Well, that I know, it's issued            2  numbers of those batches, "failed testing for
    3 after the inspection.                              3 an unknown impurity (specification less than
    4      Q. Right. And you can see in the              4 or equal to 0.5 percent) with results of
    5 first paragraph the dates of the inspection        5 0.56 percent for both batches. Your action
    6 were July 23 to August 3, 2018.                    6 plan indicated that the impurity would be
    7           Do you see that?                         7 identified as part of the investigation;
    8      A. Yeah, mm-hmm.                              8 however, you failed to do this."
    9      Q. So if we scroll down a little              9      A. No, we did that, actually. We
   10 further down on this page, deviation number 1     10 did afterward. I mean, at the time of this
   11 is titled, "Failure of your quality unit to       11 warning letter, you know, the investigation,
   12 ensure that quality-related complaints are        12 I think, was still ongoing, okay.
   13 investigated and resolved." Right?                13          So actually as part of the --
   14      A. I saw the title.                          14 you know, of the CAPA or the commitment, you
   15           MR. SLATER: Let's go down to            15 know, we actually, you know, did an
   16      the next page and look at part of what       16 investigation, but we didn't resolve, you
   17      was discussed somewhat relevant to           17 know, the whole structure, okay.
   18      what we just talked about.                   18          And we, you know, you know, we
   19           You can scroll down further,            19 told the, you know, the investigator, you
   20      Cheryll, because I want to -- that's         20 know, this is a process impurity, you know,
   21      good right there. Thank you.                 21 structurally related to that of valsartan
   22      Q. So you see a paragraph that               22 intermediate. But we didn't know its exact
   23 starts with the word "Our investigators"?         23 structure, right?
   24      A. Mm-hmm.                                   24          So, yeah, so the investigation


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    1                                                  1
                                                       particular impurity, and also I think we did
      was ongoing, and eventually, you know, we
    2                                                2 the assessment at the time, this impurity is
      resolved, you know, you know, that structure,
    3                                                3 just not -- you know, actually was not being
      okay.
    4                                                4 carried over into the downstream product,
           Q. You said you resolved that
    5                                                5 right?
      structure.
    6                                                6          So, therefore, you know, the
           A. Right.
    7                                                7 risk was, you know, was very limited or
           Q. You mean you find NDMA?
    8                                                8 negligible. So that's how, you know, QA
           A. Yes, finally with NMR we were
    9                                                9 decided, you know, to, you know, basically to
      able to identify those structures, yes, and
   10                                               10 close the main investigation, but with a
      which is confirmed it is a process-related,
   11                                               11 follow-up, you know, cover. Okay. That's a
      you know, impurity of that intermediate.
   12                                               12 very typical, you know, way, you know, you
           Q. But by this time it was already
   13                                               13 know, in the industry, you know, to do those,
      identified as NDMA, right?
   14                                               14 like, impurity related, you know,
           A. You mean by the time of --
   15                                               15 investigation.
      yeah, of this warning letter, yeah. NDMA,
   16                                               16     Q. Well, the FDA didn't seem happy
      yes, that already was identified. But this
   17                                               17 with status of the investigation.
      is -- you know, FDA was talking about, you
   18                                               18     A. Well, that's -- I think that's
      know, this is, you know, a completely
   19                                               19 their, you know, misunderstanding, you know,
      different impurity. Yeah.
   20                                               20 from my perspective.
           Q. What do you mean, the FDA's
   21                                               21          So I think, as I said, during
      saying it's a completely different impurity?
   22                                               22 the final meetings or the last meeting, you
           A. Well, you know, here they
   23                                               23 know, being on-site at FDA, and also in our
      specifically pointing out to -- you know, to
   24                                               24 follow-up, you know, responses, you know, we
      that, you know, particular impurity, you
                                            Page 251                                            Page 253
    1 know, given a value of 0.56 percent, right?      1  stated very clearly, you know, you know, to
    2 Yeah. So, yeah, so that's not an NDMA or any     2  the FDA, you know, this follow-up action has
    3 other nitroso, you know, compound.                3 been completed. Yeah.
    4      Q. So coming back to the FDA's               4     Q. The FDA continues to state,
    5 comments, they're indicating that --              5 "Additionally, residual solvent chromatograms
    6 rephrase.                                         6 for valsartan API validation batches
    7           Coming back to the FDA's                7 manufactured using your zinc chloride
    8 warning letter, the FDA stated your action        8 process, with DMF in 2012," and then it gives
    9 plan, that would be ZHP's action plan, given      9 the three validation batch numbers, "show at
   10 on a prior date, correct?                        10 least one unidentified peak eluting after the
   11      A. Yeah, our plan is, you know, we          11 toluene peak in the area where the presence
   12 will continue, you know, to do, you know, the    12 of NDMA was suspected to elute."
   13 structure elucidation, okay.                     13     A. Again, you know, this peak, as
   14           Basically, you know, as part           14 I indicated to you, based upon our
   15 of, like, this OOS investigation, okay,          15 retrospective analysis, that first, you know,
   16 although, you know, we tried to identify         16 you know, visible, you know, small peaks
   17 unknown peaks as soon, you know, or as           17 based upon our investigation, it was n-butyl
   18 quickly as possible, but sometimes, you know,    18 acetate.
   19 an unknown peak, you know, structure takes       19     Q. And I think you explained the
   20 time, right.                                     20 NDMA was right next to that.
   21           So during that kind of, you            21     A. It's on the shoulder. As I
   22 know, you know, situation, what you can do       22 said, after if we inject it with a, you know,
   23 is, you know, basically once we know, you        23 a more concentrated sample, like a pure
   24 know, you know, the basic information of this    24 sample, right, and -- you know, then we would




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    1 find out.                                        1        So its intended purpose is not
    2          But in the chromatogram of a          2 to, you know, identify, you know, any little,
    3 real sample, right, you know, like we analyze  3 you know, you know, unknown peaks, right?
    4 using the GC-FID method.                       4          So, you know, and once again,
    5          To analyze a real sample, the         5 as I mentioned, even as of today, in ICH Q3C,
    6 NDMA peak was basically, you know, submerged 6 which is the most relevant ICH guidance
    7 with, overwhelmed by this, you know,           7 governing the residual solvent, okay, even in
    8 proceeding peak which is the n-butyl acetate.  8 that guidance today there is no specific
    9     Q. As a matter of good                     9 requirement in terms of, you know, above what
   10 manufacturing practices, it's not acceptable  10 threshold an unknown peak need to be
   11 to do a test, not identify the peak, and just 11 identified.
   12 say, well, it's pretty small, so we don't     12     Q. One of the things that you need
   13 really have to worry about identifying it.    13 to know as a drug manufacturer is the
   14          That's not acceptable, right?        14 limitations of GC-FID.
   15          MR. GALLAGHER: Objection.            15          That's one thing you need to be
   16     Vague, and calls for speculation.         16 aware of, right?
   17     A. We follow ICH guidance, okay,          17     A. Well, it's all depends upon
   18 in terms of, you know, what needs to be       18 what's the intended purpose, right? So with
   19 identified, what -- you know, you know, you   19 the intended purpose for the residual
   20 do not necessarily need to identify it.       20 solvents, the GC-FID method is perfectly
   21 BY MR. SLATER:                                21 suitable for that purpose.
   22     Q. It's not acceptable where              22     Q. Well -- rephrase.
   23 you're trying to identify what an unknown     23          Here you had unknown peaks,
   24 peak is to run your standard test, not        24 didn't know what they were, according to the

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    1 identify it, and just assume it's fine,          1
                                                       documents, and made a decision, it's a low
    2 because you know that even something with a    2 amount, we don't have to be concerned.
    3 very, very small peak, something that's        3          That was the decision that was
    4 barely perceptible, if it's a                  4 made, right?
    5 mutagenic/genotoxic impurity, that can be      5     A. Look, as I -- once again, you
    6 dangerous and can't be in the product, right?  6 know, with the GC-FID method, okay, if you go
    7          MR. GALLAGHER: Objection.             7 into any pharmaceutical company, okay,
    8     Vague, lacks foundation, and compound.     8 including like my former, you know, employer,
    9     A. You know, for those very                9 right, Merck & Company or any other, you
   10 low-level potential genotoxic impurity, you   10 know, like Schering-Plough, you know, these
   11 would need to develop a specific method,      11 are the very famous, you know, multinational
   12 okay, to -- you know, to detect them, to      12 companies, okay, you know, people will not --
   13 control them, okay.                           13 you know, for a residual solvent method, they
   14          For any other method, right,         14 will not going through every tiny little
   15 like, for example, this residual solvent      15 peaks to identify, you know, what they are,
   16 method, they just are not adequate, okay, to  16 okay, you know, at least, you know, you know,
   17 look for those unknown peaks, okay.           17 before, you know, that event came out, right?
   18          Time again, you know, I mean,        18          So -- so basically, you know,
   19 you know, based upon our retrospective        19 as I said, you know, it's -- you know, you
   20 investigation, you know, the GC-FID method is 20 will need to know, okay, and also it need to
   21 just -- you know, its intended -- its         21 be above -- you know, like, for example, like
   22 original intended purpose is to monitor those 22 in our conversation with Novartis or with
   23 residual solvents. That's its intended        23 some other, you know, you know, customers,
   24 purpose.                                      24 right, they were, you know, also, at least




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    1                                                   1
                                                       question, Novartis, enlisting the help of an
      some of them, they were not sure, you know,
    2                                                2 outside lab, identified the NDMA, right? It
      what a specific threshold, you know, it need
    3                                                3 wasn't so hard to do. They did it, right?
      to be set.
    4                                                4     A. Look, we supplied Novartis,
                So, but from our perspective,
    5                                                5 right, you know, all material like commercial
      if customer had that particular request for
    6                                                6 skill batches, at least, you know, by the end
      certain specific, you know, unknown peaks,
    7                                                7 of 2017, right. And they received, you know,
      yeah, we will do the investigation and try
    8                                                8 a lot of those.
      to, you know, identify or try to find, you
    9                                                9           So from there, you know, I
      know, the potential source, you know, you
   10                                               10 mean, I don't know why they, you know, you
      know, for those unknown peaks.
   11                                               11 know, sended it to the outside lab or
           Q. It sounds like you're telling
   12                                               12 whatever.
      me it's really hard to find it, but Novartis,
   13                                               13           So at least, you know, they --
      plus using an outside lab, they found the
   14                                               14 usually, when you go into business trying to
      NDMA, and it wasn't even their drug
   15
      substance. They found it before ZHP did on 15 have a new, you know, vendor, you know, you
   16                                               16 will do the analysis or in-depth, you know,
      these chromatograms, is what you're -- and
   17                                               17 you know, analysis, you know, for the sample
      you're telling me it was too hard to figure
   18                                               18 that you're going to be for your commercial,
      it out?
   19                                               19 you know, productions.
           A. Yes. Don't forget, these are
   20                                               20           So during that period, you
      the two different methods, okay? Two
   21                                               21 know, Novartis, you know, their own lab, you
      different methods, you know, you know, their
   22
      critical, you know, method parameters, they 22 know, still not was able to find. So my
   23                                               23 guess is, you know, once they contract this
      are quite different. Okay.
   24                                               24 out to a certain lab, they just happen to be,
                Even for GC-FID, if you run on
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    1 different instrument, sometimes, you know,        1  you know, utilizing a different, you know,
    2 the sensitivity can be vary quite a bit.          2  you know, method.
    3 Okay.                                              3          Okay. That method, it appears
    4          So, you know, and also, you               4 to be, you know, somewhat more sensitive than
    5 know, some of our customer, they had a, you        5 ZHP's method. Okay.
    6 know, similar question regarding the unknown       6          So if we -- you know, if
    7 peaks, right? They also did a GC-MS                7 someone would keep using that -- you know,
    8 analysis. Okay, they didn't, you know, find,       8 you know, that condition that's originally
    9 you know, you know, NDMA.                          9 intended for the GC-FID, you know, I think
   10          I mean, and also we supply, you          10 it's very fair to say, you know, NDMA, you
   11 know, our product, right, with the zinc           11 know, at the -- you know, the level that's
   12 chloride. You know, I think shortly after         12 produced or that's present, you know, you
   13 the zinc chloride, you know, was approved by,     13 know, you know, in ZHP's batches, you know,
   14 you know, regulators, right, we supplied to       14 it was very difficult, if not entirely
   15 Novartis', you know, subsidiary company,          15 possible, I mean, to be adequately detected.
   16 Sandoz, right. Sandoz, at least at that           16 Okay.
   17 time, was part of Novartis.                       17      Q. You're aware that starting in
   18          So we supply Sandoz valsartan            18 2014, complaints came in on a pretty regular
   19 for quite, you know, long period. And so as       19 basis from your customers pointing out
   20 a unit of Novartis, you know, they haven't        20 unknown peaks and asking for answers.
   21 had any, you know, you know, issues, or           21          You do know that there were
   22 didn't, you know, even have questions, I          22 multiple complaints and requests for
   23 think, as far as I understand, okay.              23 information, right?
   24     Q. Just to get back to my                     24          MR. GALLAGHER: Objection.


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    1     Vague, and lacks foundation.                 1  BY MR. SLATER:
    2          You can answer.                         2      Q. Coming back to my question,
    3     A. Yeah. I mean -- yeah, I mean,              3 you're aware that there were multiple
    4 retrospectively, you know, you know, for          4 complaints made by customers in 2014, 2015,
    5 some -- you know, you know, during the later      5 2016, 2017, and 2018, saying that there were
    6 stage of the investigation, you know, you         6 unknown peaks on their own testing, and they
    7 know, yeah.                                       7 were looking for answers from ZHP as to what
    8          For example, with Novartis,              8 was the cause of those peaks.
    9 also with Sun Pharma at the time, yeah, I         9           That's a correct statement,
   10 was -- you know, later was also being            10 right?
   11 consulted, you know, you know, how to, you       11           MR. GALLAGHER: Objection.
   12 know, address the origin or the identity.        12     Lacks foundation.
   13          But essentially, you know, it's         13           THE WITNESS: Sorry.
   14 the same set of the, you know, phenomenon,       14           MR. GALLAGHER: Go ahead.
   15 right? And so my guess is, you know, in our      15     A. As I indicated, I didn't know,
   16 registered DMF or whatever, you know, the        16 or I was not informed, you know, initially.
   17 other kind of dossier, you know, you know, we    17 And in some of those conversation, you know,
   18 just supplied to those customers, right,         18 late in the investigation, as I said, I was
   19 within -- you know, using the same set of        19 being consulted, you know, you know, or I was
   20 documents, right?                                20 try -- you know, they tried to pull me to
   21          And in those, you know,                 21 help them to find out, you know, you know,
   22 regulatory approved documents, you know,         22 the identity or the potential sources.
   23 there was no, you know, specific information     23 BY MR. SLATER:
   24 about, you know, some of those peaks. So         24     Q. All I'm asking is to confirm --
                                            Page 263                                            Page 265
    1 that's why, you know, you know, some people,     1
                                                       rephrase.
    2 you know, they turn out to be having, you      2           All I'm looking to confirm
    3 know, the same kind of question.               3 right now is -- rephrase.
    4           But again, you know, you know,       4           You can confirm for me that
    5 based upon my, you know, knowledge, you know, 5 starting in 2014 with Ranbaxy and Sun Pharma,
    6 first of all, you know, they -- initially at   6 then Vertex, then Glenmark, then Sun Pharma,
    7 least, they all concentrated on relatively     7 then Aurobindo, then Novartis, from 2014 to
    8 large peaks. And they ask for a certain        8 2018, there were repeated customer complaints
    9 specific, you know, set of peaks, right, and   9 pointing to unknown peaks, correct?
   10 then we work with them, you know.             10           MR. GALLAGHER: Objection.
   11           And also for some of the later      11      Vague, lacks foundation, asked and
   12 coming in, you know, questions, we would      12      answered.
   13 sometimes utilize, you know, the previously,  13      A. Some of those, they were
   14 you know, obtained results to help answer.    14 treated as technical, you know, exchange,
   15           For example, like in Novartis'      15 okay? And some of the customer, you know,
   16 cases, like I think we utilized some of the   16 you know, you know, at the time they, you
   17 results, you know, we provided to Sun Pharma. 17 know, they have this question, they were
   18           And again, you know, some of        18 already, you know, receiving our commercial,
   19 those company, they have been, you know,      19 you know, batches, as far as I know.
   20 continuously, you know, you know, you know,   20           So they just wanted to know a
   21 buying, you know, commercial batches of --    21 little bit further, you know, the identity
   22 you know, of, you know, valsartan, up to a    22 of, as I said, a certain specific numbers of
   23 point that, you know, we sent out the notice, 23 unknown peaks. Okay.
   24 you know, for suspension and also for recall. 24           Every time -- I mean, you know,


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    1 basically they are the same set of the            1
                                                       get the results, you know, they need like
    2 unknown peaks, right?                          2 very -- you know, very quickly.
    3          And as I said, you know, the          3          But, you know, again, as I
    4 reason why different company ask, you know,    4 said, those regulatory document, you know, we
    5 those questions is, my guess is probably       5 have the agency or regulatory, you know,
    6 because, you know, in our, you know, official  6 approve the specification at the time.
    7 documents, right, like the DMF or some other,  7 BY MR. SLATER:
    8 you know, regulatory approved documents, you 8       Q. The responsibility for the
    9 know, in there, there was, you know, no        9 quality of the valsartan API was ZHP's
   10 information on some of those, like, very      10 responsibility, right?
   11 small peaks. So -- you know, so, yes.         11     A. Yes.
   12          So it's the same kind of             12     Q. And despite -- rephrase.
   13 questions, and every time, as I said, we      13          Despite that, Novartis
   14 tried to do, you know, what we can to         14 identified the NDMA before ZHP did in
   15 identify these peaks.                         15 June 2018, right?
   16          I think, you know, in the end,       16     A. It's the third-party lab, okay,
   17 you know, we -- for all of the concerned      17 and they -- you know, initially, you know,
   18 peaks, you know, I think, you know, we were   18 they tentatively identified, and they
   19 able to find the identity or the potential    19 communicated it to us.
   20 sources.                                      20          And upon the receipt of the
   21     Q. You realize these companies            21 information, we immediately, you know,
   22 that were complaining to ZHP about these      22 purchased the reference materials, developed
   23 unknown peaks, they weren't asking for the    23 method, and -- yeah, so we very quickly
   24 information because they were curious. They   24 confirmed their results.

                                             Page 267                                             Page 269
    1 were asking what those peaks represented          1           And also, within a very short
    2 because they had quality obligations and GMP      2  period of time, we developed an adequate
    3 obligations and wanted to make sure that the       3 quantitative methods. So we will be able
    4 substance they were purchasing from ZHP met        4 to very quickly to come up with, you know,
    5 the quality standards and was safe.                5 you know, quite reliable NDMA results, okay,
    6          That's why they were asking,              6 in those, you know, batches, particularly
    7 right?                                             7 those batches, you know, you know, we
    8          MR. GALLAGHER: Objection.                 8 discussed with Novartis.
    9      Lacks foundation, and calls for               9     Q. Well, just to be clear, ZHP
   10      speculation.                                 10 already knew that the NDMA was in the
   11      A. It's a continuous process for             11 valsartan, we've already established that, at
   12 improvement. And, you know, that's why, you       12 least as of July 2017.
   13 know, you know, we understand our customers'      13     A. As I told you, at that time,
   14 concerns, right?                                  14 you know, Mr., you know, Lin's, you know,
   15          That's why every time, you               15 e-mail, you know, as I said, it looks like
   16 know, they have a question, we responded, you     16 didn't go far.
   17 know, and we trying to resolve, you know, the     17          So company as a whole, you
   18 issue as well as, you know, possible.             18 know, it didn't have that knowledge until,
   19          And particularly during my, you          19 you know, receiving that Novartis, you know
   20 know, you know, review of some of the             20 e-mails.
   21 documents, you know, with Novartis, you know,     21     Q. Well, what happened was
   22 I think like in late May 2018, you know,          22 Novartis figured out that there was NDMA
   23 there's one e-mail from Novartis, you know,       23 there, enlisting the services of a
   24 they -- you know, they thank us, you know, to     24 third-party lab to help it, and then




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    1                                                  1       You certainly would agree with
      basically told ZHP that ZHP needed to take
    2                                               2 me that the FDA's right; that you stopped
      the steps to notify the authorities and take
    3                                               3 your investigation before figuring out the
      steps to deal with the severe quality
    4                                               4 answer, and then it was only when Novartis
      problem.
    5                                               5 figured it out that the answer came out,
               That's the only reason ZHP told
    6                                               6 right?
      anybody what happened here, was because
    7                                               7          MR. GALLAGHER: Objection.
      Novartis pushed you to do it, right?
    8                                               8     Mischaracterizes testimony, and lacks
          A. No.
    9                                               9     foundation.
               MR. GALLAGHER: Objection.
   10                                              10          You can answer.
          Vague, lacks foundation.
   11                                              11     A.     Let me give you a -- I try to
      BY MR. SLATER:
   12                                              12 give you a full answer, okay, part by part or
          Q. If Novartis had not come along,
   13
      there's no reason to believe that ZHP would 13 little by little. Okay?
   14
      have told anybody about the NDMA, right? 14              The FDA statement, the first
   15                                              15 one says, "Your response states that NDMA was
               MR. GALLAGHER: Objection.
   16                                              16 difficult to detect," okay?
          A. That's your speculation.
   17                                              17          So this was -- FDA's basically
               MR. GALLAGHER: Lacks
   18                                              18 repeating our language at the time, right?
          foundation.
   19                                              19 Okay. If you look at, you know, Dr. Janet
      BY MR. SLATER:
   20                                              20 Woodcock's statement, okay, she released
          Q. We know that in July of 2017,
   21                                              21 during January -- in January 2019, right
      it was discussed in an e-mail that valsartan
   22
      had NDMA in it, and ZHP didn't tell anybody 22 after, you know, this event came out, in
   23                                              23 that, you know, statement, you know, there is
      about that, right?
   24                                              24 one sentence, something like, you know, it
          A. My answer -- you know, I think
                                            Page 271                                            Page 273
    1 I already answered that question multiple        1  said, the -- like, the property of NDMA made
    2 times.                                           2  it difficult to be detected by, like, a
    3      Q. Well, let's look right in the             3 normal or routine analytical test method.
    4 middle of the page where we just went through     4 Something like that. Okay.
    5 this -- well, rephrase.                           5           So, you know, so basically
    6          Looking now at the middle of             6 combining everything that I told you, you
    7 this page in Exhibit 213, the FDA Warning         7 know, with the GC-FID method, okay, you know,
    8 Letter of November 2018, it says, "Your           8 again, you know, you know, this peak, right,
    9 response states that NDMA was difficult to        9 that I -- you know, that we told, you know,
   10 detect. However, if you had investigated         10 this particular inspector, right, the peak
   11 further, you may have found indicators in        11 eluting after the toluene, you know, as I
   12 your residual solvent chromatograms alerting     12 said, this is not NDMA.
   13 you to the presence of NDMA."                    13           NDMA is just -- yeah, just at
   14          And then they point out, the            14 the noise level, you know. As I said, at the
   15 FDA says, "For example, you told our             15 NDMA in the real sample, you know, it was
   16 investigators you were aware of a peak that      16 just among the smallest, you know, peaks,
   17 eluted after the toluene peak in valsartan       17 okay. So it's -- you know, it's just that --
   18 API residual solvent chromatograms where the     18 you know, at that kind of level.
   19 presence of NDMA was suspected to elute."        19           So that's -- you know, that's
   20          So -- and then they say -- just         20 exactly what happened. I mean, all right.
   21 to be clear, they say, "At the time of           21 So you know, basically, again, as I
   22 testing, you considered this unidentified        22 indicated, you know, the nature of the GC-FID
   23 peak to be noise and investigated no             23 method is not designed to detect, you know,
   24 further." So I want to stop there.               24 such low level peaks. Its purpose is to




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    1 monitor, you know, the residual solvents         1        Right now, you know, I can tell
    2 that, you know, that one particular process    2 you it's way below the detection limit of the
    3 utilized, you know, in that process.           3 original detection limit that we established,
    4          So from that perspective, you         4 you know, after these events, because, as I
    5 know, that GC-FID residual solvent method is   5 mentioned to you in the very beginning, FDA,
    6 still, you know, suitable. Okay. I think       6 you know, the original position was it should
    7 that, you know, we're still utilizing this     7 be absent, right?
    8 residual solvent method, okay, to release the  8          So based upon FDA's, you know,
    9 valsartan API or drug substances, okay, to,    9 published analytical method for NDMA as well
   10 you know, European, you know, customers,      10 as for NDEA, and for NDMA the FDA's, you
   11 after we modify, you know, the process of     11 know, limit of quantitation is 5 ppb, okay.
   12 valsartan API.                                12 For NDEA the limit was 1 ppb, right? So our
   13 BY MR. SLATER:                                13 valsartan now is able to meet both, you know,
   14      Q. ZHP modified its SOPs so that         14 you know, you know, requirement.
   15 following this revelation to the public about 15          Although, as I said, you know,
   16 the NDMA, now you're required to use GC-MS to 16 you know, FDA has basically retreated, you
   17 identify unknown peaks as a matter of course, 17 know, from their original position, right?
   18 right?                                        18 Now it's being allowed, you know, you know,
   19          MR. GALLAGHER: Objection to          19 you know, for example, like for NDMA, now
   20      form.                                    20 they allow, you know, 96 nanogram per day,
   21      A. Well --                               21 which would translate into 300 ppb's, okay?
   22 BY MR. SLATER:                                22          And so our product, our, you
   23      Q. That's what the SOP says now,         23 know, valsartan utilized this newly, you
   24 right?                                        24 know, developed or modified process. Okay.

                                            Page 275                                          Page 277
    1     A. Our SOP -- yeah, because of --            1
                                                       We are able to generate, you know, you know,
    2 yeah, based upon -- yeah, based upon the       2 valsartan way below, you know, the 300 ppb,
    3 investigation, or the outcome, you know, of    3 okay? So it's below, you know, you know, 5
    4 the investigation, our SOP now requires any    4 ppb. So it's 60 times lower, you know, for
    5 unknown peaks, okay, with a signal-to-noise    5 the method, the detection limit.
    6 greater than 10 would be investigated, okay?   6          MR. SLATER: Let's look at
    7 And both FDA and also regulatory agency, they 7      page 4 of the warning letter, Cheryll,
    8 agree with this threshold, okay? So that's     8     if you're still there. Thank you.
    9 number one, all right?                         9     Okay. Could you scroll up a little
   10          And since then we have done          10     bit more, please?
   11 tremendous, you know, you know, amount of     11     Q. Okay. Under number 2, the
   12 testing utilizing GC-MS, even GC-MS/MS,       12 second paragraph, starting with the second
   13 right, and we have done so many tests. And    13 sentence, the FDA advised you, "You are
   14 so far we were not able to find another       14 responsible for developing and using suitable
   15 nitrosamine, you know, you know, you know,    15 methods to detect impurities when developing,
   16 with this approach. Okay?                     16 and making changes to your manufacturing
   17     Q. Well, if you're talking about          17 processes. If new or higher levels of
   18 batching going forward, you were required to  18 impurities are detected, you should fully
   19 optimize the process so you wouldn't form     19 evaluate the impurities and take action to
   20 nitrosamines, right?                          20 ensure the drug is safe for patients."
   21     A. Nitrosamine could still be             21          My first question is, do you
   22 present, okay, based upon the nature of the   22 see what I just read?
   23 chemistry. Okay? It all depends upon how      23     A. Let's see. Which paragraph?
   24 much, right?                                  24 I'm sorry.




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    1      Q. Second paragraph under                     1
                                                               A. As I said, if it's a general
    2 number 2.                                          2
                                                           statement, right. You know, for any -- like
    3      A. Second paragraph. Oh, starting             3
                                                           a regular, you know, impurity that really
    4 with "You also failed to," right?                  4
                                                           being, you know, appropriately detected like
    5      Q. Yes.                                       5
                                                           it was any -- like, you know, what we called
    6      A. Okay. Let me read through.                 6
                                                           a related substance method, you know, you
    7 I'm sorry. It's getting a little bit too           7
                                                           know, or whether, you know, we will do the
    8 long. You also... okay.                            8
                                                           impurity, you know, identifications. I
    9           (Witness reviewing document.)            9
                                                           mean...
   10      A. So I don't know, you know,                10
                                                               Q. ZHP was required to fully
   11 whether this is specifically referenced here.     11
                                                           evaluate the impurities and take action to
   12 If here, you know, FDA specifically, you          12
                                                           ensure that the valsartan was safe for
   13 know, referring to NDMA issue, I think this       13
                                                           patients. That you'll agree with, right?
   14 is in a statement, you know, after the fact.      14
                                                               A. Again, you know, if we knew at
   15      Q. This is my question. You saw              15
                                                           the time, you know, yeah, we will do that,
   16 what I just read, right?                          16
                                                           yes.
   17      A. Yeah. I read through the                  17
                                                               Q. Well -- rephrase.
   18 second paragraph, yes.                            18
                                                                    MR. SLATER: You know what?
   19      Q. You would agree with me that              19
                                                               Now we can break.
   20 that is a correct statement of ZHP's              20
                                                                    MR. GALLAGHER: Okay.
   21 responsibilities under good manufacturing         21
                                                                    MR. SLATER: Off the record.
   22 practices, right?                                 22
                                                                    THE VIDEOGRAPHER: The time
   23      A. See, the precondition here is             23
                                                               right now is 1:07 p.m. We're now off
   24 you need to know, or you have that knowledge,     24
                                                               the record.
                                             Page 279                                            Page 281
    1 at the time of the process change. So that         1
                                                                   (Whereupon, the deposition was
    2 process change was made somewhere around 2011      2
                                                               adjourned.)
    3 to 2012.                                           3
    4      Q. The point is, you would agree              4
    5 that ZHP, like any drug manufacturer, is           5
    6 responsible to use -- develop and use              6
    7 "suitable methods to detect impurities when        7
    8 developing, and making changes to,                 8
    9 manufacturing processes."                          9
   10          You agree with that statement,           10
   11 right?                                            11
   12      A. If during that period, right,             12
   13 during that initial development time, if          13
   14 someone, you know, involved in -- you know,       14
   15 in that, you know, development of that            15
   16 process, yeah, if they knew, they would           16
   17 develop a suitable method.                        17
   18      Q. And you also agree that "If new           18
   19 or higher levels of impurities are detected,      19
   20 you should fully evaluate the impurities and      20
   21 take action to ensure the drug is safe for        21
   22 patients"?                                        22
   23          You agree with that statement,           23
   24 right?                                            24




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    1            CERTIFICATE
    2                                                     1           ------
    3
                    I, MAUREEN O'CONNOR                               ERRATA
          POLLARD, Registered Diplomate                   2           ------
    4
          Reporter, Realtime Systems
          Administrator, and Certified Shorthand          3   PAGE LINE CHANGE
    5
          Reporter, do hereby certify that prior
          to the commencement of the                      4   ____ ____ _________________________________
    6
          examination, MIN LI, Ph.D., was remotely        5     REASON: __________________________________
          duly identified and sworn by me to
    7
          testify to the truth, the whole truth,          6   ___ ____ __________________________________
          and nothing but the truth.                      7
    8               I DO FURTHER CERTIFY that                   REASON: __________________________________
    9
          the foregoing is a verbatim transcript          8   ____ ____ _________________________________
          of the testimony as taken
   10
          stenographically by and before me at            9     REASON: __________________________________
          the time, place, and on the date               10   ____ ____ _________________________________
   11
          hereinbefore set forth, to the best of
   12
          my ability.                                    11     REASON: __________________________________
                    I DO FURTHER CERTIFY that            12
          I am neither a relative nor employee                ____ ____ _________________________________
   13     nor attorney nor counsel of any of the         13     REASON: __________________________________
   14
          parties to this action, and that I am
          neither a relative nor employee of             14   ____ ____ _________________________________
   15
          such attorney or counsel, and that I           15     REASON: _________________________________
          am not financially interested in the
   16
          action.                                        16   ____ ____ _________________________________
   17                                                    17     REASON: _________________________________
   18
          ___________________________                    18   ____ ____ _________________________________
   19
          MAUREEN O'CONNOR POLLARD                       19     REASON: _________________________________
          NCRA Registered Diplomate Reporter             20
          Realtime Systems Administrator                      ____ ____ _________________________________
   20     Certified Shorthand Reporter                   21     REASON: _________________________________
   21
          Notary Public
                                                         22   ____ ____ _________________________________
   22
          Dated: April 20, 2021                          23
   23                                                    24
   24

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    1                                                     1
             INSTRUCTIONS TO WITNESS                      2         ACKNOWLEDGMENT OF DEPONENT
    2                                                     3
    3                                                     4I, __________________________, do
              Please read your deposition over
    4                                                  Hereby
      carefully and make any necessary corrections. 5 pages, andcertify that I have read the foregoing
    5
                                                                   that the same is a correct
      You should state the reason in the               transcription of the answers given by me to
    6                                                6 the questions therein propounded, except for
      appropriate space on the errata sheet for any
    7                                                  the corrections or changes in form or
      corrections that are made.                     7 substance, if any, noted in the attached
    8
              After doing so, please sign the          Errata Sheet.
    9                                                8
      errata sheet and date it. It will be           9
   10
      attached to your deposition.                     _________________________________
   11                                               10 Min Li, Ph.D.
              It is imperative that you return                                    Date
   12                                               11
      the original errata sheet to the deposing     12
   13
      attorney within thirty (30) days of receipt   13
   14                                               14
      of the deposition transcript by you. If you   15
   15
      fail to do so, the deposition transcript may  16
   16
      be deemed to be accurate and may be used in      Subscribed and sworn
   17                                               17 To before me this
      court.
   18                                                         ______ day of _________________, 20____.
                                                         18
   19
                                                              My commission expires: ________________
   20                                                    19
                                                         20   _______________________________________
   21
                                                              Notary Public
   22                                                    21
   23                                                    22
                                                         23
   24                                                    24




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